EXHIBIT A
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     Attorneys for Plaintiffs
 7   VEEVA SYSTEMS INC. AND PETER STARK
 8
                    IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
10                                      COUNTY OF ALAMEDA

11
12   VEEVA SYSTEMS INC. and
                                                                    RG21111679
                                                       Case No. - - - - - -
     PETER STARK
13                                                     COMPLAINT
                                   Plaintiffs,
14
                                                       CAUSES OF ACTION FOR
15                  vs.                                DECLARATORY JUDGMENT
                                                       AND UNFAIR COMPETITION
16   IQVIA INC.

17                                 Defendant.
18
19
                                        I.       INTRODUCTION
20
21                  Defendant IQVIA Inc. continues to use unlawful restrictive covenants to trap its

22   employees, thus preventing them from seeking better work in greener pastures, including in

23   California. These restrictive covenants harm employees, competitors, and the public. They

24   violate: (1) California law, and (2) the laws of Delaware, New Jersey, New York, Connecticut,

25   and North Carolina ("Sister State Laws"). To the extent the Sister State Laws recognize or
                                                                                                        ><
26   enforce these restrictive covenants, the Sister State Laws violate the dormant Commerce Clause.    0
27   Among other things, if the Sister State Laws validated the restrictive covenants, the laws would

28   impose unconstitutional barriers to interstate commerce and cause economic balkanization.
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                                                 COMPLAINT
 1          2.      This complaint seeks relief under California's Declaratory Judgment Act and
 2   Unfair Competition Law. The complaint is related to Veeva Systems Inc. v. Medidata Solutions,
 3   Inc, Quintiles/MS Incorporated (now IQ VIA), and Sparta Systems, Inc., Case No. RG 17868081,
 4   which is also pending in this Court before the Honorable Stephen Kaus.

 5                               II.       PARTIES AND JURISDICTION
 6          3.      Plaintiff Veeva Systems Inc. is a Delaware corporation headquartered in
 7   Pleasanton, California. It is a leader in cloud-based software for the life sciences industry.
 8          4.      Plaintiff Peter Stark is an IQVIA employee who resides in New Jersey and who
 9   has had regular contact with the state of California through his employment with IQVIA.
10          5.      Defendant IQVIA Inc., a wholly-owned subsidiary ofIQVIA Holdings, Inc., is a
11   Delaware corporation headquartered in Durham, North Carolina and Danbury, Connecticut.
12   IQVIA provides information services and technology to the life sciences industry. IQVIA does
13   significant business with California-based customers and has significant California operations.
14   IQVIA was previously known as QuintilesIMS or IMS. For ease ofreference, Defendant is
15   referred to in this Complaint as IQVIA, its most recent name.
16          6.      IQVIA sells certain products and services that are competitive with certain of
17   Veeva's products and services. IQVIA and Veeva also have numerous common customers, and

18   each sometimes enters into third party agreements with the other for the benefit of common
19   customers. Through these third party agreements, Veeva, on occasion, authorizes IQVIA to
20   access Veeva data products and software (including the Veeva CRM solution), and IQVIA, on
21   occasion, authorizes Veeva to access IQVIA data products. Veeva is also a direct supplier of
22   IQVIA with respect to Veeva software.
23          7.      IQVIA and Veeva also compete for employees.
24                                               III.   FACTS
25                                     California's Life Sciences Industry
26          8.      California, through the innovation and effort of its people, universities, policies,
27   and laws, has created and seeks to maintain a vibrant and growing life sciences industry. The
28   state hosts more than 3,700 life sciences companies that have more than 1300 new therapies
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                                                   COMPLAINT
 1   seeking regulatory approval, including 455 medicines to treat cancer. There are more than 8500

 2   clinical trials being conducted in California. Each year, California's life sciences industry

 3   generates approximately $190B in revenue, and pays more than $40B in wages and more than

 4   $17B in federal, state, and local taxes. Prominent pharmaceutical companies based primarily in

 5   California include Amgen, Genentech, Gilead, Allergan Irvine, and Jazz Pharmaceuticals.

 6   California also has significant biotech hubs in San Diego and Silicon Valley.
 7          9.      Veeva and IQ VIA both conduct significant business with California's life
 8   sciences industry.
 9                                              Peter Stark
10          10.     From 2002 to 2010, Peter Stark worked as a senior director for Sanofi, S.A., a
11   multi-national pharmaceutical company. From 2010 to 2016, he worked as the Chief Executive
12   Officer of Thoughtshift/Pursuit Solutions ("Pursuit"), a marketing firm that provided marketing
13   services to pharmaceutical companies, including those in California.

14                                The Acquisition and 2016 NCA/NDAs
15          11.     In 2016, Pursuit was acquired by IQVIA. As part of this acquisition, Stark signed
16   a "Restrictive Covenant Agreement" that included a five year non-compete clause, a five year

17   non-solicitation clause, and never-ending confidentiality and non-disparagement clauses (the
18   "Acquisition NCA/NDA"). 1 The five-year term for the non-compete and non-solicitation

19   provisions of the Acquisition NCA/NDA expired in January 2021. The Acquisition NCA/NDA
20   has a Delaware choice of law provision.
21          12.     Because Stark became employed by IQVIA when it acquired Pursuit, IQVIA
22   required him to sign a second "Proprietary Rights and Restrictive Covenant Agreement." (the
23   2016 NCA/NDA). The 2016 NCA/NDA contains a one-year, post-termination, non-compete
24   clause, a one-year, post-termination, non-solicitation clause, and never-ending confidentiality
25   and non-disparagement clauses. The 2016 NCA/NDA has a New Jersey choice of law provision.
26                                         The 2017 NCA/NDA
27   1
      The appellate court in the Veeva Systems Inc. v. Quintiles/MS (IQVIA) (Cal.App. 2019) 2019
28   WL 5654387 refers to non-compete/non-disclosure/non-disparagement provisions, collectively,
     as NCA/NDAs. This complaint does the same.
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                                                COMPLAINT
 1          13.     In 2017, IQVIA required Stark to sign a standard "Confidentiality and Restrictive
 2   Covenants Agreement" (the "2017 NCA/NDA"). While the 2017 NCA/NDA was nominally in
 3   exchange for certain compensation, the agreement itself makes clear that it was a condition of
 4   Stark's continued employment with IQVIA.

 5           14.    The 2017 NCA/NDA superseded all prior NCA/NDAs except the Acquisition
 6   NCA/NDA. Alternatively, IQVIA intends the 2017 NCA/NDA to be the most protective of
 7   IQVIA's interests and thus the operative NCA/NDA.

 8           15.    The 2017 NCA/NDA was signed by Stark within New Jersey. On information
 9   and belief, it was signed on behalf ofIQVIA within New York (the location of its Chief Human
10   Resources Officer). The agreement contains a Delaware choice of law provision.
11          16.     Stark has had extremely limited contacts with the State of Delaware, personal or
12   professional, during the course of his employment with IQVIA.
13           17.    As detailed below, the 2017 NCA/NDA contains world-wide, one-year, post-
14   termination non-compete and non-solicitation clauses, as well as never-ending confidentiality
15   and non-disparagement clauses.
16                                 a. The Post-Termination Non-Compete
17           18.    The non-compete clause in the 2017 NCA/NDA prohibits competition in three
18   distinct ways for a one year period (i.e., the "Restricted Period"). It prohibits Stark from directly
19   or indirectly performing or providing:

20                  a. "Services" for any "Competitor" that competes with a "Company Offering"
21                      with which the employee performed "Services" in the past twelve months.
22                  b. "Services" for any "Competitor" that competes with a "Company Offering"
23                      for which the employee had access to "Confidential Information" in the past
24                      twelve months; or

25                  c. "Services" for any "Person" [not just Competitors] that is likely to result in
26                      the use or disclosure of any "Confidential Information."
27           19.    "Confidential Information" is defined to mean "information that is confidential or
28   proprietary to the Company or Third Parties," regardless of when or how the information was or
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                                                  COMPLAINT
 1   is received or created. All that matters is the information "is not generally disclosed by the
 2   Company or Third Parties or otherwise publicly available, and which may be useful or helpful to
 3   the Company or Third Parties and may give the Company or Third Parties a competitive
 4   advantage."
 5           20.     "Third Parties" means any ofIQVIA's customers, suppliers, or partners. Veeva,
 6   as well as many ofVeeva's customers, are Third Parties under the plain language of the 2017
 7   NCAINDA.
 8           21.     "Services" means direct or indirect "assistance, support, or services," including
 9   "the providing of advice, support, knowledge, information or recommendations, labor ... any
10   other performance, rendering or delivery of individual work or assistance."
11           22.     "Company Offering" means the Company's past, present, future, or contemplated
12   services or products.
13           24.     "Competitor" means any Person [non-Company entity or individual] "that is then
14   either directly or indirectly planning to develop, or developing, providing, offering, selling, or
15   supporting any product or service competitive, in whole or in part, with any Company Offering."
16           25.     "Person" means any non-IQVIA person or entity.
17                            b. The Post-Termination Non-Solicitation Clause
18           26.     The non-solicitation clause prohibits solicitation of customers, suppliers,
19   employees, and consultants in four distinct ways during the Restricted Period. It states that Stark
20   must not, directly or indirectly, endeavor to or actually, "solicit, induce, entice, [procure, hire,
21   engage, employ, or use]:"
22                  a.       any actual or prospective customer or data supplier ofIQVIA with whom
23                           the employee had contact, or about which the employee had access to
24                           "Confidential Information," in order to sell or obtain products or services
25                           that are the same, similar to, or related to, the products or services IQVIA
26                           offered to or acquired in the market during the employee's employment.
27                  b.       any actual or prospective customer or data supplier to change its business
28                           relationship with IQVIA.

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                                                  COMPLAINT
 1                   c.      any employee or consultant ofIQVIA to leave IQVIA.
 2                   d.      any current or former "Person" if doing so would result in a breach of that
 3                           Person's [similarly unlawful] restrictive covenants with the Company.
 4                               c. The Never-Ending Confidentiality Clause
 5           27.     The confidentiality clause prohibits the use or disclosure of "Confidential
 6   Information" (as defined above), except for Internal or External Disclosure and Use. The
 7   exceptions with respect to disclosure and use are narrowly-defined. Specifically:
 8                   a.      "Internal Disclosure or Use" means employees may share or discuss
 9                           "Confidential Information" with individuals within the Company only on
10                           a need-to-know basis if necessary for those individuals to properly
11                           perform their jobs or contracted responsibilities.
12                   b.      "External Disclosure or Use" means employees may disclose
13                           "Confidential Information" to someone outside IQVIA only if three
14                           conditions are met: (i) the disclosure furthers IQVIA's legitimate business

15                           purposes; (ii) the intended recipient has signed an approved non-disclosure

16                           agreement; and (iii) the disclosed information is appropriately designated

17                           as confidential.

18           28.     The confidentiality clause expressly prohibits the employee from using

19   "Confidential Information" for the benefit of themselves or any third party.

20           29.     The confidentiality clause lasts forever and survives the employee's separation

21   from IQVIA's employ.

22                            d. The Never-Ending Non-Disparagement Clause

23           30.     The non-disparagement clause prohibits, not just competition, but also protected

24   employee speech. It prohibits the employee from: (1) making statements or representations; (2)

25   communicating; or (3) taking any action "that may, directly or indirectly, disparage or be

26   damaging to, not just IQVIA, but also "any of its officers, directors, employees, advisors,

27   businesses, or its or their reputations."

28           31.     The non-disparagement clause, like the confidentiality clause, lasts forever and

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                                                  COMPLAINT
 1   survives the employee's separation from IQVIA's employ.
 2                                            The Saving Clauses
 3          32.     The restrictive covenants in IQVIA's NCA/NDAs are overbroad, oppressive,
 4   vague, unenforceable and illegal under California and the Sister State Laws. The covenants are
 5   also inequitable and entirely unnecessary to further any ofIQVIA's legitimate business interests.
 6   The covenants, for example, effectively prohibit employees from ever competing with IQVIA
 7   (because competition is an action that might "damage" IQVIA) and from ever using ill-defined
 8   "confidential information" that belongs, not to IQVIA, but to Veeva and IQVIA's other suppliers
 9   and customers, regardless of when or how the employee learns of the information.
10          33.     IQVIA knows its NCA/NDAs are illegal, but it relies on the in terrorem effect of
11   the covenants to restrain competition and prevent employees from engaging in protected
12   conduct. In the event employees are inadequately terrorized, IQVIA relies on "savings clauses"
13   in its NCA/NDAs in the hope that a court will rewrite their overbroad, oppressive, vague, illegal
14   and unenforceable terms. For example:
15                  a.     One savings clause in the 2017 NCA/NDA states that, to the extent the
16                         non-compete or non-solicitation provisions "are in violation of applicable
17                         federal, state, or other local law ... such provisions are deemed void and
18                         not applicable."
19                  b.     A second savings clause - titled "Severability" - states that "if any
20                         provision of this Agreement is, for any reason, held to be invalid or
21                         unenforceable, the other provisions of this Agreement will remain
22                         enforceable and the invalid or unenforceable provision will be deemed
23                         modified so that it is valid and enforceable to the maximum extent
24                         permitted by law." This clause further states that, to the extent the non-
25                         compete or non-solicitation clauses are "judicially determined to be
26                         unenforceable, a court of competent jurisdiction may reform any such
27                         provision to make it enforceable."
28          34.     The saving clauses do not save the restrictive covenants. A court of equity should
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                                                  COMPLAINT
 1   not rewrite obviously illegal agreements in an effort to further an employer's anti-competitive
 2   scheme. Alternatively, these clauses establish that Stark's upcoming employment with Veeva
 3   does not violate any of the IQ VIA restrictive covenants because the covenants, if applied to

 4   Stark's employment with Veeva, would violate California and/or the Sister State Laws.

 5                                                  ***
 6          35.     The Acquisition, 2016, and 2017 NCA/NDAs have effectively locked Stark into

 7   his employment with IQVIA since January 2016. He could not leave and work in his chosen
 8   profession without risking a violation of the covenants.
 9          36.     On information and belief, and as part of its ongoing anti-competitive scheme,
10   IQVIA has required numerous employees to sign NCA/NDAs that are the same as, or similar to,
11   the NCA/NDAs signed by Stark.
12                                  Stark's Employment with IOVIA
13          37.     From 2016 to 2018, Stark was employed by IQVIA as its head of multi-channel
14   marketing. From 2018 to June 2021, Stark was employed by IQVIA as a Vice President and
15   General Manager of Omnichannel Marketing. "Omnichannel" - or "every channel" - describes
16   an advertising strategy. It encompasses the different ways (or channels) through which a
17   company can contact its audience: Examples of "channels" include television, websites, social
18   media, face-to-face, etc. In the life sciences space, the audience is typically consumers of
19   pharmaceuticals or healthcare providers that prescribe pharmaceuticals.
20          38.     IQVIA's Omnichannel Marketing Department helps pharmaceutical companies
21   determine what marketing (or advertising) works best for increasing the sale of their products. It
22   leverages data to which IQVIA has access - including customer data and pharmacy data-to
23   give advice on how to tailor the company's marketing efforts among different channels.
24          39.     In performing his work for IQVIA, Stark primarily relied on his general skills,
25   experience, and education. However, and like virtually every other job involving information
26   technology, Stark and his team had access to and used non-public information from IQVIA, its
27   customers, suppliers, partners, and others during the course of their work. For example,
28   IQVIA's Omnichannel Marketing group has used customer data housed within Veeva 's CRM
                                                     - 8-
                                                 COMPLAINT
 1   solution to provide marketing services to its customers.
 2          40.     In June 2021, Stark became IQVIA's Vice President and General Manager of
 3   Marketing. However, his focus has continued to be on the Omnichannel Marketing Group.
 4          41.     In his job with IQVIA, Stark had regular contact with California customers like
 5   Gilead, Genentech, and Amgen, as well as numerous smaller biotech companies based in San
 6   Diego and Silicon Valley. Stark regularly traveled to California, visiting for days at time,
 7   throughout his IQVIA employment. California was and remains a focus ofIQVIA's business
 8   efforts because of California's thriving life sciences industry. IQ VIA receives the benefits of
 9   California's economy and laws, but seeks to avoid its California responsibilities.
10                              Stark's Recruitment and Hiring by Veeva
11          42.     In or around June 2021, Veeva began efforts to recruit Stark for employment with
12   Veeva. Its Chief Executive Officer sent a text to Stark from California, the CEO's home state.
13   Over the next two months, Veeva' s CEO recruited Stark from California through telephone calls,
14   video conferences, and text messages that were sent from, or originated within, California.
15          43.     Because ofIQVIA's NCAINDAs, Stark retained and sought legal advice from
16   Kublanovsky Law LLC, based in New York, and Baker Curtis & Schwartz, P.C., based in
17   California, with respect to his potential departure from IQVIA and potential employment with
18   Veeva. To date, Stark has incurred fees due Kublanovsky, and Veeva, consistent with California
19   Labor Code§ 2802, has incurred fees due Baker that were incurred on Stark's behalf. Veeva's
20   California-based General Counsel has also expended considerable time and resources with
21   respect to the recruitment and hiring of Stark because of the IQVIA NCAINDAs.
22          44.     On September 1, 2021, Veeva offered Stark a job as its Executive Vice President
23   of Commercial Strategy. Stark's employment with Veeva will begin on January 3, 2022 at
24   Veeva's Pleasanton, California headquarters. Veeva expects that Stark will work frequently
25   within the geographic boundaries of California during the term of his Veeva employment. His
26   direct manager, the CEO, resides in California. Much of Stark's anticipated Veeva team also

27   resides in California. As explained in his offer letter, his employment relationship with Veeva is
28   governed by California law. Regardless of where Stark physically works, he will have ongoing
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                                                 COMPLAINT
 1   and consistent contacts with his California-based co-workers, vendors, partners, and customers.
 2          45.     Regardless of where he formally resides, Stark's contacts with California will be
 3   such that he is and will be entitled to the protections of California law with respect to his
 4   employment with Veeva.

 5          46.     As part ofVeeva's offer to Stark, and because ofIQVIA's NCA/NDAs, Veeva
 6   has agreed to indemnify Stark for any losses he might incur as a result of his departure from
 7   IQVIA and his employment with Veeva. In addition, Stark's employment with Veeva will not
 8   begin until January 3, 2022. Moreover, during the "Restricted Period" set forth in the
 9   NCA/NDAs, Veeva does not plan to assign Stark management responsibility for its Crossix
10   measurement and optimization business.
11          47.     On September 2, 2021, Stark accepted the job offer from Veeva. On September
12   2, 2021, he informed his IQVIA superior that he was resigning from IQVIA and intended to
13   begin work for Veeva on or around January 3, 2022. He also removed the capacity of his
14   personal iPhone to access IQVIA's network, including his IQVIA email. As a cautionary
15   measure, Stark is also delivering his personal iPhone, iPad, and computer to his attorneys to
16   ensure that all IQVIA-related information that is protected from disclosure or use by law, that
17   may inadvertently reside on these devices, is removed. He has purchased a new iPhone as a
18   result, a loss for which Veeva has agreed to indemnify him.
19          48.     Veeva and Stark have suffered injury in fact and loss of property because of
20   IQVIA's NCA/NDAs.
21                                      IV.    CAUSES OF ACTION
22          49.     In light of the above facts, Veeva and Stark assert the following causes of action
23    against IQVIA.
24   Ill

25   Ill

26   Ill

27   Ill

28   Ill

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                                                  COMPLAINT
 1                                      FIRST CAUSE OF ACTION
 2                             DECLARATORY RELIEF CONCERNING
 3                RECRUITMENT OF STARK AND OTHER IQVIA EMPLOYEES
 4                                               (BYVEEVA)
 5          50.     An actual case or controversy exists over Veeva's right to recruit Stark and other

 6   current and former IQVIA employees in light of the fact that they have signed standard

 7   NCA/NDAs the same as or similar to those referenced above. Veeva, as a competitor and
 8   supplier ofIQVIA, and as a business that shares common customers with IQVIA, has an interest
 9   in these NCA/NDAs because they inhibit Veeva's ability to fairly compete for employees.
10                                              California Law
11          51.     California Business and Professions Code § 16600 renders every contract in

12   restraint of trade void. The Cartwright Act renders any combination in restraint of trade unlawful
13   and void. Business and Professions Code§§ 17200 et seq. renders violations of Business &

14   Professions Code § 16600 and the Cartwright Act unfair and unlawful business practices.
15          52.     California has a strong interest in protecting the freedom of movement of persons
16   whom California-based employers wish to employ to provide services in California, regardless of

17   the person's state ofresidence or precise degree of involvement in California projects. California
18   also has a strong interest in supporting, maintaining and growing its life sciences industry.
19   California employers have a strong and legitimate interest in having broad freedom to choose
20   from a national applicant pool in order to maximize the quality of the products or services they
21   provide.
22          53.     Veeva contends it is protected in its recruitment ofIQVIA's employees, including
23   Stark, to provide services to Veeva in California within the meaning of California law
24   notwithstanding the NCA/NDAs referenced above. IQVIA disagrees.
25                                             Sister State Laws
26          54.     Similar to California (if to a lesser extent), the Sister State Laws -- i.e., those of

27   Delaware_, New Jersey, New York, Connecticut, and North Carolina - also place strict limitations
28   on restrictive covenants of the sort required by IQVIA. The Sister States also have a strong
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                                                  COMPLAINT
 1   interest in protecting employers, employees, and the public from the harms arising from IQVIA's
 2   unlawful restraints of trade.
 3           55.    To the extent a Sister State Law applies to the present dispute, Veeva contends it is
 4   protected by this Sister State Law in its recruitment of Stark for employment by Veeva. IQVIA
 5   disagrees.
 6                                        Dormant Commerce Clause
 7          56.     The dormant Commerce Clause establishes a constitutional free trade policy to aid
 8   interstate commerce. Among other things, it declares unconstitutional barriers to interstate trade
 9   that adversely affect the ability of businesses to recruit out-of-state personnel.
10           57.    To the extent a Sister States Law would validate or enforce the NCA/NDAs
11   referenced above, Veeva contends such law would, as applied to the present dispute, violate the

12   dormant Commerce Clause. IQVIA disagrees.
13           58.    For these reasons, Veeva seeks a declaratory judgment finding that Veeva has and
14   had the right to solicit IQVIA's employees for employment, including Stark, in accordance with
15   the above facts and law.
16                                    SECOND CAUSE OF ACTION
17                 DECLARATORY RELIEF CONCERNING IQVIA'S NCA/NDAs
18                                       (BY VEEVA AND STARK)
19           59.    An actual case or controversy exists over IQVIA's right to require employees,

20   including Stark, to sign NCA/NDAs that violate California law, a Sister State Law, and/or the
21   dormant Commerce Clause. Veeva, as a competitor and supplier ofIQVIA with respect to certain
22   services, products and employees, and as a business that shares common customers with IQ VIA,
23   has an interest in these NCA/NDAs. Stark, as a signatory, also has an interest in these
24   NCA/NDAs.
25                                              California Law
26           60.    Business and Professions Code§ 16600 renders every contract in restraint of trade
27   void. The Cartwright Act renders any combination in restraint of trade unlawful and void.
28
                                                      - 12 -
                                                  COMPLAINT
 1   Business and Professions Code§§ 17200 et seq. renders violations of Business & Professions
 2   Code § 16600 and the Cartwright Act unfair and unlawful business practices.
 3           61.     California has a strong interest in protecting the freedom of movement of persons
 4   whom California-based employers wish to employ to provide services in California, regardless of
 5   the person's state of residence or precise degree of involvement in California projects. California
 6   also has a strong interest in supporting, maintaining and growing its life sciences industry.
 7   California employers have a strong and legitimate interest in having broad freedom to choose
 8   from a national applicant pool in order to maximize the quality of the product or services they
 9   provide.
10           62.     Plaintiffs contend California law applies to Stark's upcoming employment with
11   Veeva and that, under California law, the NCA/NDAs are illegal and invalid. Alternatively,
12   Plaintiffs contend that, because California law applies to Stark's employment with Veeva, the
13   NCA/NDAs themselves exclude Stark's employment with Veeva from their scope. IQVIA
14   disagrees with these contentions.
15                                              Sister State Laws
16           63.     Similar to California (if to a lesser extent), the Sister State Laws -- i.e., those of
17   Delaware, New Jersey, New York, Connecticut, and North Carolina - also place strict limitations
18   on restrictive covenants of the sort required by IQVIA. The Sister States also have a strong
19   interest in protecting employers, employees, and the public from the harms arising from IQVIA's
20   unlawful restraints of trade.
21           64.    To the extent a Sister State Law applies to the present dispute, Plaintiffs contends
22   the NCA/NDAs are illegal and invalid under such Sister State's Law or, alternatively, Stark's
23   employment with Veeva is excluded from the scope of the restrictive covenants under such Sister
24   State Law. IQVIA disagrees.
25                                        Dormant Commerce Clause
26          65.     The dormant Commerce Clause establishes a free trade policy with respect to
27   interstate commerce. Among other things, it declares unconstitutional barriers to interstate trade
28   that adversely affect the ability of businesses to recruit out-of-state personnel.
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                                                   COMPLAINT
 1          66.     To the extent a Sister State Law would enforce or validate the NCA/NDAs

 2   referenced above, and restrain Stark's employment with Veeva, Plaintiffs contends such law
 3   would, as applied to the present dispute, violate the dormant Commerce Clause. IQVIA
 4   disagrees.

 5          67.     For these reasons, Plaintiffs seeks a declaratory judgment ruling that the

 6   NCA/NDAs referenced above are illegal, unenforceable, and/or that Stark's upcoming
 7   employment with Veeva does not violate these NCA/NDAs.

 8                                    THIRD CAUSE OF ACTION
 9                             UNFAIR COMPETITION CONCERNING
10                RECRUITMENT OF IQVIA'S EMPLOYEES, INCLUDING STARK
11                                             (BY VEEVA)

12          68.     Business and Professions Code§ 16600 renders every contract in restraint of trade
13   void. The Cartwright Act renders any combination in restraint of trade unlawful and void.
14   Business and Professions Code§§ 17200 et seq. renders violations of Business & Professions
15   Code § 16600, the Cartwright Act, and other laws, unfair and unlawful business practices.
16          69.     IQVIA engages in unfair competition when its requires employees, including

17   Stark, to enter into the NCA/NDAs of the type referenced above in order to deter the recruitment
18   and movement of its current and former employees.

19          70.     As detailed above, Veeva has suffered injury in fact as a result ofIQVIA's unfair
20   competition.

21          71.     IQVIA's conduct must be enjoined.

22                                   FOURTH CAUSE OF ACTION
23                            UNFAIR COMPETITION ARISING FROM
24                                         IQVIA's NCA/NDAS
25                                     (BY VEEVA AND STARK)
26          72.     Business and Professions Code § 16600 renders every contract in restraint of trade
27   void. The Cartwright Act renders any combination in restraint of trade unlawful and void.
28

                                                    - 14 -
                                                COMPLAINT
 1   Business and Professions Code§§ 17200 et seq. renders violations of Business & Professions

 2   Code § 16600, the Cartwright Act, and other laws, unfair and unlawful business practices.
 3          73.     IQVIA engages in unfair competition when its requires employees, including

 4   Stark, to enter into the NCNNDAs of the type referenced above. The NCNNDAs harm

 5   competition, employees, competitors, and the public.
 6          74.     As detailed above, Plaintiffs have suffered injury in fact as a result ofIQVIA's

 7   unfair competition.
 8          75.     IQVIA's conduct must be enjoined.
 9                                       PRAYER FOR RELIEF
10          WHEREFORE, Plaintiffs pray for judgment against IQVIA as follows:
11          1.      Declaratory judgment.
12          2.      Appropriate injunctive relief ancillary to the declaratory judgment.
13          3.      Appropriate injunctive relief under California's unfair competition law, including,

14   but not limited to, a public injunction prohibiting IQVIA from requiring its employees to enter

15   into NCNNDAs of the type referenced above.
16          4.      An award of reasonable attorneys' fees and costs;

17          5.      All such other and further relief that the Court may deem just and proper.
18
                                          BAKER CURTIS & SCHWARTZ, P.C.
19   Dated: September 2, 2021
20
                                          By:
21                                               Chris Baker
                                                 Attorneys for Plaintiffs
22                                               VEEV A SYSTEMS, INC. AND PETER STARK
23

24

25
26
27

28
                                                    - 15 -
                                                COMPLAINT
EXHIBIT B
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
   Chris Baker, 181557
   Baker Curtis & Schwartz, P.C.
   I California Street, Suite 1250
   San Francisco, CA 94111
         TELEPHONE NO.: ( 415) 9696502
    ATTORNEY FOR (Name): Plaintiff

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
 Superior Court of California, Alameda Countv
 1225 Fallon Street. #109
 Oakland, CA 94612-4293
     P!..AINTIFF/PETITIONER: Veeva Systems Inc., et al.                                               CASE NUMBER:

                                                                                                     RG21111679
DEFENDANT/RESPONDENT: IQVIA Inc.

                                                                                                     Ref. No. or File No.:
                                   PROOF OF SERVICE OF SUMMONS                                        15
       .         .                                 .
1. At the time of service I was a citizen of the United States, at least 18 years of age and not a party to this action.
2. I served copies of:
Summons, Complaint, Notice of Related Case



3. a. Party served: IQVIA Inc.
                                  CSC - Koy Saechao - Person Authorized to Accept Service of Process

                                                  2710 Gateway Oaks Drive, Suite ISON
                                                  Sacramento, CA 95833
5. I served the party
    a. by personal service.
        receive service of process for the party (1) on (date): 09/03/2021                     (2) at (time): 1:55PM
6. The "Notice to the Person Served" (on the summons) was completed as follows:



     d. on behalf of:

     IQVIA Inc.
     under: CCP 416.10 (corporation)
7. Person who served papers
   a. Name:        Tyler Anthony DiMaria
   b. Address:     One Legal - P-000618-Sonoma
                   1400 North McDowell Blvd, Ste 300
                   Petaluma, CA 94954

  c. Telephone number: 415-491-0606
  d. The fee for service was:$ 40.00
  elam:
       (3) reqistered California process server.
             (i) Employee or independent contractor.
             (ii) Registration No.: 2006-06
             (iii) County: Sacramento
8. I declare under penalty of perjury under the laws of the United States of America and the State of California that the foregoing is true and correct.
Date: 09/03/2021



                     Tyler Anthony DiMaria
                     (NAME OF PERSON WHO SERVED PAPERS)                                                       (SIGNATURE}
  Form Adopted for Mandatory Use                                                                                             Code of Civil Procedure, § 417 .1 O
Judicial Council of CalWornia POS-01 O
        [Rev. Jan 1, 2007]                             PROOF OF SERVICE OF SUMMONS
                                                                                                                    OL# 16860474
EXHIBIT C
 1   PILLSBURY WINTHROP SHAW PITTMAN LLP
     MARCIA L. POPE SBN 124878
 2   MARC H. AXELBAUM SBN 209855
     ATHENA G. RUTHERFORD SBN 328824
 3
     Four Embarcadero Center, 22nd Floor
 4   San Francisco, CA 94111-5998
     Telephone: 415.983.1000
 5   Facsimile: 415.983.1200
 6   Attorneys for Defendant IQVIA Inc.
 7

 8
                                UNITED STATES DISTRICT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10

11   VEEVA SYSTEMS INC. AND PETER                   Case No. ___________
     STARK
12                                                  [Alameda County Superior Court, Case No.
                                 Plaintiffs,        RG21111679]
13
            vs.                                     DECLARATION OF ATHENA G.
14                                                  RUTHERFORD IN SUPPORT OF
     IQVIA INC.                                     NOTICE OF REMOVAL OF ACTION
15                                                  PURSUANT TO 28 U.S.C. §§ 1331, 1441
                                 Defendant.         (FEDERAL QUESTION)
16

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28                                             1
                     DECLARATION OF ATHENA G. RUTHERFORD IN SUPPORT OF
                   NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. 1331, 1441
                                                                                  4816-1663-3341
 1          I Athena G. Rutherford, declare and state as follows:

 2          1.      I am a member of the State Bar of California and this Court and a member of the

 3   law firm of Pillsbury Winthrop Shaw Pittman LLP, counsel for defendant IQVIA Inc. (“IQVIA”

 4   or “Defendant”) in this matter. I make this declaration in support of Defendant’s Notice of

 5   Removal of Action Pursuant to 28 U.S.C. §§ 1331, 1441 (Federal Question).

 6          2.      On October 4, 2021, at my direction, Defendant filed an Answer to Veeva Systems

 7   Inc. and Peter Stark (collectively “Plaintiffs”) Unverified Complaint (the “Complaint”) in

 8   Alameda Superior Court, for Case No. RG21111679. A true and correct copy of the Answer is

 9   attached hereto as Exhibit 1. A true and correct copy of the confirmation of receipt of the filing is

10   attached as Exhibit 2.

11          3.      I am informed and believe that due to the current COVID-19 restrictions on

12   courthouse operations, Plaintiffs will not receive a conformed copy of the Answer for

13   approximately three to four weeks.

14          4.      IQVIA’s deadline to submit their notice of Removal is Monday October 4, 2021,

15   prior to the anticipated date by which Plaintiffs will receive a copy of the Answer.

16          5.      Upon receipt of a conformed copy of the Answer, I shall amend Defendant’s

17   Notice of Removal to include a copy of the conformed Answer in due haste.

18

19          I declare under the penalty of perjury under the laws of the State of California that the

20   foregoing is true and correct. Executed this 4th day of October 2021 in San Francisco, California.

21
     Dated: October 4, 2021                      PILLSBURY WINTHROP SHAW PITTMAN LLP
22

23

24                                        By:           ATHENA G. RUTHERFORD
                                                        Attorneys for Defendant
25                                                      IQVIA INC.
26

27

28                                                  2
                       DECLARATION OF ATHENA G. RUTHERFORD IN SUPPORT OF
                     NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. 1331, 1441
                                                                                              4816-1663-3341
EXHIBIT 1
 1   PILLSBURY WINTHROP SHAW PITTMAN LLP
     MARCIA L. POPE SBN 124878
 2   MARC H. AXELBAUM SBN 209855
     ATHENA G. RUTHERFORD SBN 328824
 3
     Four Embarcadero Center, 22nd Floor
 4   San Francisco, CA 94111-5998
     Telephone: 415.983.1000
 5   Facsimile: 415.983.1200
     .
 6

 7

 8
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                                          COUNTY OF ALAMEDA
10

11   VEEVA SYSTEMS INC. AND PETER                            Case No. RG21111679
     STARK
12                                                           DEFENDANT IQVIA’S ANSWER TO
                                    Plaintiffs,              VEEVA SYSTEMS AND PETER
13                                                           STARK’S COMPLAINT
             vs.
14                                                           ASSIGNED FOR ALL PURPOSES TO:
     IQVIA INC.                                              Judge:  TBD
15                                                           Dept.:  TBD
                                    Defendants.
16

17

18          IQVIA (“Defendant”) answers the unverified Complaint (“Complaint”), filed on

19   September 2, 2021 by Peter Stark and Veeva Systems, Inc. (“Plaintiffs”), as follows:

20                                          GENERAL DENIAL

21          1.       Pursuant to Code of Civil Procedure section 431.30, Defendant generally and

22   specifically denies each and every allegation of the unverified Complaint, and further denies,

23   generally and specifically, that Plaintiffs’ have been injured in any way by Defendant, or any of

24   its officers, directors, agents, or employees, and denies that any equitable or other relief is due

25   and owing from Defendant to Plaintiffs or that Plaintiffs are entitled to any damages or other

26   relief whatsoever.

27   ///

28   ///
                                                 1                        Case No. RG21111679
                   DEFENDANT IQVIA’S ANSWER TO PETER STARK AND VEEVA’S COMPLAINT
                                                                                                4812-7489-1517
 1                                     AFFIRMATIVE DEFENSES

 2          By way of affirmative defenses to the allegations of the Complaint, Defendant avers as

 3   follows:

 4                                  FIRST AFFIRMATIVE DEFENSE

 5          1.      The Complaint, and each purported cause of action contained therein, fails to state

 6   a claim because California law does not apply to the substantive facts at issue. The acts or

 7   omissions that allegedly give rise to Plaintiffs’ claims occurred outside California and were not

 8   otherwise governed by California law. Additionally, the two non-compete and non-disclosure

 9   agreements (the “NCA/NDAs”) identified in the Complaint to which IQVIA was allegedly a

10   party were neither entered into nor performed in California, and they contain Delaware choice of

11   law provisions. On information and belief, the NCA/NDAs were signed by an IQVIA employee

12   who, at all relevant times, lived and worked in New Jersey.

13                                 SECOND AFFIRMATIVE DEFENSE

14          2.      The Complaint, and each purported cause of action therein, is barred, in whole or

15   in part, by the dormant Commerce Clause (Art. I, § 8, cl. 3) and the Full Faith and Credit Clause

16   (Art. IV, § 1) of the U.S. Constitution, and other sovereignty and federalism principles of federal

17   law. The application of California law to regulate contracts in other states, entered into by out-of-

18   state employees with out-of-state employers, violates principles of state sovereignty, arrogates the

19   legislative prerogatives of other states to the California judiciary, and exceeds the court’s

20   jurisdiction. The practical effect of applying California law to all NCA/NDAs, regardless of

21   where and when they are entered, performed, or enforced, whenever a contracting party

22   subsequently works for a company that has corporate offices, headquarters, or operations within

23   California, would be to deny other states the ability to control contractual relationships and

24   economic activity occurring within their own borders, and would effectively impose a national

25   law not passed by Congress.

26                                 THIRD AFFIRMATIVE DEFENSE

27          3.      The Complaint, and each purported cause of action contained therein, is barred in

28   whole or in part, because the California laws cited therein do not apply extraterritorially.
                                             2                          Case No. RG21111679
                 DEFENDANT IQVIA’S ANSWER TO PETER STARK AND VEEVA’S COMPLAINT
                                                                                               4812-7489-1517
 1                                FOURTH AFFIRMATIVE DEFENSE

 2          4.       The Complaint, and each purported cause of action therein, including Plaintiffs’

 3   requests for relief, are barred, in whole or in part, by the Due Process Clause of the Fifth and

 4   Fourteenth Amendments of the Constitution of the United States and the Due Process Clause of

 5   Article I, section 7 of the California Constitution. The California laws at issue in the Complaint,

 6   as interpreted and sought to be applied by the Plaintiffs, are unduly vague and subjective, permit

 7   retroactive, random, arbitrary, and capricious punishment, and fail to provide adequate notice as

 8   to what might constitute a violation of the law.

 9                                  FIFTH AFFIRMATIVE DEFENSE

10          5.       The Complaint, and each purported cause of action therein, including Plaintiffs’

11   requests for relief, is barred, in whole or in part, by the First Amendment to the Constitution of

12   the United States and the Liberty of Speech Clause of Article I, section 2 of the California

13   Constitution.

14                                  SIXTH AFFIRMATIVE DEFENSE

15          6.       The Complaint, and each purported cause of action contained therein, is barred, in

16   whole or in part, because at all relevant times, any actions by Defendant were privileged pursuant

17   to Civil Code section 47.

18                                SEVENTH AFFIRMATIVE DEFENSE

19          7.       Any relief based on the allegations of the Complaint is barred because any such

20   relief would contravene Defendant’s rights to equal protection under the law and to petition the

21   courts for relief. Plaintiffs ask the Court to invalidate prior contracts legally entered between

22   consenting parties under valid law, and prevent Defendant from entering into lawful contracts and

23   from seeking to protect or enforce its contractual rights anywhere in the United States.

24                                 EIGHTH AFFIRMATIVE DEFENSE

25          8.       The Complaint is barred because Defendant’s alleged acts or omissions respecting

26   the matters alleged in the Complaint were based on independent and legitimate business

27   justifications, and any actions by Defendant resulted from a good faith effort to protect its

28   confidential and proprietary information and goodwill, and were not the result of any contract,
                                             3                          Case No. RG21111679
                 DEFENDANT IQVIA’S ANSWER TO PETER STARK AND VEEVA’S COMPLAINT
                                                                                                4812-7489-1517
 1   combination, or conspiracy in restraint of trade between Defendant and any other person or entity.

 2                                  NINTH AFFIRMATIVE DEFENSE

 3          9.      The Complaint, and each purported cause of action therein, is barred, in whole or

 4   in part, to the extent it is based on alleged acts, conduct or statements that are permitted by law.

 5   The causes of action for violation of California Business and Professions Code Section 17200 et

 6   seq. are specifically barred by the safe harbor provided by Defendant’s compliance with federal

 7   and/or state laws and regulations. See Cel-Tech Comm., Inc. v. Los Angeles Cellular Tel. Co., 20

 8   Cal. 4th 163, 182 (1999). Plaintiffs’ claims concern alleged acts, conduct, or statements which

 9   occurred outside of California and in states where such acts, conduct, or statements were legal.

10          10.     New Jersey resident Mr. Stark executed the relevant NCA/NDAs in New Jersey.

11   The choice of law provisions in the relevant NCA/NDA agreement which Mr. Stark signed

12   applies Delaware law. 1

13          11.     Delaware authority holds that covenants not to compete are enforceable and not

14   mechanically applied as the courts engage in “a careful evaluation of the specific facts and

15   circumstances presented.” McCann Surveyors, Inc. v. Evans, 611 A.2d 1, 3 (Del. Ch. 1987).

16                                 TENTH AFFIRMATIVE DEFENSE

17          12.     The First, Second, Third, and Fourth Causes of Action are barred, in whole or in

18   part, because Plaintiffs cannot establish a predicate act by Defendant sufficient to maintain a

19   cause of action under Business and Professions Code Section 17200 et seq.

20                               ELEVENTH AFFIRMATIVE DEFENSE

21          13.     By reason of its actions, representations, conduct and/or omissions to act, Plaintiffs

22   are estopped from asserting and have waived each and every purported cause of action for relief

23   against Defendant alleged in the Complaint.

24                               TWELFTH AFFIRMATIVE DEFENSE

25          14.     The Complaint, and each purported cause of action contained therein, is preempted

26
     1
27    Mr. Stark signed a 2016 NCA/NDA with a New Jersey choice of law provision—this agreement
     was superseded by an NCA/NDA he later signed in 2017 with a Delaware choice of law
28   provision.
                                              4                          Case No. RG21111679
                  DEFENDANT IQVIA’S ANSWER TO PETER STARK AND VEEVA’S COMPLAINT
                                                                                                4812-7489-1517
 1   by federal law – specifically, the Commerce Clause of the United States Constitution and the

 2   Cartwright Act (California’s principal state antitrust law which reflects similar concepts as the

 3   federal Sherman Act) because adjudication of the scope, validity and applicability of IQVIA’s

 4   contractual provisions entered into with employees who later work go to work for Veeva, but are

 5   not otherwise subject to California law, necessarily requires application and analysis of federal

 6   constitutional principles.

 7                                THIRTEENTH AFFIRMATIVE DEFENSE

 8          16.     The First and Second Causes of Action for declaratory relief are barred because

 9   declaratory relief is not necessary or proper under the circumstances alleged in the Complaint

10   under California Code of Civil Procedure Section 1061.

11                                FOURTEENTH AFFIRMATIVE DEFENSE

12          17.     The Complaint, and each purported cause of action therein, is barred, in whole or

13   in part, and judicial abstention is appropriate, because this action requires the court to assume a

14   legislative function and the equitable relief sought would be unnecessarily burdensome for the

15   court to monitor and enforce.

16                                FIFTEENTH AFFIRMATIVE DEFENSE

17          18.     Plaintiffs have adequate remedies at law and are therefore not entitled to equitable

18   relief. Plaintiffs plead Mr. Stark and Veeva’s injuries-in-fact as: “lost property” and IQVIA

19   precluding Mr. Stark from “leav[ing] and work[ing] in his chosen profession without risking a

20   violation of the covenants.”

21                                SIXTEENTH AFFIRMATIVE DEFENSE

22          19.     The equities in this case weigh against the relief that Plaintiffs seek. The nature of

23   the injuries complained of by Mr. Stark and Veeva are redressable without resorting to injunctive

24   relief. Plaintiffs’ injuries of “lost property” and the alleged forgoing of opportunities on behalf of

25   Mr. Stark are quantifiable and therefore redressable through remedies at law.

26          20.     In addition, should Plaintiffs’ injunctive relief be granted, IQVIA would be

27   harmed and proscribed from protecting essential confidential information known by former

28   employees who go to work for Veeva.
                                              5                          Case No. RG21111679
                  DEFENDANT IQVIA’S ANSWER TO PETER STARK AND VEEVA’S COMPLAINT
                                                                                                4812-7489-1517
 1                            SEVENTEENTH AFFIRMATIVE DEFENSE

 2          21.     The Complaint does not seek monetary relief in the form of damages, restitution,

 3   or disgorgement. To the extent Plaintiffs later seeks such relief, or any other monetary recovery,

 4   such relief would unjustly enrich Plaintiffs and is therefore barred.

 5                             EIGHTEENTH AFFIRMATIVE DEFENSE

 6          22.     The Complaint does not allege or seek damages, nor can damages be recovered

 7   under the causes of action alleged in the Complaint, but to the extent Plaintiffs contend that its

 8   allegations entitle it to restitutionary or other monetary relief, the amounts Plaintiffs allege to

 9   have incurred are too remote or speculative to allow recovery, and it is impossible to ascertain

10   and allocate such alleged amounts with reasonable certainty.

11                              NINETEENTH AFFIRMATIVE DEFENSE

12          23.     Although discovery has not yet commenced, Plaintiffs may be barred in whole or

13   in part from recovery by reason of its failure to mitigate any harm to it, if in fact any injury has

14   been sustained. Any recovery by Plaintiffs must be reduced or barred by reason thereof. Plaintiffs

15   plead it recruits former IQVIA employees in spite of its knowledge that IQVIA employees at

16   times sign NCA/NDAs. Discovery may yield additional facts relevant to this affirmative defense.

17                              TWENTIETH AFFIRMATIVE DEFENSE

18          24.     Each cause of action fails to state facts sufficient to support an award of damages

19   for attorneys’ fees, expert witness fees, and other litigation fees, costs, and expenses.

20                            TWENTY-FIRST AFFIRMATIVE DEFENSE

21          25. The Complaint, and each purported cause of action contained therein, fail to state facts

22   sufficient to constitute any cause of action against Defendant.

23                           TWENTY-SECOND AFFIRMATIVE DEFENSE

24          26.      Defendant presently has insufficient knowledge or information upon which to

25   form a belief as to whether Defendant may have other, as yet unstated, affirmative defenses

26   available. Therefore, Defendant reserves the right to assert additional affirmative defenses in the

27   event that discovery or any other investigation indicates that they would be appropriate.

28   ///
                                              6                          Case No. RG21111679
                  DEFENDANT IQVIA’S ANSWER TO PETER STARK AND VEEVA’S COMPLAINT
                                                                                                 4812-7489-1517
 1                                       PRAYER FOR RELIEF

 2          WHEREFORE, Defendant prays for judgment as follows:

 3          (a)     That judgment be awarded in favor of Defendant and against Plaintiffs and that the

 4   Complaint be dismissed in its entirety with prejudice;

 5          (b)     That Plaintiffs take nothing by way of its Complaint;

 6          (c)     That Defendant be awarded its costs and attorneys’ fees as allowed by law; and

 7          (d)     For such other and further relief as the Court deems just and proper.

 8

 9   Dated: October 4, 2021                     PILLSBURY WINTHROP SHAW PITTMAN LLP
10

11
                                         By:         MARCIA L. POPE
12                                                   MARC H. AXELBAUM
                                                     ATHENA G. RUTHERFORD
13                                                   Attorneys for the Defendant
                                                     IQVIA INC.
14

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                                              7                          Case No. RG21111679
                  DEFENDANT IQVIA’S ANSWER TO PETER STARK AND VEEVA’S COMPLAINT
                                                                                            4812-7489-1517
EXHIBIT 2
Superior Court of California, County of Alameda   Receipt Nbr: 817469
Hayward Hall of Justice                           Clerk: j rose
24405 Amador Street                               Date: 10/04/2021
Hayward, CA 94544


Type          Case Number    Description                          Amount


Filing        RG21111679     Initial Appearance                  $435.00



         Total Amount Due:      $435.00
         Prior Payment:
         Current Payment:       $435.00
         Balance Due:              $.00
         Overage:
         Excess Fee:
         Change:

Payment Method:
        Cash:
        Check:                  $435.00
     PILLSBURY WINTHROP SHAW PITTMAN LLP
     MARCIA L. POPE SBN 124878                                         ENDORSED
     MARC H. AXELBAUM SBN 209855                                         FILED
     ATHENA G. RUTHERFORD SBN 328824                                ALAMEDA COUNTY
     Four Embarcadero Center, 22nd Floor                                 OCT O 4 2021
     San Francisco, CA 94111-5998
     Telephone: 415.983.1000
     Facsimile: 415.983.1200



 7

 8
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                                          COUNTY OF ALAMEDA
10

11   VEEVA SYSTEMS INC. AND PETER                            Case No. RG21111679
     STARK
12                                                           DEFENDANT IQVIA'S ANSWER TO
                                    Plaintiffs,              VEEVA SYSTEMS AND PETER
13                                                           STARK'S COMPLAINT
             vs.
14                                                           ASSIGNED FOR ALL PURPOSES TO:
     IQVIAINC.                                               Judge:  TBD
15                                                           Dept.:  TBD
                                    Defendants.
16

17

18          IQVIA ("Defendant") answers the unverified Complaint ("Complaint"), filed on

19   September 2, 2021 by Peter Stark and Veeva Systems, Inc. ("Plaintiffs"), as follows:

20                                          GENERAL DENIAL

21           1.       Pursuant to Code of Civil Procedure section 431.30, Defendant generally and

22   specifically denies each and every allegation of the unverified Complaint, and further denies,

23   generally and specifically, that Plaintiffs' have been injured in any way by Defendant, or any of

24   its officers, directors, agents, or employees, and denies that any equitable or other relief is due

25   and owing from Defendant to Plaintiffs or that Plaintiffs are entitled to any damages or other

26   relief whatsoever.

27   III

28   ///
                                                 1                        Case No. RG21 ll 1679
                   DEFENDANT IQVIA'S ANSWER TO PETER STARK AND VEEVA'S COMPLAINT

                                                                                                4812-7489-1517
><       1   PILLSBURY WINTHROP SHAW PITTMAN LLP
<(           MARCIAL. POPE SBN 124878
~        2 . MARC H. AXELBAUM SBN 209855
~            ATHENA G. RUTHERFORD SBN 328824
         3
....J        Four Embarcadero Center, 22nd Floor
         4   San Francisco, CA 94111-5998
             Telephone: 415.983.1000
         5 Facsimile: 415.983.1200

         6

         7

         8
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
         9
                                      COUNTY OF ALAMEDA
        10

        11   VEEVA SYSTEMS INC. AND PETER             Case No. RG21111679
             STARK
        12                                            PROOF OF SERVICE VIA MAIL AND
                                 Plaintiffs,          EMAIL OF DEFENDANT IQVIA'S
        13                                            ANSWER TO VEEVA SYSTEMS AND
                  vs.                                 PETER STARK'S COMPLAINT
        14
             IQVIAINC.                                ASSIGNED FOR ALL PURPOSES TO:
        15                                            Judge:  TBD
                                 Defendants.          Dept.:  TBD
        16

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                                                  1                         Case No. RG21111679
                                           PROOF OF SERVICE

                                                                                    4839-0090-9821
EXHIBIT D
ATTORNEY OR PAR WITHOU'",ATTORNEY (Name, State Bar number, and address):
Chris Baker (S N 1"81~7) // Deborah Schwartz (SBN 208934)
Baker Curtis & Schwartz, 1 California St., #1250, San Francisco, CA 94111
                                                                                                                          FOR C    Illllll lllll l l l llllllllll llli i~li l~lililIll!
                                                                                                                                                 23126608
          TELEPHONE NO.: (415) 433-1064           FAX NO. (Optional): (415) 366-2525 .
         E-MAIL ADDRESS: cbaker@bakerlp.com // dschwartz@bakerlp.com
    ATTORNEY FOR (Name): Plaintiffs VEEVA SYSTEMS INC. AND PETER STARK
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
 STREET ADDRESS: 1225 Fallon Street
 MAILING ADDRESS:
                                                                                                              FILED
                                                                                                          ALAMEDA COUNTY
c1TY AND z1P coDE: Oakland, CA 94612
    BRANCH NAME: Rene C. Davidson Courthouse
CASE NAME:
 Veeva Systems Inc. and Peter Stark v. IQVIA Inc.

       CIVIL CASE COVER SHEET                               Complex Case Designation                                                                     --
0       Unlimited
        (Amount
                         D            Limited
                                      (Amount
                                                        D Counter              D Joinder                   RG                                  6S:.7;_Q
                                                                                                     1---=-=-_..,__..._....:1;;;__:1,:...-=--"---'---=----1
        demanded                      demanded is      Filed with first appearance by defendant         JUDGE:
        exceeds $25,000)              $25,000 or less)      (Cal. Rules of Court, rule 3.402)            DEPT.:
                                         Items 1-6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
     Auto Tort                                          Contract                                    Provisionally Complex Civil Litigation
    D      Auto (22)                                    D     Breach of contract/warranty (06)      (Cal. Rules of Court, rules 3.400-3.403)
    D      Uninsured motorist (46)                      D     Rule 3.740 collections (09)           D      Antitrust/Trade regulation (03)
     Other Pl/PD/WO (Personal Injury/Property           D     Other collections (09)                D      Construction defect (10)
     Damage/Wrongful Death) Tort                        D     1nsurance coverage
                                                                                    (18)                    Mass tort (40)
    D        Asbestos (04)                             D      Other contract (37)                   D       Securities litigation (28)
             Product liability (24)
                                                        Real Property                               D     Environmental/Toxic tort (30)
    D        Medical malpractice (45)
                                                        D     Eminent domain/Inverse
                                                                                                    D     Insurance coverage claims arising from the
    D        Other PI/PD/WD (23)                              condemnation (14)                           above listed provisionally complex case
                                                                                                          types (41)
     Non-Pl/PD/WO (Other) Tort                          D     Wrongful eviction (33)                Enforcement of Judgment
    [K]                                                0
             Business tort/unfair business practice (07)      Other real property (26)              D     Enforcement of judgment (20)
    D        Civil rights (08)                           Unlawful Detainer
                                                                                                    Miscellaneous Civil Complaint
    D        Defamation (13)                            D     Commercial (31)
                                                                                                    0       RIC0(27)
    D        Fraud (16)                                D      Residential (32)
                                                                                                    D       Other complaint (not specified above) (42)
    D        Intellectual property (19)                D      Drugs (38)
                                                                                                    Miscellaneous Civil Petition
    D        Professional negligence (25)               Judicial Review
                                                                                                    D       Partnership and corporate governance (21)
    D     Other non-PI/PD/WD tort (35)                  D     Asset forfeiture (05)
     Employment                                         D     Petition re: arbitration award (11)   D       Other petition (not specified above) (43)
    D        Wrongful termination (36)                  D     Writ of mandate (02)
    D        Other employment (15)                      D     Other judicial review (39)
2. This case D is             CK] is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
   a. D Large number of separately represented parties            d. D Large number of witnesses
    b. D Extensive motion practice raising difficult or novel e. D Coordination with related actions pending in one or more
              issues that will be time-consuming to resolve                 courts in other counties, states, or countries, or in a federal
   c. D Substantial amount of documentary evidence                          court
                                                                  f. D Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. D monetary b.                 m
                                                                          nonmonetary; declaratory or injunctive relief C. D punitive
4. Number of causes of action (specify):
5. This case O is             CK] is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may
Date: September 2, 2021
Chris Baker
                       (TYPE OR PRINT NAME)

 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.                                                                                             -C:,
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all    Q)
   other parties to the action or proceeding.                                                                                            -:
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.    iJ_
                                                                                                                                                                 P e 1 of2
Form Adopted for Mandatory Use                                                                                Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3. 740;
  Judicial Council of California                          CIVIL CASE COVER SHEET                                      Cal. Standards of Judicial Administration. std. 3.10
                                  .;;. INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                     CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
  Auto Tort                                     Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22}-Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                        Breach of Rental/Lease                           AntitrusVTrade Regulation (03)
       Uninsured Motorist (46) (if the                     Contract (not unlawful detainer              Construction Defect (10)
       case involves an uninsured                                or wrongful eviction)                  Claims Involving Mass Tort (40)
       motorist claim subject to                        Contract/Warranty Breach-Seller                 Securities Litigation (28)
       arbitration, check this item                          Plaintiff (not fraud or negligence)        Environmentalffoxic Tort (30)
       instead of Auto)                                 Negligent Breach of Contract/                   Insurance Coverage Claims
  Other Pl/PD/WO (Personal Injury/                           Warranty                                      (arising from provisionally complex
  Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                  case type listed above) (41)
  Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
       Asbestos (04)                                    book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Property Damage                       Collection Case-Seller Plaintiff                 Abstract of Judgment (Out of
         Asbestos Personal Injury/                      Other Promissory Note/Collections                    County)
               Wrongful Death                                Case                                     Confession of Judgment (non•
       Product Liability (not asbestos or           Insurance Coverage (not provisionally                 domestic relations)
          toxidenvironmental) (24)                      complex) (18)                                Sister State Judgment
       Medical Malpractice (45)                         Auto Subrogation                             Administrative Agency Award
           Medical Malpractice-                         Other Coverage                                   (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                               Petition/Certification of Entry of
       Other Professional Health Care                   Contractual Fraud                                 Judgment on Unpaid Taxes
             Malpractice                                Other Contract Dispute                        Other Enforcement of Judgment
       Other Pl/PD/WO (23)                      Real Property                                               Case
           Premises Liability (e.g., slip           Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                              RICO (27)
           Intentional Bodily Injury/PD/WO          Wrongful Eviction (33)                            Other Complaint (not specified
                 (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)          above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                Declaratory Relief Only
                Emotional Distress                     Mortgage Foreclosure                               Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                             harassment)
                Emotional Distress                     Other Real Property (not eminent                   Mechanics Lien
           Other Pl/PD/WO                               domain, landlord/tenant, or                       Other Commercial Complaint
  Non-Pl/PD/WO (Other) Tort                             foreclosure)                                          Case (non-tort/non-complex)
       Business Tort/Unfair Business            Unlawful Detainer                                         Other Civil Complaint
           Practice (07)                           Commercial (31)                                            (non-tort/non-complex)
       Civil Rights (e.g., discrimination,         Residential (32)                                Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal           Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                    Governance (21)
       Defamation (e.g., slander, libel)           report as Commercial or Residential)               Other Petition (not specified
             (13)                               Judicial Review                                           above) (43)
       Fraud (16)                                   Asset Forfeiture (05)                                 Civil Harassment
       Intellectual Property (19)                   Petition Re: Arbitration Award (11)                   Workplace Violence
       Professional Negligence (25)                 Writ of Mandate (02)                                  Elder/Dependent Adult
          Legal Malpractice                             Writ-Administrative Mandamus                           Abuse
          Other Professional Malpractice                Writ-Mandamus on Limited Court                    Election Contest
               (not medical or legal)                       Case Matter                                   Petition for Name Change
       Other Non-Pl/PD/WO Tort (35)                     Writ-Other Limited Court Case                     Petition for Relief From Late
 Employment                                                 Review                                             Claim
       Wrongful Termination (36)                    Other Judicial Review (39)                            Other Civil Petition
       Other Employment (15)                            Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-010 [Rev. September 1, 2021]                                                                                                            Page 2 of 2
                                                        CIVIL CASE COVER SHEET
                                                                                                                               11111111111111111 IIIII IIIII IIIII IIIII IIIII IIII IIII
                                                                                                                                              23126606
                                          SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AV/SO AL DEMANDADO):
                                                                                                                         F/ l ED
                                                                                                                      ALAMEDA COUNTY
IQVIA Inc.
                                                                                                                           S~P 2 - 2021
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
Veeva Systems Inc. and Peter Stark

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
iA VISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
continuaci6n.
   Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y pape/es /egales para presentar una respuesta par escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta par escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte que
le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra
quitar su sue/do, dinero y bienes sin mas advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con las requisitos para obtener servicios legates gratuitos de un
programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de tucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
colegio de abogados locales. A VISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                   CASERNUGMB ER  :(fiu1e~ d"' GiS~
(El nombre y direcci6n de la carte es): Alameda County Superior Court
1225 Fallon Street, Oakland, CA 94612
                                                                                                                      21 1    1  0 '{ lj

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n y el numero
de telefono def abogado def demandante, o def demandante que no tiene abogado, es):
Chris Baker, Baker Curtis & Schwartz, 1 California St., #1250, San Francisco, CA 94111; (415'J..:.4~3::?3UJ8"tt..~~~-----..
DATE:
(Fecha)        '
                   SEP A2021
                     /J
                      v ·                                                Chad
                                                                                   ,
                                                                              Clerk, by
                                                                      F#'ll<QSecretario)
                                                                                                                                 , Deputy
                                                                                                                                 (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                     1.   D      as an individual defendant.
                                          D      as the person sued under the fictitious name of (specify):

                                          D      on behalf of (specify):
                                          under: 0      CCP 416.10 (corporation)                           D      CCP 416.60 (minor)
                                                  D     CCP 416.20 (defunct corporation)                   D      CCP 416.70 (conservatee)
                                                  D     CCP 416.40 (association or partnership)            D      CCP 416.90 (authorized person)
                                                  D     other (specify):
                                     4.   D      by personal delivery on (date):                                                                                  Pae1of1
Form Adopted for Mandatory Use                                        SUMMONS                                                Code of Civil Procedure§§ 412.20, 465
Judicial Council of California                                                                                                                   www.courls.ca.gov
SUM·100 [Rev. July 1, 2009]
      1

...----___
       .... -.! - ' . ;  --------.---11111111111111111111111111111111111111111111111111
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                 F           23126609
    Chris Baker (SBN 181557) // Deborah Schwartz (SBN 208934)
    Baker Curtis & Schwartz, P.C.
    1 California Street, Suite 1250
    San Francisco, CA 94111
           TELEPHONE NO.: ( 415) 433-1064        FAX NO. (Optional): ( 415) 366-2525
                                                                                                                            1Ff LE.D
                                                                                                                         ALAMEDA COUNTY
   E-MAILADDREss (Optiona1J: cbaker@bakerlp.com // dschwartz@bakerlp.com

      ATTORNEY FOR (Name): Plaintiffs Veeva Systems Inc. and Peter Stark
                                                                                                                              SEP 2 - Z021
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
          srnEET ADDREss: 1225 Fallon Street
            MAILING ADDRESS:
           c1TY AND z1p coDE:        Oakland, CA 94612
                BRANCH NAME:         Rene C. Davidson Courthouse
       PLAINTIFF/PETITIONER:              Veeva Systems Inc. and Peter Stark
 DEFENDANT/RESPONDENT:                    IQVIA Inc.

                                                                                                                DEPT.:
                                          NOTICE OF RELATED CASE


Identify, in chronological order according to date of filing, all cases related to the case referenced above.
1. a. Title:    Veeva Systems Inc. v. Medidata Solutions, Quintiles IMS (nka IQVIA Inc.) and Sparta Systems
     b.    Case number: RG 17868081
     c. Court:      W             same as above
                    D             other state or federal court (name and address):
     d. Department:           19
     e. Case type:         D          limited civil   m    unlimited civil   D     probate   D     family law    D       other (specify):
     f. Filing date:        July 17, 2017
     g. Has this case been designated or determined as "complex?"                      D     Yes     W          No
     h. Relationship of this case to the case referenced above (check all that apply):
          [ZJ involves the same parties and is based on the same or similar claims.
          W         arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                    the same or substantially identical questions of law or fact.
          D         involves claims against, title to, possession of, or damages to the same property.
          W         is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                   D         Additional explanation is attached in attachment 1h
      i. Status of case:
          [ZJ pending
          D                            D               D
                                                                                                                                                                 e
                    dismissed                   with           without prejudice
          D         disposed of by judgment

2. a. Title:                                                                                                                                                     u..
     b. Case number:
     c. Court:      D             same as above                                                                                                                   co
                    D             other state or federal court (name and address):                                                                                 '"O
                                                                                                                                                                    .....
                                                                                                                                                                     Q)
                                                                                                                                                                    ·-
    d. Department:
                                                                                                                                                          Page 1 o 3
Form Approved for Optional Use                                                                                                          Cal. Rules of Court, rule 3.300
  Judicial Council of Califomia                                NOTICE OF RELATED CASE                                                            www.courtinfo.ca.gov
  CM-015 [Rev, July 1, 2007]
                                                                                                                                                  CM-015
                                                                                                               CASE NUMBER:
   PLAINTIFF/PETITIONER: Veeva Systems Inc. and Peter Stark
-DEFENDANT/RESPONDENT:   IQVIA Inc.
2. (continued)
         e. Case type:        D        limited civil    D   unlimited civil   D       probate   D        family law   D        other (specify):
          f. Filing date:
         g. Has this case been designated or determined as "complex?"                    D       Yes       D         No
         h. Relationship of this case to the case referenced above (check all that apply):
              D          involves the same parties and is based on the same or similar claims.
              D          arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                         the same or substantially identical questions of law or fact.
              D         involves claims against, title to, possession of, or damages to the same property.
              D         is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                        D        Additional explanation is attached in attachment 2h
          i. Status of case:
             D          pending
             D          dismissed       D        with   D     without prejudice
             D          disposed of by judgment

3.    a. Title:
      b. Case number:
      c. Court:      D        same as above
                     D           other state or federal court (name and address):
      d. Department:
      e. Case type:          D       limited civil      D   unlimited civil   D       probate   D       family law    D       other (specify):
      f. Filing date:
      g. Has this case been designated or determined as "complex?"                     D        Yes     D        No
      h. Relationship of this case to the case referenced above (check all that apply):
           D         involves the same parties and is based on the same or similar claims.
           D         arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                     the same or substantially identical questions of law or fact.
           D         involves claims against, title to, possession of, or damages to the same property.
           D         is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                    D        Additional explanation is attached in attachment 3h
       i. Status of case:
          D          pending
          D          dismissed       D        with      D   without prejudice
          D          disposed of by judgment

4.   D         Additional related cases are described in Attachment 4. Number of pages attached: _ _



Date:    September 2, 2021

Chris Baker
               (TYPE OR PRINT NAME OF PARTY OR ATTORNEY)
                                                                                  ►                   (SIGNATURE OF PARTY OR ATTORNEY)

CM-015 (Rev. July 1, 2007]                                                                                                                        Page 2 of 3
                                                            NOTICE OF RELATED CASE
                                                                                                                                       CM-015

-
                                                                                                    CASE NUMBER:
     PLAINTIFF/PETITIONER:             Veeva Systems Inc. and Peter Stark
  DEFENDANT/RESPONDENT:                lQVIA Inc.

                                              PROOF OF SERVICE BY FIRST-CLASS MAIL
                                                             NOTICE OF RELATED CASE
 (NOTE: You cannot serve the Notice of Related Case if you are a party in the action. The person who served the notice must
 complete this proof of service. The notice must be served on all known parties in each related action or proceeding.)

1. I am at least 18 years old and not a party to this action. I am a resident of or employed in the county where the mailing took
   place, and my residence or business address is (specify):
     1 California Street, Suite 1800, San Francisco, CA 94111

2.    I served a copy of the Notice of Related Case by enclosing it in a sealed envelope with first-class postage fully
      prepaid and (check one):
      a.   W        deposited the sealed envelope with the United States Postal Service.
      b.   D        placed the sealed envelope for collection and processing for mailing, following this business's usual practices,
                    with which I am readily familiar. On the same day correspondence is placed for collection and mailing, it is
                    deposited in the ordinary course of business with the United States Postal Service.
3. The Notice of Related Case was mailed:
     a. on (date):      September 2, 2021
     ~-     from (city and state): San Francisco, CA


4. The envelope was addressed and mailed as follows:
      a. Name of person served:                                       c. Name of person served:
            CSC (IQVIA's agent for SOP)
            Street address: 2710 Gateway Oaks Dr, 15 ON                  Street address:
            City: Sacramento                                             City:
            State and zip code: CA 95833                                 State and zip code:


      b. Name of person served:                                       d. Name of person served:

            Street address:                                              Street address:
            City:                                                        City:
            State and zip code:                                          State and zip code:

D          Names and addresses of additional persons served are attached. (You may use form POS-030(P).)

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date:      September 2, 2021


Deborah Schwartz
                         (TYPE OR PRINT NAME OF DECLARANT)
                                                                          ►


CM-015 IRev. July 1, 2007]                                                                                                             Page 3 of 3
                                                             NOTICE OF RELATED CASE
             Superior Court of California, County of Alameda




              Notice of Assignment of Judge for All Purposes

Case Number: RG21111679
Case Title:     Veeva Systems Inc VS lqvia Inc
Date of Filing: 09/02/2021


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

Pursuant to Rule 3.734 of the California Rules of Court and Title 3 Chapter 2 of the
Local Rules of the Superior Court of California, County of Alameda, this action is
hereby assigned by the Presiding Judge for all purposes to:

       Judge:                 Dennis Hayashi
       Department:            518
       Address:               Hayward Hall of Justice
                              24405 Amador Street
                              Hayward CA 94544
       Phone Number:          (510) 690-2727
       Fax Number:            (510) 267-1585
       Email Address:         Dept518@alameda.courts.ca.gov

Under direct calendaring, this case is assigned to a single judge for all purposes including
trial.

Please note: In this case, any challenge pursuant to Code of Civil Procedure section
170.6 must be exercised within the time period provided by law. (See Code Civ. Proc.
§§ 170.6, subd. (a)(2) and 1013.)

NOTICE OF NONAVAILABILITY OF COURT REPORTERS: Effective June 4, 2012, the
court will not provide a court reporter for civil law and motion hearings, any other hearing or
trial in civil departments, or any afternoon hearing in Department 201 (probate). Parties may
arrange and pay for the attendance of a certified shorthand reporter. In limited jurisdiction
cases, parties may request electronic recording.

Amended Local Rule 3.95 states: "Except as otherwise required by law, in general civil case
and probate departments, the services of an official court reporter are not normally
available. For civil trials, each party must serve and file a statement before the trial date
indicating whether the party requests the presence of an official court reporter."

Courtesy copies of all law and motion papers shall be delivered directly to Department 518.


IT IS THE DUTY OF EACH PLAINTIFF AND CROSS COMPLAINANT TO SERVE A COPY

                                          Page 1 of 4
OF THIS NOTICE IN ACCORDANCE WITH LOCAL RULES.

General Procedures

Following assignment of a civil case to a specific department, all pleadings, papers, forms,
documents and writings can be submitted for filing at either Civil Clerk's Office, located at
the Rene C. Davidson Courthouse, Room 109, 1225 Fallon Street, Oakland, California,
94612, and the Hayward Hall of Justice, 24405 Amador Street, Hayward, California, 94544.
All documents, with the exception of the original summons and the original civil complaint,
shall have clearly typed on the face page of each document, under the case number, the
following:
                           ASSIGNED FOR ALL PURPOSES TO
                                   JUDGE Dennis Hayashi
                                     DEPARTMENT 518

All parties are expected to know and comply with the Local Rules of this Court, which are
available on the court's website at: http://www.alameda.courts.ca.gov/Pages.aspx/Local-
Rules(1) and with the California Rules of Court, which are available at
www.courtinfo.ca.gov.

Parties must meet and confer to discuss the effective use of mediation or other alternative
dispute processes (ADR) prior to the Initial Case Management Conference. The court
encourages parties to file a "Stipulation to Attend ADR and Delay Initial Case Management
Conference for 90 Days". Plaintiff received that form in the ADR information package at the
time the complaint was filed. The court's website also contains this form and other ADR
information. If the parties do not stipulate to attend ADR, the parties must be prepared to
discuss referral to ADR at the Initial Case Management Conference.
Email is the best method of communicating with court staff. Email address for counsel or
self-represented litigants must be listed in the caption of all filed papers, as required by CRC
2.111 (1 ). All email communications must be copied to all parties for whom an email address
is available. Pleadings/documents shall not be transmitted via email.

Schedule for Department 518
    The following scheduling information is subject to change at any time, without notice.
    Please contact the department at the phone number or email address noted above if
    you have questions.
   •   Trials generally are held: Court Trials: Monday through Friday; 8:45 a.m. to 1:00
       p.m.

   •   Jury Trials: Monday through Friday; 8:45 a.m. to 1:00

   •   Case Management Conferences are held: Mondays, Tuesdays and Fridays at 2:30
       p.m.
   •   Law and Motion matters are heard: Wednesdays and Thursdays at 2:30 p.m.
   •   Settlement Conferences are heard: As scheduled by the judge.
   •   Ex Parte matters are heard: Wednesdays and Thursdays at 2:30 p.m.
   •   Pretrial Hearings are heard on Tuesdays at 2:30 p.m. (hearings are scheduled 2
       weeks prior to the trial date).




                                          Page 2 of 4
    •   Department 518 has opted out of the IDC program. Any Discovery issues that cannot
        be solved after meeting and conferring should be brought by motion.

Law and Motion Procedures
To obtain a hearing date for a Law and Motion or ex parte matter, parties must contact the
department as follows:
•   Motion Reservations
       Email:        dept518@alameda.courts.ca.gov
       Phone:        (510) 690-2727


•   Ex Parte Matters
       Email:        dept518@alameda.courts.ca.gov
       Phone:        (510) 690-2727


Tentative Rulings

The court may issue tentative rulings in accordance with the Local Rules. Tentative rulings
will become the Court's order unless contested in accordance with the Local Rules.
Tentative rulings will be available at:

•   Website: www.alameda.courts.ca.gov/domainweb, Calendar Information for Dept. 518
•   Phone: 1-866-223-2244




        Dated: 09/03/2021

                                                  Presiding Judge,
                                   Superior Court of California, County of Alameda




                                  CLERK'S CERTIFICATE OF MAILING
I certify that the following is true and correct: I am the clerk of the above-named court and
not a party to this cause. I served this Notice by placing copies in envelopes addressed as
shown on the attached Notice of Initial Case Management Conference and then by sealing
and placing them for collection, stamping or metering with prepaid postage, and mailing on
the date stated below, in the United States mail at Alameda County, California, following
standard court practices.

               Executed on 09/07/2021

                                         Page 3 of 4
   By         ~
              Diqrlal

                        Deputy Clerk




Page 4 of 4
 r                                                      7              r                                                7
       Baker, Christopher
       One California St
       Suite 1250
       San Francisco, CA 9411
 L                                                      J              L                                                J


                           Superior Court of California, County of Alameda
     Veeva Systems Inc                                                             No. RG21 l l 1679
                                        Plaintiff/Petitioner(s)
                                 vs.                                    NOTICE OF CASE MANAGEMENT
                                                                          CONFERENCE AND ORDER
     I via Inc                                                                   Unlimited Jurisdiction
                                    Defendant/Respondent(s)
                        (Abbreviated Title)

 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
 Notice is given that a Case Management Conference has been scheduled as follows:

Date: 06/08/2022        Department: 518                                                  Judge: Dennis Hayashi
Time: 02:30 PM            Location: Hayward Hall of Justice                              Clerk: Dianne Hyatt
                                    3rd Floor                                            Clerk telephone: (510) 690-2727
                                    24405 Amador Street, Hayward CA 94544                E-mail:
                                                                                         Dept5l8@alameda.courts.ca. gov
                             Internet: www.alameda.courts.ca.gov                         Fax: (510) 267-1585

                                                            ORDERS
  1. Plaintiff must:
            a.   Serve all named defendants and file proofs of service on those defendants with the court within 60
                 days of the filing of the complaint (Cal. Rules of Court, 3.ll0(b)); and
            b.   Give notice of this conference to all other parties and file proof of service.
 2.    Defendant must respond as stated on the summons.
 3. All pa11ies who have appeared before the date of the conferenee must:
            a.   Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724;
            b.   File and serve a completed Case Management Statement on Form CM-110 at least 15 days before
                 the Case Management Conference (Cal. Rules of Court, rule 3.725); and

            c.   Post jury fees as required by Code of Civil Procedure section 631.
 4.    If you do not follow the orders above, the court may issue an order to show cause why you should not be
       sanctioned under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings
       or dismissal of the action.
 5. You are further ordered to appear in person or through your attorney of record at the Case Management
    Conference noticed above. You must be thoroughly familiar with the case and fully authorized to proceed.
    You may be able to appear at Case Management Conferences by telephone. Contact CourtCall, an
    independent vendor, at least three business days before the scheduled conference. Call l-888-882-6878, or fax
    a service request to (888) 882-2946. The vendor charges for this service.
 6.    You may file Case Management Conference Statements by E-Delivery. Submit them directly to the E-
       Delivery Fax Number (510) 267-5732. No fee is charged for this service. For further information, go to
       www. alameda. courts. ca.gov/ff
 7.    The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
       conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate
       Dispute Resolution, such as mediation or arbitration. Check the website of each assigned department for
       procedures regarding tentative case management orders at www.alameda.courts.ca.gov/dc.

 Form Approved for Mandatory Use          NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER                  Page 1 of 2
 Superior Court of California, County
 of Alameda
 ALA CIV-100 [Rev. 07-01-2015]
                                                     CLERK'S CERTIFICATE OF MAILING
I certify that the following is true and correct: I am the clerk of the above-named court and not a party to this cause. I served this Notice of Hearing by
placing copies in envelopes addressed as shown hereon and then by sealing and placing them for collection, stamping or metering with prepaid postage,
and mailing on the date stated below, in the United States mail at Alameda County, California, following standard court practices.

                        Executed on 09/07/2021.



                                                                                                              Deputy Clerk




Form Approved for Mandatory Use                     NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER                                       Page 2 of 2
Superior Court of California, County
of Alameda
ALA CIV-100 [Rev. 07-01-2015]
'I
"

          CHRIS BAKER, State Bar No. 181557
          cbaker0l.bakerlp.com
      2   DEBORAH SCHWARTZ, State Bar No. 208934
          cbaker@bakerlp.co111
      3   BAKER CURTIS & SCHWARTZ, P.C.
          l California St., Suite 1250
      4   San Francisco, CA 94111
          Telephone: (415) 433-1064
      5
          Fax: ( 415) 366-2525
      6
          Attorneys for Plaintiffs
      7   VEEVA SYSTEMS INC. AND PETER STARK
      8
                          TN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
      9
     10                                        COUNTY OF ALAMEDA

     11

     12   VEEVA SYSTEMS INC. and                              Case No. RG2 l l 11679
          PETER STARK,
     13                                                       MOTION FOR PEREMPTORY
                                 Plaintiffs,                  CHALLENGE; DECLARATION IN
     14
                                                              SUPPORT
     15                  vs.

     16   IQVIA INC.                                          Complaint Filed: September 2, 2021
                                                              Trial: No date
     17                          Defendant.                   Judge: Presiding Judge Tara Desautels
                                                              Dept.: 1
     18

     19
     20   TO THE HONORABLE TARA DESAUTELS, PRESIDING JUDGE OF THE ABOVE

     21   ENTITLED COURT

     22          Plaintiffs Veeva System Inc. and Peter Stark ("Plaintiffs") in the above-entitled matter

     23   hereby move that this civil cause, which involves a contested issue of law or fact, and which has

     24   been assigned to the Honorable Dennis Hayashi, Judge of the above-entitled Court, be reassigned

     25   from that Judge, and that no matters hereinafter arising in this cause be heard or assigned to the

     26   Honorable Dennis Hayashi, on the ground that: (1) Plaintiff Veeva Systems previously filed a

     27   peremptory challenge against Judge Hayashi alleging prejudice in the related case of Veeva

     28   Systems Inc. ·v. Medidata Solutions, Inc., et. al. ("Veeva l"), Case No. RG2 l l l l 679, resulting in


                         MOTION FOR PEREMPTORY CHALLENGE; DECLARATION IN SUPPORT
'
     1   Veeva J's reassignment to Judge Kaus; and (2) the present case (Veeva 2) is a continuation of
     2   Veeva 1 for purposes ofC.C.P. § 170.6. E.g., Manuel v. Superior Court (2010) 181 Cal.App.4th
     3   382. Alternatively, if the present case is not a continuation of Veeva J, Plaintiffs seek the
     4   reassignment of the case from Judge Hayashi pursuant to the normal operation of C.C.P . § 170.6
     5   on the basis of prejudice.
     6          This motion is based on the matters contained herein, on Code of Civil Procedure Section
     7   170 .6 and on the supporting Declaration Under Penalty of Perjury of Chris Baker attached hereto
     8   and filed herewith.
     9          WHEREFORE, Plaintiffs prays that the relief herein requested be granted.
    10
                                             BAKER CURTIS & SCH WARTZ, P.C.
    11   Dated: September 17, 2021
    12
                                             By:
    13                                               Chris Ba er
                                                     Attorneys for Plaintiffs
    14                                               VEEVA SYST EMS, INC. AND PETER STARK
    15

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                                                        -2-
                        MOTION FOR PEREMPTORY CHALLENGE; DECLARATION IN SUPPORT
'                                       DECLARATION OF CHRIS BAKER
     2           I, Chris Baker, declare that:
     3           1.      I am counsel for the Plaintiffs in the above-entitled matter.
     4           2.      The Honorable Dennis Hayashi, the Judge in Department 518 to whom the above-

     5   entitled matter has been assigned for all purposes, including trial, is prejudiced against the

     6   Plaintiffs and/or the interest of the Plaintiffs.
     7           3.      Declarant believes that the Plaintiffs cannot have a fair and impartial trial or

     8   hearing before this Judge.

     9           4.      According to the proof of service, the Court's clerk mailed notice of the
    10   assignment of Judge Hayashi on September 7, 2021. Plaintiffs were unaware of the assignment
    11   until they received the notice of assignment through the clerk's mailing.
    12           I declare under penalty of perjury under the laws of the State of California that the
    13   foregoing is true and correct. Executed on September 17, 2021 in San Francisco, California.

    14
    15
                                                                   Chris Baker
    16

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                                                             -3-
                        MOTION FOR PEREMPTORY CHALLENGE; DECLARATION IN SUPPORT
     CHRIS BAKER, State Bar No. 181557
     cbaker~bakerlp.com
 2   DEBORAH SCHWARTZ, State Bar No. 208934
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 3   BAKER CURTIS & SCHWARTZ, P.C.
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 4   San Francisco, CA 94111
 5   Telephone: (415) 433-1064
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 6
     Attorneys for Plaintiffs
 7   VEEVA SYSTEMS INC. AND PETER STARK

 8
                     IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
10                                        COUNTY OF ALAMEDA

11
12   VEEVA SYSTEMS INC. and                            Case No. RG21 l l 1679
     PETER STARK,
13                                                     [PROPOSED) ORDER OF TRANSFER
                            Plaintiffs,
14
                                                       Complaint Filed: September 2, 2021
15                  vs.                                Trial: No date
                                                       Judge: Presiding Judge Tara DeSautels
16   IQVIA INC.                                        Dept.: I                     .

17                          Defendant.
18

I9          The written motion of Plaintiffs Veeva Systems Inc. and Peter Stark in the above-entitled

20   matter for the peremptory disqualification of the Honorable Dennis Hayashi of the above-

21   captioned Court, and the supporting declaration under penalty of perjury of Chris Baker, have

22   been duly presented and filed. In accordance with Code of Civil Procedure § 170.6, it is therefore

23   established that the Honorable Dennis Hayashi is prejudiced against Plaintiffs or the interest of

24   Plaintiffs in the above-entitled matter.

25   Ill
26   Ill
27   Ill
28   Ill


                                      [PROPOSED] ORDER OF TRANSFER
             THEREFORE, IT IS HEREBY ORDERED that Judge Hayashi is relieved from his

 2   assignment as judge in the above-entitled matter, and that the cause shall proceed before the

 3   Honorable _ _ _ __ _ _ __             , in Department _ of this Court.
 4

 5
     DATE:
             - -- - - - -
 6                                        The Honorable Tara Desautels,
                                          PRESIDING JUDGE
 7

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                                                   -2-
                                    [PROPOSED) ORDER OF TRANSFER
     CHRlS BAKER, State Bar No. 181557
     cbaker@bakerlp.com
 2   DEBORAH SCHWARTZ, State Bar No. 208934
     cbaker@bakerlp.com
 3   BAKER CURTCS & SCHWARTZ, P.C.
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     Telephone: (415) 433-1064
 5
     Fax: (415) 366-2525
 6
     Attorneys for Plaintiffs
 7   VEEVA SYSTEMS INC. AND PETER STARK

 8
                  IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
10                                    COUNTY OF ALAMEDA

11
12   VEEVA SYSTEMS INC. and                      Case No. RG21 11 l679
     PETER STARK,
13                                               PROOF OF SERVICE
                        Plaintiffs,
14
                                                 Compla int Filed: September 2, 2021
15                vs.                            Trial: No date
                                                 Judge: Presiding Judge Tara DeSautels
16   IQVIA JNC.                                  Dept.: 1

17                      Defendant.
18

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                                         PROOF OF SERVICE
                                          PROOF OF SERVICE
 2
            l am a resident of the State of California, over the age of eighteen years, and not a party to
 3
     the within action. My business address is 1 California Street, Suite 1250, San Francisco, California
 4
     94111. On September 17, 2021, l served the following document(s):
 5
       1. MOTION FOR PEREMPTORY CHALLENGE; DECLARATION IN SUPPORT
 6     2. [PROPOSED] ORDER OF TRANSFER
 7
           by placing a true copy of the document(s) listed above for collection and mailing following
 8    0    the firm's ordinary business practice in a sealed envelope with postage thereon fully
           prepaid for deposit in the United States mail at San Francisco, California addressed as set
 9         forth below.
IO

11         by depositing a true copy of the same enclosed in a sealed envelope, with delivery fees
           provided for, in an overnight delivery service pick up box or office designated for overnight
12         delivery, and addressed as set forth below.
13
           by personally delivering a copy of the document(s) listed above to the person(s) at the
14         address(es) set forth below.
15
                                                         csc
16                                  2710 Gateway Oaks Drive, Suite 150N
                                          Sacramento, CA 95833
17                               AGENT FOR SERVICE OF PROCESS FOR
                                        DEFENDANT IQVIA INC.
18

19          I am readily familiar with the firm's practice of collection and processing correspondence
20   for mailing and for shipping via overnight delivery service. Under that practice, it would be
21   deposited with the U.S. Postal Service or if an overnight delivery service shipment, deposited in
22   an overnight delivery service pick-up box or office on the same day with postage or fees thereon
23   fully prepaid in the ordinary course of business.

24          l declare under penalty of perjury under the laws of the State of California that the above is
25   true and correct. Executed on September 17, 2021 at San Francisco, California.
26
27                                                                 Deborah Schwartz

28

                                                     -2-
                                             PROOF OF SERVICE
,11,1f111!'1!1,1,1111,111uJJJ111,!111,,11/111,11u!1111




                                                                                     s   1000
                                                                                                l\\l\111\111111
                                                                                                      95833




                                          BAfillR CURTIS & SCHWARTZ, PC
                                          l CALIFORNIA STREET, S UITE 1250
                                          SAN FRANCISCO, CALIFORNIA 94111




                                           TO:                   csc
                                                   2710 Gateway Oaks Drive, Suite 150N
                                                         Sacramento, CA 95833


                                          AGENT FOR SERVICE OF PROCESS FOR
                                          DEFENDANT lOVTA INC.
   Baker, Christopher                                        Iqvia Inc
   One California St
   Suite 1250
   San Francisco, CA 9411

                     Superior Court of California, County of Alameda
                                Hayward Hall of Justice

 Veeva Systems Inc                                            No. RG21111679
                                  Plaintiff/Petitioner( s)
                                                              Application Re: Peremptory Challenge
                        VS.
                                                              as to De1mis Hayashi Granted

 Iqvia Inc
                               Defendant/Respondent( s)
                 (Abbreviated Title)




IT IS ORDERED that the Plaintiffs Application Re: Peremptory Challenge as to Dennis Hayashi is
granted.




       Dated: 09/20/2021
                                                                 Judge Dennis Hayashi
EXHIBIT E
     CHRIS BAKER, State Bar No. 181557
 1
     cbaker@bakerlp.com
 2   DEBORAH SCHWARTZ, State Bar No. 208934
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     Fax: (415) 366-2525
 6
     Attorneys for Plaintiff
 7   VEEVA SYSTEMS INC.
 8
                    IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9

10                                      COUNTY OF ALAMEDA

11

12   VEEVA SYSTEMS INC.,                                    Case No. RG17868081

13                                 Plaintiff,
                                                            FIRST AMENDED COMPLAINT
14                  vs.
15                                                          CAUSES OF ACTION FOR
     MEDIDATA SOLUTIONS, INC.; QUINTILES                    DECLARATORY JUDGMENT
16   IMS INCORPORATED (now IQVIA), and                      AND UNFAIR COMPETITION
     SPARTA SYSTEMS, INC.,
17
                                   Defendants.
18

19

20
                                        I.       INTRODUCTION
21
            1.      This case concerns the systemic use of unlawful non-compete, non-disclosure,
22
     and non-disparagement agreements by three out-of-state corporations: (1) Medidata Solutions,
23
     Inc.; (2) Quintiles IMS Incorporated; and (3) Sparta Systems, Inc. (“Defendants.”) Each of these
24
     Defendants requires its U.S.-based employees to sign a standard agreement with restrictive
25
     covenant provisions that violate California law.
26
            2.      Defendants’ current and former employees, Plaintiff Veeva Systems Inc.
27
     (“Veeva”), other California employers, and the state of California are all harmed by these illegal
28
     agreements.

                      DECLARATORY RELIEF AND UNFAIR COMPETITION COMPLAINT
 1          3.      Veeva, for the benefit of itself and the general public, seeks appropriate
 2   declaratory and injunctive relief.
 3                                II.     PARTIES and JURISDICTION
 4          4.      Plaintiff Veeva Systems Inc. is a Delaware corporation headquartered in
 5   Pleasanton, California. It is a leader in cloud-based software for the global life sciences industry.
 6          5.      Defendant Medidata Solutions, Inc. (“Medidata”) is a software-as-a-service
 7   technology company that provides applications and analytics as it relates to clinical trials.
 8   Medidata is a Delaware corporation with offices in California. It is headquartered in New York.
 9          6.      Defendant Quintiles IMS Incorporated (now IQVIA) (referred to in this complaint
10   as “IMS”) provides information services and technology to the healthcare industry. IMS is a
11   Delaware corporation with offices in California. It is headquartered in North Carolina.
12          7.      Defendant Sparta Systems, Inc. (“Sparta”) provides quality management solutions
13   to the life sciences industry. On information and belief, Sparta is either a Delaware or New
14   Jersey corporation. Sparta conducts business in California and has employees located in
15   California. It is headquartered in New Jersey.
16          8.      Defendants sell certain products and services that are competitive with certain of
17   Veeva’s products and services. Defendants and Veeva also compete for employees.
18                                              III.    FACTS
19                            Restrictive Covenants Are Illegal In California
20          9.      Except in limited situations, California law declares “every contract by which
21   anyone is restrained from engaging in a lawful profession, trade, or business of any kind is to
22   that extent void.” Moreover, California’s Cartwright Act defines an unlawful trust as “a
23   combination of capital, skill, or acts by two or more persons . . . to create or carry out restrictions
24   in trade or commerce.” Such agreements, which include post-termination non-compete
25   agreements, overbroad non-disclosure agreements, and non-disparagement agreements are
26   unlawful, against public policy, and void.
27          10.     A post-termination non-compete – even limited to a specific employer – restricts
28   employees in some way from practicing their trade. The same goes for an overbroad non-
                                                       -2-
                                          FIRST AMENDED COMPLAINT
 1   disclosure agreement or non-disparagement agreement. Such agreements restrict trade,
 2   competition, and the free flow of information in the same manner as a non-compete agreement.
 3   R.R. Donnelly & Sons Co. v. Fagan (S.D.N.Y. 1991) 767 F.Supp. 1259, 1269. For example, a
 4   non-disclosure agreement that prohibits employees from using and disclosing “all business
 5   information” of their past employers is, for all intents and purposes, a covenant not to compete.
 6   Bodemer v. Swanel Beverage, Inc. (N.D. Ill. 2012) 884 F.Supp.2d 717, 729.
 7          11.     California law forbids non-competes in whatever form. Edwards v. Arthur
 8   Anderson LLP (2008) 44 Cal.4th 937, 949-950.
 9          12.      Moreover, and in addition to Business & Professions Code § 16600, the
10   California Labor Code makes it illegal to require employees to sign agreements that prohibit
11   them from disclosing information about their working conditions, wages, or the wages of others.
12   See, e.g., Labor Code § 232, 232.5, and 1197.5(k). Overbroad non-disclosure agreements and
13   non-disparagement provisions do just that.
14                                                 Veeva
15          13.     As noted above, Veeva is a California-based employer and a leader in cloud-
16   based software for the global life sciences industry. All of Veeva’s principle corporate activities
17   occur at, and its principle corporate departments are housed within, its Pleasanton headquarters.
18   These California-based activities and departments include Veeva’s executive offices, its research
19   and development department, its engineering department, its marketing department, its employee
20   success (or human resources) department, its finance department, its legal department, its
21   information technology department, and its administrative activities. Veeva’s professional
22   services department is based in Veeva’s San Francisco satellite office.
23          14.     The only real estate that Veeva owns is its Pleasanton headquarters.
24          15.     Ten of Veeva’s fourteen most senior executives reside and work in California.
25          16.     Veeva recruits applicants and employees from its Pleasanton, California
26   headquarters. For example, Veeva posts job openings on the “careers” section of its website,
27   www.veeva.com. This website is managed and updated by employees in Pleasanton, California.
28   When jobs are posted, they are typically posted by an employee based in Veeva’s Pleasanton
                                                     -3-
                                        FIRST AMENDED COMPLAINT
 1   headquarters. Moreover, when a job applicant sends a resume to Veeva, the resume is typically
 2   loaded onto an employee success tracking system that is managed from California.
 3           17.     In addition, Veeva’s Pleasanton-based employee success department is
 4   responsible for shepherding applicants through the interview process. Applicants often visit
 5   Veeva’s Pleasanton headquarters as part of the interview process, and most are interviewed
 6   (either in person or by phone) by Pleasanton-based employees. Ultimate hiring decisions are
 7   made by executives based in California.
 8           18.     Veeva is a California-based employer, and all of its U.S.-based employees,
 9   regardless of their place of residence, are employed in California. They sign a standard
10   employment agreement that is governed by California law. Their employment is governed by
11   policies and procedures that emanate from California. In the course of their work, they regularly
12   interact with California-based employees, vendors or customers.
13           19.     Veeva does not require its employees to sign non-compete agreements. Veeva
14   does not require its employees to sign a non-disparagement agreement. Veeva does not require
15   its employees to comply with an overbroad non-disclosure agreement.
16           20.     Veeva currently employs approximately 1250 U.S.-based employees. More than
17   600 of these employees work in its Pleasanton headquarters. More than 450 other employees
18   work remotely from home when they are not traveling for work. The remaining 200 employees
19   work in Veeva’s satellite offices, including its satellite offices in California.
20           21.     Veeva currently has more than 500 customers, a significant number of which are
21   based in California or have significant California operations. Some of Veeva’s California-based
22   customers include such prominent life sciences companies as Amgen, Gilead, Edwards
23   Lifesciences, IONIS Pharmaceuticals Inc., and Impax Laboratories.
24           22.     Consistent with California law, and consistent with its belief in fair competition
25   for employees, Veeva will hire persons to provide services in California within the meaning of
26   California law even if a different employer required them to sign a non-compete. Veeva explains
27   its philosophy and its intent to comply with California law on its website, stating:
28

                                                       -4-
                                         FIRST AMENDED COMPLAINT
                    The practice of non-compete agreements conflicts with our value of
 1
                    employee success. Non-competes are an outdated business practice.
 2                  We don’t ask employees to sign them and we will not let a current
                    or past non-compete agreement prevent us from hiring a qualified
 3                  candidate.
 4          23.     Veeva further understands that one of the primary drivers of California’s
 5   technology industry is its strong public policy against agreements that restrain trade. Veeva’s
 6   website also states:
 7                  One of the key contributing factors to Silicon Valley’s success and
                    culture of innovation has been California’s ban of non-competes as
 8
                    a condition of employment. The mobility of talent made the
 9                  founding and growth of countless tech companies possible,
                    including Apple, Intel, Google, Salesforce, and Veeva. It is the fuel
10                  for a thriving growth market and has ensured the free flow of
                    people and new ideas.
11

12          24.     Veeva also accurately explains:

13                  Non-compete agreements are intended to restrict an employee’s
                    ability to move between jobs. Nearly one fifth of U.S. workers are
14                  impacted by these agreements as many companies include non-
                    compete clauses in their standard terms of employment, realizing
15                  that most employees won’t read or understand the fine print.
16                  Employees unknowingly sign contracts that could eventually be
                    used against them as they pursue new job opportunities. They can
17                  harm a person’s future employment prospects if the hiring company
                    isn’t willing to stand up for them. It’s just wrong.
18

19          25.     Under California Labor Code § 2802, Veeva generally has an obligation to defend

20   employees if they are sued for work performed in the scope of their employment. Moreover, and

21   again as a general rule, if Veeva fires an employee because of the threat of litigation arising from

22   an unlawful non-compete agreement, it would violate California public policy.

23          26.     At the same time, Veeva has no interest in another company’s actual and

24   protectable confidential information, such trade secrets, consumer data, and material non-public

25   information. But overbroad non-disclosure agreements target more than just this information.

26   They effectively prohibit employees from using or disclosing all the general skills, knowledge,

27   acquaintances, and their overall experience when working for a new employer. They also hinder

28   recruitment by preventing employers from learning non-confidential information from

                                                      -5-
                                        FIRST AMENDED COMPLAINT
 1   prospective employees – such as their reasons for leaving, their wages, or their working
 2   conditions – that might inform the decision to hire.
 3          27.        Accordingly, Veeva advises prospective employees that they should:
 4
                       Break the non-compete cycle. Join a progressive company that does
 5                     not require you to sign a non-compete and that will defend you
                       against attempts to enforce your existing non-compete. Don’t let the
 6                     threat of a non-compete or lawsuit derail your career. . . . The
                       reality is that most non-competes are abusive, overly broad, and not
 7                     enforceable, even in the jurisdictions that allow them.
 8
                       If you join Veeva, your responsibility is to return all data to your
 9                     former employer and never share confidential information. If you
                       do that, in the event your former employer pursues a claim, Veeva
10                     will provide for your full legal representation and help make the
                       process as easy as possible. In the unlikely event a non-compete
11                     delays or restricts your work at Veeva, you will retain your position
12                     and your compensation will continue unaffected.

13
            28.        Consistent with California law, Veeva fully intends to stand by these
14
     commitments.
15
                                                    Medidata
16
            29.        Medidata is headquartered in New York City. Nevertheless, Medidata conducts
17
     significant business in California. Indeed, certain of Medidata’s subsidiaries and affiliates are
18
     headquartered in California. Medidata leases more than 14,000 feet of office space in San
19
     Francisco, California. One of its subsidiaries, Patient Profiles, LLC, is incorporated in
20
     California. Medidata also owns Chita, a company based in San Mateo, California. On
21
     information and belief, Medidata employees perform work for these subsidiaries and affiliates.
22
            30.        In addition, Medidata employees work with numerous clients and partners with
23
     significant operations in California. Medidata’s California-based clients and partners include
24
     prominent companies such as Amgen, Gilead, Roche – Genentech, Abbott Diabetes and Abbott
25
     Vascular, and Vital Connect. Medidata gains significant benefits through its close contacts with
26
     California. Many of Medidata’s employees – regardless of their place of residence – provide
27
     services in California within the meaning of California law and are entitled to the protection of
28
     California law.
                                                       -6-
                                          FIRST AMENDED COMPLAINT
 1             31.    Medidata is aware that Veeva does not require its employees to sign non-compete
 2   agreements. Accordingly, Medidata actively recruits Veeva’s current and former employee
 3   through internal and external recruiters. Veeva employees that Medidata has attempted to recruit
 4   since 2016 include, but are not limited, Paul Djamoos (a Veeva global account manager), Derek
 5   Gamber (a Veeva account representative), and David Moore (a Veeva sales manager).
 6             32.    Medidata has also hired Veeva employees, including, Eric Grundstrom and Jorge
 7   Sanchez.
 8                                  Medidata Requires All Its Employees to
 9                         Sign a Non-Compete/NDA as a Condition of Employment
10             33.    Medidata requires all its employees to enter into a standard “Employee
11   Confidentiality, Invention, Assignment, and Non-Competition Agreement” that restricts these
12   employees’ right to work for other employers in California. The “Medidata non-compete/NDA”
13   is attached as Exhibit A. The Medidata non-compete/NDA for U.S.-based employees states:
14
                      During the term of my employment with Medidata, and for a
15                    period of one (1) year thereafter, regardless of the circumstances
                      of termination, I will not directly or indirectly, whether as a . . . .
16                    consultant, agent, employee, or otherwise, engage, participate, or
                      invest in any business activity anywhere in the world which
17                    develops or markets products or performs services which are
                      competitive with the products or services of the Company (a
18
                      competitor), including but not limited to any business entity which
19                    develops, manufactures, or provides consulting services with
                      respect to data management applications for pharmaceutical,
20                    biotechnology, and genomic companies. I will not directly or
                      indirectly, engage or participate in the development of any product
21                    or service which the Company has under development or which are
22                    the subject of active planning at any time during the term of my
                      employment.1
23
               34.    The same agreement defines everything at Medidata as confidential, and prohibits
24
     employees from ever using or disclosing so-called “confidential information.” Specifically, the
25
     agreement states:
26
     1
27        Medidata requires some employees to sign the same agreement with a limitation that states the
         non-compete provision does not apply so long as the employee performs services for Medidata
28       in California. (Exhibit B.) Employees who leave Medidata and work for another employer in
         California are bound by the same non-compete as all other Medidata employees.
                                                      -7-
                                          FIRST AMENDED COMPLAINT
 1
                    I agree at all times during the term of my employment and
 2                  thereafter, to hold in strictest confidence, and not to use, except for
                    the benefit of Medidata or any of its subsidiaries (together, the
 3                  “Company”), or to disclose to any person, firm or corporation
                    without written authorization of the Board of Directors of
 4                  Medidata, any Confidential Information of the Company. I
                    understand that “Confidential Information” means any Company
 5
                    proprietary information, technical-data, trade
 6                  secrets or know-how, including, but not limited to, research,
                    product plans, products, services, customer lists and customers
 7                  (including but not limited to, customers of the Company on which I
                    called or with whom I became acquainted during the term of my
 8                  employment), markets, software, developments, inventions,
 9                  processes, formulas, technology, designs, drawings, engineering,
                    hardware, configuration information, marketing, finances or other
10                  business information disclosed to me by the Company or to which I
                    have access either directly or indirectly in writing, orally or by
11                  drawings or observation of parts or equipment.
12          35.     Medidata requires all its employees to sign and adhere to the Medidata non-

13   compete/NDA. The Medidata non-compete/NDA states that it is governed by New York law.

14          36.     The Medidata non-compete/NDA – which prohibits employees from working for

15   competitors such as Veeva in California – is unlawful.

16                      Veeva Hires Current and Former Medidata Employees

17          37.     Veeva has hired a number of Medidata employees despite Medidata’s unlawful

18   non-compete/NDA. For example:

19                                               Alan Mateo

20          38.     In or around March 2005, Alan Mateo began work for Medidata. Like all

21   Medidata employees, Mateo was required to sign the Medidata non-compete/NDA as a condition

22   of employment.

23          39.     In or around February 2015, Mateo left Medidata. Under the Medidata non-

24   compete/NDA, Mateo was prohibited from working for a Medidata competitor anywhere in the

25   world (including in California) until February 2016. Mateo was also prohibited by the Medidata

26   non-compete/NDA from ever disclosing to anyone (including Veeva) any so-called “business

27   information” of Medidata, including information that is not confidential as a matter of law.

28

                                                     -8-
                                        FIRST AMENDED COMPLAINT
 1          40.     Veeva recruited Mateo from its California headquarters. Veeva made the decision
 2   to hire Mateo in California. Mateo began working for Veeva in April 2015, within the one year
 3   time frame set forth in the Medidata non-compete/NDA. Mateo signed an employment agreement
 4   with Veeva that is governed by California law. Mateo’s employment with Veeva is governed by
 5   employment policies that are developed in and emanate from California.
 6          41.     Mateo reports to a California-based Veeva executive. Mateo regularly speaks with
 7   Veeva employees in California. Mateo regularly travels to California to meet with Veeva clients,
 8   colleagues, subordinates, and superiors.
 9          42.     Mateo is employed by Veeva in California within the meaning of California law.
10                                              Jason Rizzo
11          43.     In or around August 2004, Jason Rizzo began work for Medidata. Like all
12   Medidata employees, Rizzo was required to sign the Medidata non-compete/NDA as a condition
13   of employment.
14          44.     In or around February 2016, Rizzo left Medidata. Under the Medidata non-
15   compete/NDA, Rizzo was prohibited from working for a Medidata competitor anywhere in the
16   world (including in California) until February 2017. Rizzo was also prohibited by the Medidata
17   non-compete/NDA from ever disclosing to anyone (including Veeva) any so-called “business
18   information” of Medidata, including information that is not confidential as a matter of law.
19          45.     Veeva recruited Rizzo to work for Veeva from its California headquarters. In
20   October 2016, and within the one year time frame set forth in the Medidata non-compete/NDA,
21   Veeva hired Rizzo. Veeva made the decision to hire Rizzo in California. Rizzo signed an
22   employment agreement with Veeva that is governed by California law. Rizzo’s employment with
23   Veeva is governed by employment policies that are developed and emanate from California.
24   Rizzo initially reported to Veeva executives based in California. Rizzo travels regularly to
25   California. Rizzo regularly speaks with Veeva employees. Rizzo works on products that are sold
26   to Veeva’s California-based customers.
27          46.     Rizzo is employed by Veeva in California within the meaning of California law.
28

                                                    -9-
                                       FIRST AMENDED COMPLAINT
 1                                              Sondra Pepe
 2          47.     In or around March 2008, Sondra Pepe began work for Medidata. Like all
 3   Medidata employees, Pepe was required to sign the Medidata non-compete/NDA. Pepe’s non-
 4   compete/NDA included the following meaningless “disclaimer” in the non-compete section:
 5
                    THIS SECTION 5 SHALL HAVE NO FORCE OR EFFECT, AND
 6                  SHALL NOT BE DEEMED A PART OF THIS AGREEMENT
                    DURING ANY AND ALL PERIODS IN WHICH I PERFORM
 7                  SERVICES AS AN EMPLOYEE OF MEDIDATA
                    PRINCIPALLY IN THE STATE OF CALIFORNIA, BUT SHALL
 8                  BECOME IMMEDIATELY EFFECTIVE IF AND TO THE
                    EXTENT I PERFORM SERVICES AS AN EMPLOYEE OF
 9
                    MEDIDATA PRINCIPALLY IN A JURISDICTION OTHER
10                  THAN THE STATE OF CALIFORNIA.

11   (Exhibit B).

12          48.     In all other ways, the Medidata non-compete/NDA signed by Pepe is the same as

13   the Medidata non-compete/NDA signed by all other Medidata employees.

14          49.     In or around October 2013, Pepe left Medidata’s employ. Under the Medidata

15   non-compete/NDA, Pepe was prohibited from working for a Medidata competitor anywhere in

16   the world (including in California) until October 2014. Pepe was also prohibited by Medidata’s

17   non-compete/NDA from ever disclosing to anyone (including Veeva) any business information of

18   Medidata, including information that is not confidential as a matter of law.

19          50.     Veeva recruited Pepe from California, and Veeva’s decision to hire Pepe was

20   made in California. In May 2014, within the one year period set forth in the Medidata non-

21   compete/NDA, Veeva hired Pepe to work for Veeva at its Pleasanton, California headquarters.

22   Pepe resides in California.

23          51.     Pepe is employed by Veeva in California within the meaning of California law.

24                                       Other Medidata Employees

25          52.     Veeva intends to continue recruiting current and former Medidata employees from

26   California for employment in California. The Medidata non-compete/NDA makes this

27   recruitment more difficult. Medidata employees have declined to pursue opportunities with

28   Veeva because of the Medidata non-compete/NDA.

                                                    - 10 -
                                        FIRST AMENDED COMPLAINT
 1                                       The Medidata Controversy
 2          53.     The Medidata non-compete/NDA harms competition and is unlawful.
 3          54.     There is a concrete and justiciable controversy over the legality and enforceability
 4   of the Medidata non-compete/NDA. Veeva has standing to seek both declaratory and injunctive
 5   relief with respect to this controversy on behalf of itself and for the benefit of the public.
 6          55.     Evidence of the controversy between Veeva and Medidata over the Medidata non-
 7   compete/NDA includes the following:
 8          56.     On January 26, 2017, Medidata filed suit against Veeva, Mateo, Rizzo, Pepe and
 9   other Veeva employees in the United States District Court for the Southern District of New York.
10   With respect to Rizzo, Pepe, and Mateo, the complaint alleges (among other things) that:
11                  (a)     These employees breached their non-compete obligations to Medidata; and
12                  (b)     These employees breached their non-disclosure obligations to Medidata.
13          57.     With respect to Veeva, the complaint alleges (among other things) that:
14                  (a)     Veeva – by hiring and employing Mateo, Rizzo, and Pepe – tortiously
15   interfered with these employees’ non-compete obligations to Medidata; and
16                  (b)     Veeva – by hiring and employing Mateo, Rizzo, and Pepe – tortiously
17   interfered with these employees’ non-disclosure obligations to Medidata.
18          58.      In support of its claims against Veeva, Medidata specifically relied upon Veeva’s
19   recruitment and employment of Mateo, Rizzo, and Pepe, Veeva’s publicly-stated policy
20   concerning non-compete agreements, and Veeva’s publicly-stated commitment to defend and
21   indemnify employees in accordance with Labor Code § 2802.
22          59.     In Medidata’s prayer for relief in its complaint, Medidata asks that the United
23   States District Court (among other things):
24                  (a) Find that Rizzo, Pepe, and Mateo breached the Medidata non-compete/NDA.
25                  (b) Find that Veeva tortiously interfered with the Medidata non-compete/NDA as
26   it relates to Rizzo, Pepe, and Mateo;
27                  (c) Award damages against Veeva, Rizzo, Pepe, and Mateo; and
28

                                                      - 11 -
                                         FIRST AMENDED COMPLAINT
 1                  (d) Issue an injunction prohibiting Veeva from interfering with the Medidata non-
 2   compete/NDA with respect to any of Medidata’s current or former employees.
 3          60.     On March 1, 2017, in the face of a motion to compel arbitration, Medidata
 4   dismissed its claims against Rizzo, Pepe, and Mateo without prejudice.
 5          61.     On September 20, 2017, Medidata filed a second amended complaint in the New
 6   York action (“the 2AC”). The 2AC alleges that:
 7                  (a)    Veeva tortiously interfered with the Medidata non-compete obligations of
 8   Rizzo, Pepe, and Mateo;
 9                  (b)    Veeva tortiously interfered with the Medidata non-disclosure obligations of
10   Rizzo, Pepe, and Mateo; and
11                  (c)    Veeva has engaged in unfair competition and aided and abetted the breach
12   of fiduciary duties of Rizzo, Pepe and Mateo by inducing the breach of the Medidata non-
13   compete/NDA by these persons.
14          62.     Medidata continues to seek damages against Veeva for allegedly inducing the
15   breach of the Medidata non-compete/NDA. Medidata continues to seek an injunction prohibiting
16   Veeva from interfering with the Medidata non-compete/NDA with respect to any of Medidata’s
17   current or former employees.
18          63.     Medidata continues to rely upon the recruitment and employment of Mateo, Rizzo,
19   and Pepe, Veeva’s publicly-stated policy concerning non-compete agreements, and Veeva’s
20   publicly-stated commitment to defend and indemnify employees in accordance with Labor Code
21   § 2802, as the basis for its claims in the New York action.
22                                Veeva’s Injury-in-Fact as to Medidata
23          64.     The Medidata non-compete/NDA, and Medidata’s efforts to enforce this unlawful
24   agreement, have caused Veeva injury-in-fact and lost money and property within the meaning of
25   California’s unfair competition law.
26          65.     For example, Veeva retained the law firms of Keker, Van Nest & Peters and Blank
27   Rome to defend it and its employees in the New York action. Rizzo, Mateo, and Pepe have also
28

                                                    - 12 -
                                        FIRST AMENDED COMPLAINT
 1   retained the firm of Pennington Lawson to represent their interests. In accordance with its
 2   obligations under Labor Code § 2802, Veeva is paying its employees’ defense costs.
 3           66.     Veeva’s defense fees and costs to date with respect to the Medidata New York
 4   action exceed nine-hundred thousand dollars ($900,000). A significant portion of these defense
 5   costs arise directly from Medidata’s claims against Veeva and its employees under the Medidata
 6   non-compete/NDAs.
 7           67.     Moreover, the Medidata non-compete/NDA has caused Veeva to spend attorney
 8   time and management time in analyzing and providing advice concerning the unlawful
 9   agreement. This has resulted in the diversion of resources and economic injury.
10                                          Quintiles/IMS (now IQVIA)
11           68.     IMS is headquartered in Durham, North Carolina. Nevertheless, and like
12   Medidata, IMS conducts significant business in California through its employees. IMS has
13   offices in San Francisco, Redwood City, Rancho Cordova, Fresno, San Diego, San Jose, and
14   Woodland Hills, among other locations.
15           69.     IMS employees work with numerous clients and partners with significant
16   operations in California. IMS gains significant benefits through its close contacts with California.
17   Many of IMS’s employees – regardless of their place of residence – work in California for
18   purposes of California’s unfair competition law, Business & Professions Code §16600 and the
19   Cartwright Act.
20           70.     IMS is aware that Veeva does not require its employees to sign non-compete
21   agreements. Accordingly, IMS actively recruits Veeva’s current and former employee through
22   internal and external recruiters. For example, in December 2017, recruiters from an IMS
23   subsidiary called HighPoint Solutions sent numerous solicitations to Veeva employees. The
24   solicitations generally stated that:
25
                     We have very exciting consulting engagements with some of the
26                   leading pharma organizations opening up and based on your profile
                     I think it could be a great opportunity for you!! Please feel free to
27                   reach out to me at any time, or let me know how and when I can
                     contact you. I look forward to speaking with you soon. Brandon
28                   Bain Talent Acquisition Manager.
                                                      - 13 -
                                            FIRST AMENDED COMPLAINT
 1          71.     IMS has also hired and employed current and former Veeva employees.
 2                                   IMS Requires All Its Employees to
 3                       Sign a Non-Compete/NDA as a Condition of Employment
 4          72.     Nevertheless, IMS requires all its employees to enter into a standard
 5   “Confidentiality & Policy Agreement” that contains an illegal post-termination non-compete and
 6   overbroad non-disclosure agreement (the IMS non-compete/NDA). A copy of the IMS non-
 7   compete/NDA is attached as Exhibit C.
 8          73.     With respect to its non-compete provision, the IMS non-compete/NDA states:
 9
                    During the term of my employment with IMS, I agree I will not,
10                  without the prior written consent of IMS, manage, operate, join,
                    control, or participate in the ownership, management, operation, or
11                  control of or engage in any business or perform any service directly
                    or indirectly in competition, anywhere in the United States or
12                  Canada, with the products and services of the IMS Companies, or
                    have any direct or indirect interest, whether as a proprietor, partner,
13
                    director, officer, employee, creditor, stockholder, consultant or in
14                  any capacity whatsoever, in any enterprise in competition,
                    anywhere in the United States or Canada, with the products and
15                  services of the IMS Companies. . . . . The terms set forth in this
                    paragraph shall remain in effect after termination of this Agreement
16                  in accordance with the following: (1) if my term of employment
17                  with IMS is less than ninety days, my agreement not to compete
                    shall survive termination for a period of 6 months; (2) if my
18                  term of employment with IMS is ninety days or more, my
                    agreement shall survive termination for a period of twelve
19                  months.
20   (Exhibit C).

21          74.     Like the Medidata non-compete/NDA, the IMS non-compete/NDA also defines

22   everything at IMS as confidential, and generally prohibits employees from ever using or

23   disclosing so-called “confidential information” to anyone outside of IMS. The IMS non-

24   compete/NDA further defines “Confidential Information” as all “information not generally

25   known outside the IMS Companies,” including “data obtained from sources outside the IMS

26   Companies.”

27          75.     The IMS non-compete/NDA – which prohibits employees from working for

28   competitors such as Veeva in California – is unlawful.

                                                    - 14 -
                                        FIRST AMENDED COMPLAINT
 1                          Veeva Hires Current and Former IMS Employees
 2          76.     Veeva has hired a number of current and former IMS employees despite IMS’s
 3   unlawful non-compete/NDA. For example:
 4                                               Jeffrey Fusco
 5          77.     In or around August 2014, Jeffrey Fusco began work for IMS. As a condition of
 6   employment, he was required to sign the IMS non-compete/NDA. Fusco left his employment
 7   with IMS in December 2015.
 8          78.     During the course of his work for IMS, Fusco worked on matters for IMS clients
 9   based in California.
10          79.     Veeva recruited Fusco from its California headquarters. The decision to hire
11   Fusco was made by employees based in California. In January 2016, and within the 12-month
12   period set forth in the IMS non-compete/NDA, Fusco started work with Veeva. His onboarding
13   process was managed from California.
14          80.     Fusco signed an employment agreement with Veeva that is governed by California
15   law. Fusco’s employment with Veeva is governed by employment policies that are developed
16   and emanate from California.
17          81.     During the course of his employment with Veeva, Fusco has reported to Veeva
18   executives based in California. During the course of his work with Veeva, Fusco interacts with
19   and communicates regularly with employees who reside in California. He travels to California as
20   a part of his work.
21          82.     Fusco also has ongoing contacts with clients who reside and work in California.
22          83.     Fusco is employed by Veeva in California within the meaning of California law.
23                                        Other IMS Employees
24          84.     Veeva intends to continue recruiting and hiring current and former IMS employees
25   from California for employment in California. The IMS non-compete/NDA makes this
26   recruitment more difficult and expensive.
27
28

                                                    - 15 -
                                       FIRST AMENDED COMPLAINT
 1                                          The IMS Controversy
 2          85.     The IMS non-compete/NDA harms competition and is unlawful.
 3          86.     There is a concrete and justiciable controversy over the legality and enforceability
 4   of the IMS non-compete/NDA. Veeva has standing to seek declaratory relief with respect to this
 5   controversy.
 6          87.     Evidence of the controversy between Veeva and IMS over the IMS non-
 7   compete/NDA includes the following:
 8          88.     IMS has a pattern and practice of threatening to and/or seeking damages arising
 9   from Veeva’s alleged interference with IMS’s non-compete and NDA agreements. In light of
10   IMS’s pattern and practice, Veeva seeks a declaration of its rights now as it relates to the standard
11   IMS non-compete/NDA, including the non-compete/NDA signed by Fusco.
12          89.     On January 8, 2016, IMS sent a letter to Fusco and Veeva. In the letter, IMS
13   asserted that Fusco was bound by the standard IMS non-compete/NDA. IMS further stated that
14   Veeva and Fusco must comply with certain obligations, including the non-compete obligation as
15   it related to Fusco’s employment activities with Veeva, and specifically with respect to certain of
16   IMS’s and Veeva’s California-based clients. IMS further stated: “If legal action is necessary,
17   IMS Health may seek (a) monetary damages from you and those acting in concert with you
18   attributable to your wrongful actions, (b) an injunction against you and all those acting in concert
19   with you, (c) reimbursement for reasonable attorneys’ fees and court costs, and (d) all the other
20   relief it deems appropriate.” The letter further stated that “the statements and requests set forth in
21   this letter are made without prejudice to, or waiver of, any legal and equitable rights or remedies
22   available to IMS Health, all of which are expressly reserved.”
23                                   Veeva’s Injury-in-Fact as to IMS
24          90.     The IMS non-compete/NDA has caused Veeva injury-in-fact and lost money and
25   property within the meaning of California’s unfair competition law. For example, Veeva
26   restricted the employment activities of Fusco in response to IMS’s letter concerning Fusco. This
27   resulted in the diversion and loss of Veeva’s economic resources. Veeva also spent valuable
28

                                                     - 16 -
                                         FIRST AMENDED COMPLAINT
 1   attorney and management time in analyzing and providing advice concerning IMS’s letter
 2   regarding Fusco. This, too, resulted in the diversion and loss of Veeva’s economic resources.
 3                                         Sparta Systems, Inc.
 4          91.     Sparta Systems is headquartered Hamilton, New Jersey. It also conducts
 5   significant business in California through its employees. A number of its employees reside in San
 6   Diego, Los Angeles, Santa Barbara, and San Francisco.
 7          92.     Sparta employees work with numerous clients and partners with significant
 8   operations in California, and has numerous California-based clients and partners. Sparta gains
 9   significant benefits through its close contacts with California. Many of Sparta’s employees –
10   regardless of their place of residence – work in California for purposes of applicable California
11   law.
12          93.     Sparta is aware that Veeva does not require its employees to sign non-compete
13   agreements. Accordingly, Sparta actively recruits Veeva’s current and former employees. For
14   example, and most recently, on November 7, 2017, a Sparta recruiter sent an email to a Veeva
15   salesperson asking, among other things, that this person refer others to Sparta. The email stated:
16
                    My name is Michele Kovalchek and I work for Sparta Systems.
17
                    Sparta Systems is a software company, providing a complete global
18                  quality management software solutions. Our client base includes
                    pharmaceuticals, medical devices, biotechnology, CROs, CPG,
19                  electronics manufacturing, and other highly regulated industries.
20
                    I saw your profile on LinkedIn and was impressed by your
21                  experience. I would like to invite you to look at the opportunities
                    we have open at Sparta.
22
                    Please note that offer applies only to US citizens/residents or
23                  owners of a US work permit. US Visa sponsorship is not offered.
24
                    Should you be interested, please submit your resume through our
25                  website at http://www.spartasystems.com/about-us/careers/ and put
                    “requested by Michele through LinkedIn.”
26
                    If not, and you know a friend or a colleague that might be
27                  interested, I would appreciate it if you refer them.
28

                                                    - 17 -
                                        FIRST AMENDED COMPLAINT
                     I will be glad to provide more information if you find the position
 1
                     interesting.
 2                   ....

 3           94.     Sparta has also hired and employed current and former Veeva employees.

 4                                    Sparta Requires All Its Employees to

 5                         Sign a Non-Compete/NDA as a Condition of Employment

 6           95.     Sparta requires all its employees to sign a standard “Employee Covenants

 7   Agreement” that contains an illegal post-termination non-compete, non-disclosure, and non-

 8   disparagement agreement (the Sparta non-compete/NDA). A copy of the standard Sparta non-

 9   compete/NDA is attached as Exhibit D.

10           96.      With respect to its non-compete provision, the Sparta non-compete/NDA states

11   (among other things):

12                   I agree during the course of my employment and for a period of
                     nine (9) months following the termination of my employment
13                   with the Company (for any reason or no reason) (the “Restricted
                     Period”), I will not, without the express prior written consent of the
14
                     Company, anywhere, either directly or indirectly, whether alone or
15                   as an owner, shareholder, partner, member, joint venturer, officer,
                     director, consultant, independent contractor, agent, employee, or
16                   otherwise of any company or business enterprise, assist in, engage
                     in or otherwise be connected to or benefit from any business
17                   competitive with that of the Company. . . . The above limitation
18                   shall apply globally since the Company’s operation[s] are global
                     in nature. . . .
19

20   (Exhibit D ¶ 5).

21           97.     In addition, the Sparta non-compete/NDA includes an overbroad non-disclosure

22   provision that prohibits employees from ever using or disclosing “Confidential Information,”

23   which Sparta defines to include (among other things): all “business information and materials,

24   whether or not reduced to writing or other medium and whether or not marked confidential,

25   proprietary, or the like, including, but not limited to . . . logos, writings or other materials. . . .

26   products . . . concepts . . .customer and supplier lists, and customer and supplier information . . .

27   .” (Exhibit D ¶ 1).

28

                                                        - 18 -
                                          FIRST AMENDED COMPLAINT
 1             98.    Finally, the Sparta non-compete/NDA includes a non-disparagement provision that
 2   states:
                      I will not at any time (during or after my employment with the
 3
                      Company) disparage the reputation of the Company, its customers
 4                    and its or their respective affiliates or any of their respective
                      officers, directors, employees, or agents.
 5
     (Exhibit D ¶ 6).
 6
               99.    The Sparta non-compete/NDA states that it is governed by New Jersey law.
 7
                         Veeva Recruits Current and Former Sparta’s Employees
 8
               100.   Veeva has recruited and/or hired a number of current and former Sparta employees
 9
     despite Sparta’s unlawful non-compete/NDA. For example:
10
                                               Sanjay Goswami
11
               101.   Sanjay Goswami worked for Sparta from at least June 2014 to December 2016.
12
     As a condition of employment, Goswami was required to sign the Sparta non-compete/NDA.
13
     While employed by Sparta, Goswami lived and worked from his residence in Aliso Viejo,
14
     California. While working for Sparta, Goswami traveled both inside and outside of California for
15
     business.
16
               102.   When Goswami informed Sparta he was leaving its employ, Sparta asked where
17
     Goswami was going to work next. Goswami declined to state his intention to join Veeva because
18
     he was afraid of the Sparta non-compete/NDA. Sparta reminded Goswami of his alleged
19
     obligations to comply with the Sparta non-compete/NDA at the end of his employment with
20
     Sparta. Goswami declined to update his LinkedIn profile upon joining Veeva out of fear of the
21
     Sparta non-compete/NDA.
22
               103.   Goswami joined Veeva in January 2017, within the nine month period set forth in
23
     the Sparta non-compete/NDA. Veeva’s decision to hire Goswami was made in California.
24
     Goswami signed an employment agreement with Veeva that is governed by California law.
25
     Goswami’s employment with Veeva is governed by employment policies that are developed and
26
     emanate from California.
27
28

                                                    - 19 -
                                         FIRST AMENDED COMPLAINT
 1             104.   Goswami continues to work for Veeva from his home in California. He regularly
 2   interacts with Veeva’s California-based employees.
 3             105.   Goswami is employed in California within the meaning of California law.
 4                                               John Marshall
 5             106.   John Marshall worked for IMS from January 2015 to May 2017. As a condition of
 6   working for Sparta, Marshall signed the Sparta non-compete/NDA. While working for Sparta,
 7   Marshall had two major clients in California and visited California regularly to service those
 8   accounts.
 9             107.   In May 2017, and within the nine month period set forth in the Sparta non-
10   compete, Veeva made the decision to hire Marshall in California.
11             108.   Marshall signed an employment agreement with Veeva that is governed by
12   California law. Marshall’s employment with Veeva is governed by employment policies that are
13   developed and emanate from California. Marshall’s onboarding was managed by employee
14   success personnel in California.
15             109.   In his position with Veeva, Marshall regularly interacts with Veeva personnel who
16   reside in California. He communicates with them to perform his work, to sell Veeva’s services,
17   and too address HR and other issues. Marshall also services Veeva clients with operations in
18   California and speaks with California-based Veeva clients regularly.
19             110.   Marshall is employed in California within the meaning of California law.
20                                                 Jane Roe
21             111.   In addition, Veeva has sought to recruit other Sparta employees. These
22   recruitment efforts were ultimately unsuccessful because of employee fears of the Sparta non-
23   compete/NDA and Sparta’s threatened enforcement of its illegal agreement.
24             112.   For example, in the summer of 2016, Veeva offered “Jane Roe” a job.2 The
25   decision to hire Roe was made in California. Veeva incurred costs in recruiting Roe, including
26   the diversion of resources and expenses for an out of office interview meeting and travel.
27
28   2
         Veeva uses a pseudonym to identify this employee to prevent Sparta from retaliating against her.
                                                    - 20 -
                                         FIRST AMENDED COMPLAINT
 1          113.   In response to Roe’s stated concerns about the Sparta non-compete/NDA, Veeva’s
 2   CEO diverted Veeva resources and spent time sending her an email that stated in part:
 3
                   Hello [Jane Roe]:
 4
                   I know we talked about the issue of your non-compete agreement
 5                 with Sparta. [Employee] relayed your request for us to write down
                   our thoughts. I think this is reasonable and good to have things
 6                 written down.
 7
                   I hope you join Veeva. I think it will be a success for you, for
 8                 Veeva, and for our customers.

 9                 We don’t believe in non-compete agreements, and you will not sign
                   one here. We think they are bad for individuals, bad for the
10                 economy, and bad for customers. We feel they are an outdated
11                 business practice . . . .

12                 You will be doing a different role at Veeva than you are currently
                   doing at Sparta, so that the potential enforcement of a non-compete
13                 would be questioned by a court. . . . However, if Sparta did bring
                   legal action against you, we would supply you with legal counsel
14                 and take care of your legal expenses. In the unlikely event that a
15                 court would put some temporary restrictions on your work duties
                   with Veeva in terms of products or customers, or any other
16                 restriction, your work status and compensation at Veeva would not
                   be affected by this action.
17
                   As a reminder, it is very important that you not bring any Sparta
18                 intellectual property to Veeva.
19
                   I hope this provides the clarity you are looking for.
20
            114.   Roe accepted Veeva’s job offer, and then withdrew her acceptance. A substantial
21
     factor in her decision to do so was the Sparta non-compete/NDA. If Roe had accepted
22
     employment with Veeva, her employment would have been governed by California law and she
23
     would have been employed by Veeva in California within the meaning of California law.
24
            115.   As a result of the Sparta non-compete/NDA, Veeva lost a qualified candidate. It
25
     has since incurred additional recruiting expenses and diverted resources in finding someone else
26
     to fill the job that Roe would have filled but for the Sparta non-compete/NDA.
27
            116.   Veeva intends to continue to recruit and attempt to hire current and former Sparta
28
     employees.
                                                   - 21 -
                                       FIRST AMENDED COMPLAINT
 1                                         The Sparta Controversy
 2          117.    The Sparta non-compete/NDA harms competition and is unlawful.
 3          118.    There is a concrete and justiciable controversy over the legality and enforceability
 4   of the Sparta non-compete/NDA. Veeva has standing to seek declaratory injunctive relief with
 5   respect to this controversy.
 6          119.    Evidence of the controversy between Veeva and Sparta over the Sparta non-
 7   compete/NDA includes the following:
 8          120.    Sparta has a pattern and practice of threatening to and/or seeking damages arising
 9   from Veeva’s alleged interference with the Sparta non-compete/NDA. Sparta has also accused
10   Veeva of intentionally interfering with the Sparta non-compete/NDA by stating that it will defend
11   and indemnify employees accused of violating its unlawful agreement by working for Veeva. In
12   light of this pattern and practice, Veeva seeks a declaration of its right to recruit and hire Sparta
13   employees for employment in California, and defend them in litigation if they chose to work for
14   Veeva, including Goswami and Marshall. In addition:
15          121.    On May 31, 2017, Sparta sent a letter to Veeva’s CEO concerning the employment
16   of John Marshall. The letter set out the terms of the Sparta non-compete/NDA and stated:
17
                    Please be advised that employment of Mr. Marshall by Veeva
18                  Systems would be a direct violation of the Agreement. Indeed,
                    even assuming that Mr. Marshall is lawfully entitled to become an
19                  employee of Veeva Systems during the Restricted Period (which he
                    is not), given the competitive relationship between Sparta Systems
20                  and Veeva, it would be virtually impossible for Mr. Marshall not to
                    violate a number of provisions in the Agreement, including the
21
                    provisions relating to his agreement not to disclose and/or use
22                  Confidential Information as that term is defined in the Agreement.
                    If Veeva Systems proceeds to employ Mr. Marshall, please be
23                  advised that Sparta Systems fully intends to enforce its rights under
                    the Agreement.
24

25                  Please contact me or have your counsel contact me by close of
                    business on Wednesday, June 7, 2017, to confirm that Veeva will
26                  not employ Mr. Marshall in violation of the Agreement. If I do not
                    hear from you, Sparta Systems will assume you intend to allow Mr.
27                  Marshall to violate the Agreement and will take appropriate action.
28

                                                      - 22 -
                                         FIRST AMENDED COMPLAINT
 1                                  Veeva’s Injury-in-Fact as to Sparta
 2          122.    The Veeva non-compete/NDA has caused Veeva injury-in-fact and lost money and
 3   property within the meaning of California’s unfair competition law. For example:
 4          123.    In light of the Sparta non-compete, Veeva did not assign Marshall to any of
 5   Marshall’s former Sparta clients, including those based in California. This made Marshall less
 6   productive than he otherwise would have been. Moreover, in response to Sparta’s May 31, 2017
 7   correspondence concerning Marshall, Veeva incurred attorney’s fees and costs. Veeva retained
 8   the law firm of Nukk-Freeman & Cerra, P.C. to represent it and, in accordance with its
 9   obligations under Labor Code § 2802, Marshall. Marshall then filed a declaratory relief action in
10   New Jersey state court which Marshall later dismissed without prejudice prior to the California
11   action being filed. Veeva incurred more than $30,000 in outside attorney’s fees and costs as a
12   result of Sparta’s litigation threat concerning Marshall.
13          124.     Finally, the Sparta non-compete/NDA has resulted in the diversion and loss of
14   Veeva’s economic resources. For example, Veeva also spent valuable management time and
15   other resources recruiting Jane Roe, only to have Roe withdraw her acceptance of Veeva’s
16   employment offer as a result of the Sparta non-compete/NDA. Moreover, due to the loss of
17   Roe’s candidacy, Veeva spent additional management time and incurred additional recruiting
18   costs in finding and hiring a different candidate.
19                       Veeva’s Additional Injury-In-Fact as to all Defendants
20          125.    In addition, as a direct result of Defendants’ use of unlawful non-competes, and
21   the negative impact that these non-competes have had on Veeva’s recruitment efforts, Veeva has
22   spent well more than sixty hours of management and attorney time drafting and publishing its
23   public statement on non-compete agreements that is referenced above and that is maintained on
24   Veeva’s website. In addition to this diversion of resources, Veeva has also incurred
25   administrative costs in maintaining this website.
26                                     IV.     CAUSES OF ACTION
27          126.    In light of the above facts, Veeva brings the following causes of action.
28

                                                     - 23 -
                                        FIRST AMENDED COMPLAINT
 1                                     FIRST CAUSE OF ACTION
 2       DECLARATORY RELIEF CONCERNING RECRUITMENT OF DEFENDANTS’
 3                                             EMPLOYEES
 4                                     (AS TO ALL DEFENDANTS)
 5            127.   An actual case or controversy exists over Veeva’s right to recruit Defendants’
 6   current and former employees, notwithstanding the fact that these employees have signed
 7   Defendants’ standard non-compete/NDAs. Veeva desires a declaration of its rights with respect
 8   to Defendants as it relates to recruitment of Defendants’ current and former employees. Veeva,
 9   as a competitor of Defendants with respect to certain services and products, has an interest in
10   these standard non-compete/NDAs because they inhibit Veeva’s ability to fairly compete for
11   employees.
12            128.   The controversy is tied to concrete and justiciable facts involving Veeva’s actual
13   or attempted recruitment of the following employees.
14                   (a)    As to Medidata: The recruitment of Sondra Pepe, Alan Mateo, and Jason
15   Rizzo.
16                   (b)    As to IMS: The recruitment of Jeffrey Fusco.
17                   (c)    As to Sparta: The recruitment of Sanjay Goswami, John Marshall, and the
18   failed recruitment of Jane Roe.
19            129.   Business and Professions Code § 16600 renders every contract in restraint of trade
20   void. The Cartwright Act renders any combination in restraint of trade unlawful and void.
21   Business and Professions Code §§ 17200 et seq. renders violations of Business & Professions
22   Code § 16600 and the Cartwright Act unfair and unlawful business practices.
23            130.   California has a strong interest in protecting the freedom of movement of persons
24   whom California-based employers wish to employ to provide services in California, regardless of
25   the person’s state of residence or precise degree of involvement in California projects.
26            131.   California employers have a strong and legitimate interest in having broad freedom
27   to choose from a national applicant pool in order to maximize the quality of the product or
28   services they provide. The State of California has a strong interest in protecting California-based
                                                    - 24 -
                                        FIRST AMENDED COMPLAINT
 1   employers and their employees from anti-competitive conduct from out-of-state employers, like
 2   Defendants, who would interfere with the freedom of Veeva and its employees.
 3          132.    Veeva – a California-based employer – is protected in the solicitation of
 4   Defendants’ employees to provide services in California – notwithstanding the employees’ place
 5   of residence or the existence of a non-compete/NDA. Defendants disagree.
 6          133.    Accordingly, Veeva seeks a declaratory judgment finding that Veeva has the right
 7   to solicit Defendants’ employees in accordance with the above facts and law. Ancillary to this
 8   declaratory judgment, Veeva also seeks an order enjoining Defendants from taking any action
 9   that infringes in any way on this right.
10                                    SECOND CAUSE OF ACTION
11          DECLARATORY RELIEF CONCERNING INDEMNITY OF EMPLOYEES
12                        (AS TO DEFENDANTS MEDIDATA AND SPARTA)
13          134.    An actual case or controversy exists over Veeva’s right and obligation to
14   indemnify and/or defend its employees when they are faced with threatened or actual litigation
15   arising from Medidata’s or Sparta’s efforts to enforce their non-compete/NDAs. Among other
16   things, Defendants Medidata and Sparta contend that Veeva – by stating that it will defend and
17   indemnify employees in the face of litigation arising from such non-competes – is interfering with
18   these non-competes/NDAs.
19          135.    The controversy is tied to concrete and justiciable facts involving Veeva’s decision
20   to defend and indemnify the following employees:
21                  (a)     As to Medidata: The defense and indemnity of Sondra Pepe, Alan Mateo,
22   and Jason Rizzo.
23                  (b)     As to Sparta: The defense and indemnity of John Marshall.
24          136.    Veeva reserves the right to seek declaratory relief against IMS with respect to this
25   cause of action in the event that IMS ever challenges Veeva’s right to defend and indemnify
26   former IMS employees who face threatened or actual litigation by choosing to work for Veeva.
27          137.    California Labor Code § 2802 generally states that “an employer shall indemnify
28   his or her employee for all necessary expenditures or losses incurred by the employee in direct
                                                    - 25 -
                                         FIRST AMENDED COMPLAINT
 1   consequence of the discharge of his or her duties . . . .” It is well-settled that this provision
 2   includes the obligation to indemnify employees for reasonable attorney’s fees and costs in the
 3   event of litigation arising from conduct in the course and scope of the employee’s employment.
 4           138.      Medidata’s and Sparta’s former employees – by working for Veeva
 5   notwithstanding the existence of a non-compete/NDA – act in the course and scope of their
 6   employment with Veeva.
 7           139.      Veeva – a California-based employer whose employees enter into employment
 8   contracts governed by California law – has an obligation, right, and desire to defend and
 9   indemnify its employees when faced with threatened or actual litigation from Defendants arising
10   from a post-termination non-compete agreement. Medidata and Sparta consider this illegal
11   “interference.”
12           140.      Accordingly, Veeva seeks a declaratory judgment finding that it has the right to
13   defend and indemnify its employees in accordance with the above facts and law. Ancillary to this
14   declaratory judgment, Veeva further seeks an order enjoining Defendants from taking any action
15   that infringes in any way on this right.
16                                       THIRD CAUSE OF ACTION
17                               DECLARATORY RELIEF CONCERNING
18                                DEFENDANTS’ NON-COMPETES/NDAS
19                                       (AS TO ALL DEFENDANTS)
20           141.      An actual case or controversy exists over Defendants’ right to require employees
21   to sign non-compete/NDAs that include in their scope the provision of services in California
22   within the meaning California law. Veeva, as a competitor of Defendants with respect to certain
23   services and products, has an interest in these non-competes/NDAs. Among other things, these
24   non-compete agreements inhibit Veeva’s efforts to recruit, hire, and employ Defendants’ current
25   and former employees.
26           142.      The controversy is tied to concrete and justiciable facts involving Veeva’s actual
27   or attempted employment of the following employees.
28                     (a)    As to Medidata: Sondra Pepe, Alan Mateo, and Jason Rizzo.
                                                      - 26 -
                                          FIRST AMENDED COMPLAINT
 1                  (b)     As to IMS: Jeffrey Fusco.
 2                  (c)     As to Sparta: Sanjay Goswami, John Marshall, and Jane Roe.
 3          143.     Business and Professions Code § 16600 renders every contract in restraint of
 4   trade void. The Cartwright Act renders any combination in restraint of trade unlawful and void.
 5   Business and Professions Code §§ 17200 et seq. renders violations of Business & Professions
 6   Code § 16600 and the Cartwright Act unfair and unlawful business practices.
 7          144.    The interests of employees in their own mobility and betterment in providing
 8   services in California to a California-based employer are deemed paramount to the competitive
 9   business interests of out-of-state employers who seek to prevent competition. Defendants
10   disagree, and require their employees to sign post-termination non-compete/NDAs that include in
11   their scope California. This is turn restricts Veeva’s ability to recruit and employ the best
12   employees.
13          145.    Accordingly, Veeva seeks a declaratory judgment ruling that Defendants violate
14   California law when they enter into non-compete/NDAs that include within their scope the
15   provision of services in California to a California-based employer. Ancillary to this declaratory
16   judgment, Veeva further seeks an order enjoining Defendants from entering into such contracts
17   and requiring Defendants to: (1) modify any existing non-competes/NDAs with employees so that
18   these employees are free to provide services in California to a California-based employer.
19                                    FOURTH CAUSE OF ACTION
20                             DECLARATORY RELIEF CONCERNING
21                         ENFORCEABILITY OF NON-COMPETES/NDAS
22                                     (AS TO ALL DEFENDANTS)
23          146.    An actual case or controversy exists over Defendants’ right to seek enforcement of
24   their standard non-compete/NDAs that include in their scope the provision of services in
25   California to a California-based employer. Such efforts at enforcement include threatened and
26   actual litigation against Veeva for interference with these non-competes/NDAs. Moreover, as
27   explained above, Veeva also indemnifies its employees when faced with threatened or actual
28   litigation concerning these non-competes/NDAs. Veeva, as a competitor of Defendants with
                                                     - 27 -
                                        FIRST AMENDED COMPLAINT
 1   respect to certain services and products, has an interest in these non-competes. Veeva also seeks
 2   a declaration of its rights with respect to Defendants as it relates to the threatened or actual
 3   enforcement of these non-competes.
 4          147.       The controversy is tied to concrete and justiciable facts involving Veeva’s actual
 5   or attempted employment of the following employees.
 6                     (a)    As to Medidata: Sondra Pepe, Alan Mateo, and Jason Rizzo.
 7                     (b)    As to IMS: Jeffrey Fusco.
 8                     (c)    As to Sparta: Sanjay Goswami, John Marshall and Jane Roe.
 9          148.        Business and Professions Code § 16600 renders every contract in restraint of
10   trade void. The Cartwright Act renders any combination in restraint of trade unlawful and void.
11   Business and Professions Code §§ 17200 et seq. renders violations of Business & Professions
12   Code § 16600 and the Cartwright Act unfair and unlawful business practices.
13          149.       California has a strong interest in protecting the freedom of movement of persons
14   whom California-based employers wish to employ to provide services in California, regardless of
15   the person’s state of residence or precise degree of involvement in California projects.
16          150.       California employers have a strong and legitimate interest in having broad freedom
17   to choose from a national applicant pool in order to maximize the quality of the product or
18   services they provide. The State of California has a strong interest in protecting California-based
19   employers and their employees from anti-competitive conduct from out-of-state employers, like
20   Defendants, who would interfere with the freedom of Veeva and its employees.
21          151.       The interests of employees in their own mobility and betterment in providing
22   services in California to a California-based employer are deemed paramount to the competitive
23   business interests of out-of-state employers who seek to prevent competition.
24          152.       Defendants threaten to and actually seek to enforce non-competes/NDAs that
25   prohibit Veeva from employing employees to provide services in California. This violates
26   California law.
27          153.       Accordingly, Veeva seeks a declaratory judgment finding that Defendants violate
28   California law when they threaten or seek to enforce non-competes/NDAs that prohibit or restrict
                                                      - 28 -
                                          FIRST AMENDED COMPLAINT
 1   employees from providing services in California to Veeva. Ancillary to this declaratory
 2   judgment, Veeva further seeks an order enjoining Defendants from taking any action to enforce,
 3   whether through litigation threats, court proceedings, or otherwise, a non-compete/NDA that
 4   prevents employees from providing services to Veeva in California within the meaning of
 5   California law.
 6                                       FIFTH CAUSE OF ACTION
 7                               UNFAIR COMPETITION CONCERNING
 8                          RECRUITMENT OF DEFENDANTS’ EMPLOYEES
 9          154.       Business and Professions Code § 16600 renders every contract in restraint of trade
10   void. The Cartwright Act renders any combination in restraint of trade unlawful and void.
11   Business and Professions Code §§ 17200 et seq. renders violations of Business & Professions
12   Code § 16600 and the Cartwright Act unfair and unlawful business practices.
13          155.       California has a strong interest in protecting the freedom of movement of persons
14   whom California-based employers wish to employ to provide services in California, regardless of
15   the person’s state of residence or precise degree of involvement in California projects.
16          156.       California employers have a strong and legitimate interest in having broad freedom
17   to choose from a national applicant pool in order to maximize the quality of the product or
18   services they provide. The State of California has a strong interest in protecting California-based
19   employers and their employees from anti-competitive conduct from out-of-state employers, like
20   Defendants, who would interfere with the freedom of Veeva and its employees.
21          157.       Defendants engage in unfair competition when they require employees to enter
22   into the standard non-compete/NDAs that inhibit Veeva’s ability to recruit their employees to
23   provide services in California to a California employer within the meaning of California law.
24          158.       Veeva has suffered injury in fact as a result of Defendants’ unfair competition. As
25   discussed above, Veeva has incurred defense and litigation costs, diverted resources, incurred
26   recruiting and administrative costs, and spent excessive management and attorney time as a result
27   of Defendants’ unfair competition. Defendants’ conduct must be enjoined.
28

                                                      - 29 -
                                          FIRST AMENDED COMPLAINT
 1                                     SIXTH CAUSE OF ACTION
 2                            UNFAIR COMPETITION ARISING FROM
 3                             DEFENDANTS’ NON-COMPETES/NDAS
 4          159.     Business and Professions Code § 16600 renders every contract in restraint of
 5   trade void. The Cartwright Act renders any combination in restraint of trade unlawful and void.
 6   Business and Professions Code §§ 17200 et seq. renders violations of Business & Professions
 7   Code § 16600 and the Cartwright Act unfair and unlawful business practices.
 8          160.    The interests of employees in their own mobility and betterment in providing
 9   services in California to a California-based employer are deemed paramount to the competitive
10   business interests of out-of-state employers who seek to prevent competition.
11          161.    Defendants engage in unfair competition when they enter into post-termination
12   non-compete agreements with employees that include in their scope the provision of services in
13   California for a California-based employer.
14          162.    As discussed above, Veeva has incurred defense and litigation costs, diverted
15   resources, restricted employment opportunities, incurred recruiting and administrative costs, and
16   spent excessive management and attorney time as a result of Defendants’ unfair competition.
17   Defendants’ conduct must be enjoined.
18                                  SEVENTH CAUSE OF ACTION
19           UNFAIR COMPETITION ARISING FROM THREATENED OR ACTUAL
20                 ENFORCEMENT OF DEFENDANTS’ NON-COMPETES/NDAS
21          163.    Business and Professions Code § 16600 renders every contract in restraint of trade
22   void. The Cartwright Act renders any combination in restraint of trade unlawful and void.
23   Business and Professions Code §§ 17200 et seq. renders violations of Business & Professions
24   Code § 16600 and the Cartwright Act unfair and unlawful business practices.
25          164.    California has a strong interest in protecting the freedom of movement of persons
26   whom California-based employers wish to employ to provide services in California, regardless of
27   the person’s state of residence or precise degree of involvement in California projects.
28

                                                    - 30 -
                                        FIRST AMENDED COMPLAINT
 1          165.    California employers have a strong and legitimate interest in having broad freedom
 2   to choose from a national applicant pool in order to maximize the quality of the product or
 3   services they provide. The State of California has a strong interest in protecting California-based
 4   employers and their employees from anti-competitive conduct from out-of-state employers, like
 5   Defendants, who would interfere with the freedom of Veeva and its employees.
 6          166.    The interests of employees in their own mobility and betterment in providing
 7   services in California to a California-based employer are deemed paramount to the competitive
 8   business interests of out-of-state employers who seek to prevent competition.
 9          167.    Defendants engage in unfair competition when they threaten to or actively seek to
10   enforce their standard non-competes/NDAs that include in their scope the provision of services in
11   California.
12          168.    Veeva has suffered injury in fact as a result of Defendants unfair competition in
13   this regard. As discussed above, Veeva has incurred defense and litigation costs as a result of
14   their conduct. Veeva has also diverted resources and spent valuable management and attorney
15   time in responding to threatened and actual litigation. Defendants’ conduct must be enjoined.
16                                        PRAYER FOR RELIEF
17          WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
18          1.      Declaratory judgment.
19          2.      Appropriate injunctive relief ancillary to the declaratory judgment.
20          3.      Appropriate negative injunctive relief under California’s unfair competition law,
21   including a public injunction prohibiting Defendants from: (1) interfering with the right of
22   California employers to recruit Defendants’ current or former employees; (2) including
23   employment pursuant to California law within the scope of their non-compete agreements/NDAs;
24   (3) seeking to enforce such agreements against employees employed in California, including non-
25   residents; and (4) engaging in threatened or actual anti-competitive litigation against California
26   employers arising from the illegal non-competes/NDAs.
27          4.      Appropriate affirmative injunctive relief under California’s unfair competition law,
28   including a public injunction (1) requiring Defendants to rewrite their standard non-
                                                    - 31 -
                                        FIRST AMENDED COMPLAINT
 1   compete/NDAs to exclude employment in California from the agreements' scope; and (2)

 2   requiring Defendants to notify all current and former employees of the terms of the Court's

 3   injunction.

 4          5.      An award of reasonable attorneys' fees and costs;

 5          6.      All such other and further relief that the Court may deem just and proper.

 6

 7   Dated: January 4, 2018
 8

 9                                               Chris Bakev          i ~ ····
                                                 Attorneys for Plaintiff
10                                               VEEVA SYSTEMS, INC.
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                                                    - 32 -
                                       FIRST AMENDED COMPLAINT
Exhibit A
                                   MEDIDATA SOLUTIONS, INC.


                             EMPLOYEE CONFIDENTIALITY,
               INVENTION ASSIGNMENT AND NON-COMPETITION AGREEMENT


           As a condition of my employment with Medidata Solutions, Inc. ("Medidata"), and in
   consideration of my employment with Medidata and my receipt of the compensation now and
   hereafter paid to me by Medidata, I agree to the following:

         I.   At-Will Employment. I UNDERSTAND AND ACKNOWLEDGE THAT MY
   EMPLOYMENT WITH MEDIDATA IS FOR AN UNSPECIFIED DURATION AND
   CONSTITUTES "AT-WILL" EMPLOYMENT. I ALSO UNDERSTAND THAT ANY
   REPRESENTATION TO THE CONTRARY IS UNAUTHORIZED AND NOT VALID
   UNLESS OBTAINED IN WRITING AND SIGNED BY THE CHIEF EXECUTIVE OFFICER
   OF MEDIDATA. I ACKNOWLEDGE THAT THIS EMPLOYMENT RELATIONSHIP MAY
   BE TERMINATED AT ANY TIME, WITH OR WITHOUT GOOD CAUSE OR FOR ANY OR
   NO CAUSE, AT THE OPTION EITHER OF MEDIDATA OR MYSELF, WITH OR
   WITHOUT NOTICE.

          2.      Outside Employment. I agree that as a full-time employee ofMedidata, Medidata
   is my sole employer. For the duration of my employment at Medidata, I will disclose, in writing,
   any additional employment.

          3.      Confidential Information.

                   a.     Company Information. I agree at all times during the term of my
   employment and thereafter, to hold in strictest confidence, and not to use, except for the benefit ·
   of Medidata or any of its subsidiaries (together, the "Company"), or to disclose to any person,
   firm or corporation without written authorization of the Board of Directors of Medidata, any
  Confidential Information of the Company. I understand that "Confidential Information" means
  any Company proprietary information, technical-data, trade secrets or know-how, including, but
  not limited to, research, product plans, products, services, customer lists and customers
  (including, but not limited to, customers of the Company on whom I called or with whom I
  became acquainted during the term of my employment), markets, software, developments,
  inventions, processes, formulas, technology, designs, drawings, engineering, hardware
  configuration information, marketing, finances or other business information disclosed to me by
  the Company or to which I have access either directly or indirectly in writing, orally or by
  drawings or observation of parts or equipment. I further understand that Confidential Information
  does not include any of the foregoing items which has become publicly known and generally
  available through no wrongful act of mine or of others who were under confidentiality
  obligations as to the Confidential Information.

                  b.     Former Employer Information. I agree that I will not, during my
  employment with Medidata, improperly use or disclose any proprietary information or trade
  secrets of any former employer or any other person with whom I have had an employment
  relationship at any time and that I will not bring onto the premises of the Company any
  unpublished document or proprietary information belonging to any such employer, person or
  entity unless consented to in writing by such employer, person or entity. I represent to Medidata
SCA,Nua...
 avHR
 that my execution of this Agreement, my employment with Medidata and the performance ofmy
 proposed duties for the Company will not violate any obligations I may have to any such
 previous employer or other party.

                   c.    Third Party Information. I recognize that the Company has received and
 in the future will receive from third parties their confidential or proprietary information subject
 to a duty on the Company's part to maintain the confidentiality of such information and to use it
 only for certain limited purposes. I agree to hold all such confidential or proprietary information
 in the strictest confidence and not to disclose it to any person, firm or corporation or to use it
 except as necessary in carrying out my work for the Company consistent with the Company's
 agreement with such third party.

        4.      Inventions.

                a.      Inventions Retained and Licensed. I have attached hereto, as Exhibit A, a
list describing all inventions, original works of authorship, developments, improvements, and
trade secrets which were made by me prior to my employment with Medidata (collectively
referred to as "Prior Inventions"), which belong to me or any third party and which are not
assigned to the Company hereunder; or, if no such list is attached, I represent that there are no
such Prior Inventions. If in the course ofmy employment with the Company, I incorporate into a
Company product, process or machine a Prior Invention or other work performed for the
Company, the Company is hereby granted and shall have a nonexclusive, royalty-free,
irrevocable, perpetual, worldwide license to make, have made, modify, use and sell such Prior
Invention as part of or in connection with such product, process, machine or other work.

                 b.      Assignment of Inventions. I agree that I will promptly make full written
 disclosure to Medidata of any and all inventions, original works of authorship, developments,
 concepts, improvements, designs, discoveries, demos, trademarks or trade secrets, whether or not
 patentable or registrable under copyright or similar laws, which I may solely or jointly conceive ·
or develop or reduce to practice, or cause to be conceived or developed or reduced to practice,
during the period of time I am in the employ of Medidata and which are related to the
Company's business (collectively referred to as "Inventions"). In addition, I agree that I will ·
hold in trust for the sole right and benefit of the Company, and hereby assign and will assign to
the Company, or its designee, all my right, title, and interest in and to any and all Inventions
which (i) relate to the actual or demonstrably anticipated business of the Company or the actual
or demonstrably anticipated research and development of the Company, (ii) result from tasks
assigned to me by the Company, or (iii) result from the use of premises or personal property
(whether tangible or intangible) owned, leased or contract for by the Company (any such
Inventions being "Company-Related Inventions"). I further acknowledge that all original works
of authorship which are created by me (solely or jointly with others) within the scope of and
during the period of my employment with Medidata and which are protectable by copyright are
"works made for hire," as that term is defined in the United States Copyright Act. I understand
and agree that the decision whether or not to commercialize or market any Company-Related
Invention developed by me solely or jointly with others is within the Company's sole discretion
and for the Company's sole benefit and that no royalty will be due to me as a result of the
Company's efforts to commercialize or market any such Company-Related Invention.




                                                 2
                   c.      Inventions Assigned to the United States. I agree to assign to the United
 States government all my right, title, and interest in and to any and all Inventions whenever such
 full title is required to be in the United States by a contract between the Company and the United
 States or any of its agencies.

                d.      Maintenance of Records. I agree to keep and maintain adequate and
 current written records of all Inventions made by me (solely or jointly with others) during the
 term of my employment with Medidata. The records will be in the form of notes, sketches,
 drawings, and any other format that may be specified by the Company. The records will be
 available to and remain the sole property of the Company at all times.

                 e.       Enforcement of Intellectual Property Rights. I agree to assist the
Company, or its designee, at the Company's expense, to secure, maintain and enforce the
Company's rights in the Inventions and any copyrights, patents, mask work rights or other
intellectual property rights relating thereto in any and all countries, including the disclosure to
the Company of all pertinent information and data with respect thereto, the execution of all
applications, specifications, oaths, assignments, powers of attorney and all other instruments
which the Company shall deem necessary in order to apply for and obtain such rights and in
order to assign and convey to the Company, its successors, assigns and nominees the sole and
exclusive rights, title and interest in and to such Inventions, and any copyrights, patents, mask
work rights or other intellectual property rights relating thereto. I further agree that my
obligation to execute or cause to be executed, when it is in my power to do so, any such
instrument or papers shall continue after the termination of this Agreement. If the Company is
unable because of my mental or physical incapacity or for any other reason to secure my
signature to obtain, maintain and enforce the foregoing rights, then I hereby irrevocably
designate and appoint the Company and its duly authorized officers and agents as my agent and
attorney in fact, to act for and in my behalf and stead to execute and file any such instruments or
papers to do aU other lawfully permitted acts to obtain, maintain and enforce the foregoing rights
with the same legal force and effect as if executed by me.                                          ·

         5.      Competitive Activities. During the term ofmy employment with Medidata, an9
 for a period of one (1) year thereafter, regardless of the circumstances of termination, I will not,
 directly or indirectly, whether as owner, partner, shareholder, consultant, agent, employee,
 co-venturer or otherwise, engage, participate or invest in any business activity anywhere in the
 world which develops or markets products or performs services which are competitive with the
products or services of the Company (a "Competitor"), including but not limited to any business
or entity which develops, markets, manufactures or provides consulting services with respect to
data management applications for pharmaceutical, biotechnology and genomic companies. I will
not directly or indirectly, engage or participate in the development of any product or service
which the Company has under development or which are the subject of active planning at any
time during the term of my employment. Notwithstanding the foregoing, however, I understand
that I may hold stock in a Competitor if the stock is publicly traded and the amount of stock I
hold is less than one percent (1 %) of the outstanding capital stock of the Competitor. I
understand that the restrictions set forth in this Section 4 are intended to protect the Company's
interest in its Confidential Information and established customer relationships and goodwill, and
agree that such restrictions are reasonable and appropriate for this purpose.




                                                 3
        6.      Returning Company Documents. I agree that, at the time of leaving the employ of
Medi data, I will deliver to the Company ( and will not keep in my possession, recreate or deliver
to anyone else) any and all devices, records, data, notes, reports, proposals, lists, correspondence,
specifications, drawings, blueprints, sketches, materials, equipment, other documents or
property, or reproductions of any aforementioned items developed by me pursuant to my
employment with Medidata or otherwise belonging to the Company, its successors or assigns
including, without limitation, the records maintained pursuant to paragraph 4(d). In the event of
the tennination of my employment, I agree to sign and deliver to the Company a completed
"Termination Certification" attached hereto as Exhibit B.

        7.    Notification fNew Em lo er. In the event that I leave the employ of Medidata,
I hereby permit the Cornpan to contact my new employer about my rights and obligations under
this Agreement. I will info Medidata of my new employer for this purpose.
                             '
         8.     Non-Solicitation: Non-Hire. During the term ofmy employment with Medidata,
and for a period of one (1) year thereafter, I will not (a) hire or recruit any current employees or
consultants, or former employees of the Company or solicit or encourage, or cause others to
solicit or encourage, any employees of the Company to terminate their employment with the
Company, or (b) solicit for or on behalf of any person or divert to any person, any employee,
customer, client or business opportunity of the Company. Without implied limitation, the
foregoing shall include hiring or attempting to hire for or on behalf of any person any officer or
other employee or otherwise encouraging any officer or other employee or consultant to
terminate his or her relationship with the Company.

        9.     Conflict of Interest Guidelines. I agree to diligently adhere to the Conflict of
Interest Guidelines attached as Exhibit C hereto.

         10.    Representations. I agree to execute any proper oath or verify any proper
document required to carry out the terms of this Agreement. I represent that my performance of
all the terms of this Agreement will not breach any agreement to keep in confidence proprietary
information acquired by me in confidence or in trust prior to my employment by Medidata. I .
have not entered into, and I agree I will not enter into, any oral or written agreement in conflict
herewith.

       11.     Arbitration and Equitable Relief.

           a.    Arbitration. EXCEPT AS PROVIDED IN SECTION 11 (b) BELOW, I
AGREE THAT ANY DISPUTE OR CONTROVERSY ARISING OUT OF OR RELATING TO
ANY INTERPRETATION, CONSTRUCTION, PERFORMANCE OR BREACH OF THIS
AGREEMENT, SHALL BE SETTLED BY ARBITRATION TO BE HELD IN NEW YORK,
NEW YORK, IN ACCORDANCE WITH THE RULES THEN IN EFFECT OF THE
AMERICAN ARBITRATION ASSOCIATION. THE ARBITRATOR MAY GRANT
INJUNCTIONS OR OTHER RELIEF IN SUCH DISPUTE OR CONTROVERSY. THE
DECISION OF THE ARBITRATOR SHALL BE FINAL, CONCLUSIVE AND BINDING ON
THE PARTIES TO THE ARBITRATION. JUDGMENT MAY BE ENTERED ON THE
ARBITRATOR'S DECISION IN ANY COURT HAVING JURISDICTION. THE COMPANY
AND I SHALL EACH PAY ONE-HALF OF THE COSTS AND EXPENSES OF SUCH
ARBITRATION, AND EACH OFUS SHALL SEPARATELY PAY OUR COUNSEL FEES
AND EXPENSES.


                                                   4
      THIS ARBITRATION CLAUSE CONSTITUTES A WAIVER OF EMPLOYEE'S
RIGHT TO A JURY TRIAL AND RELATES TO THE RESOLUTION OF ALL DISPUTES
RELATING TO ALL ASPECTS OF THE EMPLOYER/EMPLOYEE RELATIONSHIP
(EXCEPT AS PROVIDED tN SECTION l l(b) BELOW), INCLUDING, BUT NOT LIMITED
TO, THE FOLLOWING CLAIMS:

                 i.   ANY AND ALL CLAIMS FOR WRONGFUL DISCHARGE OF
EMPLOYMENT; BREACH OF CONTRACT, BOTH EXPRESS AND IMPLIED; BREACH
OF THE COVENANT OF GOOD FAITH AND FAIR DEALING, BOTH EXPRESS AND
IMPLIED; NEGLIGENT OR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS;
NEGLIGENT OR INTENTIONAL MISREPRESENTATION; NEGLIGENT OR
INTENTIONAL INTERFERENCE WITH CONTRACT OR PROSPECTIVE ECONOMIC
ADV ANT AGE; AND DEFAMATION;

                  ii.   ANY AND ALL CLAIMS FOR VIOLATION OF ANY
FEDERAL, STATE OR MUNICIPAL STATUTE, INCLUDING, BUT NOT LIMITED TO,
TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, THE CIVIL RIGHTS ACT OF 1991, THE
AGE DISCRIMINATION IN EMPLOYMENT ACT OF 1967, THE AMERICANS WITH
DISABILITIES ACT OF 1990, THE FAIR LABOR STANDARDS ACT; AND

                111. ANY AND ALL CLAIMS ARISING OUT OF ANY OTHER
LAWS AND REGULATIONS RELATING TO EMPLOYMENT OR EMPLOYMENT
DISCRIMINATION.

           b.   Equitable Remedies. I AGREE THAT IT WOfilD BE IMPOSSIBLE
OR INADEQUATE TO MEASURE AND CALCULATE THE COMPANY'S DAMAGES
FROM ANY BREACH OF THE COVENANTS SET FORTH IN SECTIONS 2, 3, 4, AND 7
HEREIN. ACCORDINGLY, I AGREE THAT IF I BREACH ANY OF SUCH SECTIONS,
THE COMP ANY WILL HA VE AVAILABLE, IN ADDITION TO ANY OTHER RIGHT OR ·
REMEDY AVAILABLE, THE RIGHT TO OBTAIN AN INJUNCTION FROM A COURT OF
COMPETENT JURISDICTION RESTRAINING SUCH BREACH OR THREATENED
BREACH AND TO SPECIFIC PERFORMANCE OF ANY SUCH PROVISION OF THIS
AGREEMENT. I FURTHER AGREE THAT NO BOND OR OTHER SECURITY SHALL BE
REQUIRED IN OBTAINING SUCH EQUITABLE RELIEF AND I HEREBY CONSENT TO
THE ISSUANCE OF SUCH INJUNCTION AND TO THE ORDERING OF SPECIFIC
PERFORMANCE.

           c.  Consideration. I UNDERSTAND THAT EACH PARTY'S PROMISE
TO RESOLVE CLAIMS BY ARBITRATION IN ACCORDANCE WITH THE PROVISIONS
OF THIS AGREEMENT, RATHER THAN THROUGH THE COURTS, IS CONSIDERATION
FOR OTHER PARTY'S LIKE PROMISE. I FURTHER UNDERSTAND THAT I AM
OFFERED EMPLOYMENT IN CONSIDERATION OF MY PROMISE TO ARBITRATE
CLAIMS.




                                     5
         12.       General Provisions.

                  a.      Governing Law; Consent to Personal Jurisdiction. This Agreement will be
 governed and construed according to the laws of the State of New York without giving effect to
 its conflict of laws principles. I hereby expressly consent to the personal jurisdiction of the state
 and federal courts located in New York for any lawsuit filed there against me by the Company
 arising from or relating to this Agreement.

                b.      Entire Agreement. This Agreement sets forth the entire agreement and
understanding between the Company and me relating to the subject matter herein and supersedes
all prior discussions or agreements between us. No modification of or amendment to this
Agreement, nor any waiver of any rights under this agreement, will be effective unless in writing
signed by the party to be charged. Any subsequent change or changes in my duties, salary or
compensation will not affect the validity or scope of this Agreement.

                 c.     Severability. In the event that any provision or portion of a provision of
 this Agreement shall be determined to be illegal, invalid or unenforceable, the remainder of this
Agreement shall be enforced to the fullest extent possible and the illegal, invalid or
 unenforceable provision or portion of a provision will be amended by a court of competent
jurisdiction, or otherwise thereafter shall be interpreted, to reflect as nearly as possible without
being illegal, invalid or unenforceable the parties' intent if possible. In the event that any
provision or portion of a provision of this Agreement is determined by any court of competent
jurisdiction to be unenforceable by reason of excessive scope as to geographic, temporal, or
functional coverage, such provision or portion of a provision shall be deemed to extend only over
the maximum geographic, temporal, and functional scope as to which it may be enforceable. If
such amendment or interpretation is not possible, the illegal, invalid or unenforceable provision
or portion of a provision will be severed from the remainder of this Agreement and the remainder
of this Agreement shall be enforced to the fullest extent possible as if such illegal, invalid or
unenforceable provision or portion of a provision was not included.

              d.      Successors and Assigns. This Agreement will be binding upon my heirs,
executors, administrators and other legal representatives and will be for the benefit of the ·
Company, its successors, and its assigns.




Date:   '3 - 15 - Ot...\
                                              ~mployee's Signatu



                                                     (Type/Print Employee's Name)




                                                 6
Exhibit B
        Case 1:17-cv-00589-LGS Document 31-3 Filed 02/21/17 Page 2 of 11




                                  MEDIDATA SOLUTIONS, INC.


                           EJV[PLOYEE CONFIDENTIALITY,
             INVENTION ASSIGNMENT AND NON-COMPETITION AGREEMENT


         As a condition of my employment with Medidata Solutions, Inc., for the benefit of itself
 and of each of subsidiaries now or hereafter formed (collectively, as to all such entities,
 "Medidata") and in consideration ofmy employment with Medidata and my receipt of the
 compensation now and hereafter paid to me by Medidata, I agree to the following:

        l.  At-Will Employment. l UNDERSTAND AND ACKNOWl,EDGE THAT MY
 EivfPLOYMENT WITH MEDIDATA IS FOR AN UNSPECIFIED DURATION AND
 CONSTJTUTES "AT-WILL'' EMPLOYMENT. I ALSO UNDERSTAND THAT ANY
 REPRESENTATIO'-J TO THE CONTRARY JS UNAUTHORIZED AND NOT VALID
 UNLESS OBTAINED IN WRITING AND SIGNED BY THE CHJEf EXECUTIVE OFFICER
 OF MEDIDATA. I ACKNOWLEDGE THAT THIS EMPLOYMENT RELATJONSHfP MAY
 BE TERMINATED AT ANY TIME, WITH OR WITHOUT GOOD CAUSE OR FOR ANY OR
 NO CAUSE, AT THE OPTION EITHER OF MEDIDATA OR MYSELF, WITH OR
 WITHOUT NOTICE.

       2.      Outside Ernplc1_vment. l agree that as a full-time employee ofMedidata, Mcdidata
is my sole employer. For the duration ofmy employment at Medidata, Twill Jisclose, in writing,
any additional employment.

        3.        Confidential Information.

                 a.     Company Information. r agree at all times during the term ofmy
 employment and thereafter, to hold in strictest confidence, and not to use, except for the benefit
 of Medidata or any of its subsidiaries (together, the "Company"). or to disclose to any person,
 firm or corporation without written authorization of the Board of Directors of Medidata, any
Confidential Information of the Company. I understand that "Confidential lnformation" means
any Company proprietary information, technical-data, trade secrets or know-how, including, but
not limited to, research, product plans, products, services, customer lists and customers
(including, but not limited to, customers of the Company on whom l c::illed or with whom I
became acquainted during the term of my employment), markets, software, developments,
inventions, processes, formulas, technology, designs, dra,vings, engineering, hardware
configuration information, marketing, finances or other business information disclosed to me by
the Company or to which I have access either directly or indirectly in writing, orally or by
drawings or observation of parts or equipment. I further understand that Confidential Information
docs not include any of the foregoing items which has become publicly known and generally
available through no wrongful act of mine or of others who were under confidentiality
obligations as to the Confidential Information.

                b.     Former Emplover Information. I agree that l will not, during my
employment with Mcdidata, improperly use or disclose any proprietary information or trade
secrets of any former employer or any other person with whom I have had an employment
relationship at any time and that I will not bring onto the premises of the Company any
unpublished document or proprieta1·y information belonging to any such employer, person or


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 entity unless consented to in writing by such employer, person or entity. I represent to Medidata
 that my execution of this Agreement, my employment with Med idata and the performance of my
 proposed duties for the Company will not violate any obligations l may bave to any such
 previous employer or other party.

                  c.     Third Partv Information. I recognize that the Company has received and
 in the foture will receive from third parties their confidential or proprietary information subject
 to a duty on the Company's part to maintain the confidentiality of such infomiation and to use it
 only for certain limited purposes. I agree to hold al I such confidential or proprietary information
 in the strictest confidence and not to disclose it to any person, firm or corporation or to use it
 except as necessary in canying out my work for the Company consistent with the Company's
 agreement with such third party.

        4.       Inventions.

                 a.      Inventions Retained and Licensed. I have attached hereto, as Exhibit A. a
 list describing all inventions, original works of authorship, developments, improvements, and
trade secrets which were made by me prior to my employment with Medidata (collectively
referred to as "Prior Inventions"), which belong to me or any third parry and which are not
assigned to the Company hereunder; or, if no such list is attached, I represent that there are no
such Prior Jnventions. If in the course ofmy employment with the Company, I incorporate into a
Company product, process or machine a Prior Jnvention or other work performed for the
Company, the Company is hereby granted and shall liave a nonexclusive, royalty-free,
irrevocable, perpetual, worldwide license to make, have made, modify, use and sell such Prior
Invention as part ofor in connection with such product, process, machine or other work.

                 b.      Assignment of Inventions. I agree that I will promptly make full written
 disclosure to Medi data of any and all inventions, original works of authorship, developments,
 concepts, improvements, designs, discoveries, demos, trademarks or trade secrets, whether or not
 patentable or registrable under copyright or similar laws, which I may solely or jointly conceive
 or develop or reduce lo practice, or cause to be conceived or developed or reduced to practice,
during the period of time 1 am in the employ of Mcdidata and which arc related to the
Company's business (collectively referred to as "Inventions''). Jn addition, l agree that 1 will
hold in trust for the sole right and benefit of the Company, and hereby assign and will assign to
the Company, or its dcsignee, all my right, title, and interest in and to any and all lnvcntions
which (i) relute to the actual or demonstrably anticipated business of the Company or the actual
or demonstrably anticipated research and development of the Company, (ii) result from tasks
assigned to me by the Company, or (iii) result from the use of premises or personal property
(whether tangible or intangible) owned, leased or contract for by the Company (any such
Inventions being "Company-Related Inventions"). l fmther acknowledge that all original works
of authorship which are created by me (solely or jointly with others) within the scope of and
during the period ofmy employment with Medidata and which arc protectable by copyright are
"works made for hire," as that term is defined in the United States Copyright Act. I understand
and agree that the decision whether or not to commercialize or market any Company-Related
Invention developed by me solely or jointly with others is within the Company's sole discretion
and for the Company's sole benefit and that no royalty will be due to me as a result of the
Company's efforts to commercialize or market any such Company-Related Invention.




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                   c.      Inventions Assigned to the United States. I agree to assign to the United
 States government all my right, title, and interest in and to any and all Inventions whenever such
 full title is required to be in the United States by a contract between the Company and the United
 States or any of its agencies.

                 d.     Maintenance of Records. I agree to keep and maintain adequate and
 current written records of all 1nventions made by me (solely or jointly with others) during the
 term of my employment with Medi data. The records wi II be in the form of notes, sketches,
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                 e.       Enforcement of Intellectual Propertv Rights. I agree to assist the
Company, or its designee, at the Company's expense, to secure, maintain and enforce the
Company's rights in the Inventions and any copyrights, patents, mask work rights or other
intellectual property rights relating thereto in any and all countries, including the disclosure to
the Company of all pertinent information and data with respect thereto, the execution of all
applications, specifications, oaths, assignments, powers of attorney and all other instruments
which the Company shall deem necessary in order to apply for and obtain such rights and in
order to assign and convey to the Company, its successors, assigns and nominees the sole and
exclusive rights, title and interest in and to such Inventions, and any copyrights, patents, mask
work rights or other intellectual propeity rights relating thereto. I further agree that my
obligation lo execute or cause to be executed, when it is in my power lo do so, any such
instrument or papers shall continue after the termination of this Agreement. If the Company is
unable because of my mental or physical incapacity or for any other reason to secure my
signature to obtain, maintain and enforce the foregoing rights, then I hereby irrevocably
designate and appoint the Company and its duly authorized officers and agents as my agent and
attorney in fact, to act for and in my behalf and stead to execute and file any such instruments or
papers to do all other lawfully permitted acts to obtain, maintain and enforce the foregoing rights
with the same legal force and effect as if executed by me.

         5.      Competitive Activilies. THIS SECTION 5 SHALL HAVE NO FORCE OR
 EFFECT, AND SHALL NOT BE DEEMED A PART OF THE AGREEMENT DUR!NG ANY
 AND ALL PERIODS lN WHICH I PERFOR!v1. SERVIC£::S AS AN EMPLOYEE OF
 MEDJDATA PRJNCfPALLY fN THE STATE OF CALIFORNIA, BUT SHALL BECOME
 Il\1MED1ATEL Y EFFECTIVE IF AND TO THE EXTENT I PERFORM SERVICES AS AN
 EMPLOYEE OF MEDIDATA PRJNC!PALLY fN A JURJSDICTION OTHER THAN THL
 STATE OF CALifORNIA. During the term of my employment with Medidata, and for a period
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indirectly, whether as owner, partner, shareholder, consultant, agent, employee, co-venturer or
otherwise, engage, participate or invest in any business activity anywhere in the world which
develops or markets products or performs services which are competitive with the products or
services of the Company (a "Competitor"), including but not limited to any business or entity
which develops, markets, manufactures or provides consulting services with respect to data
management applications for pharmaceutical, biotechnology and genomic companies. I will not
directly or indirectly, engage or participate in the development of any product or service which
the Company has under development or which are the subject of active planning at any time
during the term of my employment. Notwithstanding the foregoing, however, I understand that l
may hold stock in a Competitor if the stock is publicly traded and the amount of stock I hold is
less than one percent (1%) of the outstanding capital stock of the Competitor. 1 understand that


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      Case 1:17-cv-00589-LGS Document 31-3 Filed 02/21/17 Page 5 of 11




 the restrictions set forth in this Section 5 are intended to protect the Company's interest in its
 Confidential Information and established customer relationships and goodwill, and agree that
 such restrictions are reasonable and appropriate for this purpose.



         6.      Returning Company Documents. I agree that, at the time of leaving the employ of
 Medidata, l will deliver to the Company (and will not keep in my possession, recreate or deliver
 to anyone else) any and all devices, records, data, notes, reports, proposals, lists, correspondence,
 specifications, drawings, blueprints, sketches, materials, equipment, other documents or
 property, or reproductions of any aforementioned items developed by me pursuant to my
 employment with Medidata or otherwise belonging to the Company, its successors or assigns
 including, without limitation, the records maintained pursuant to section 4(d). In the event of the
 termination of my employment, J agree to sign and deliver to the Company a completed
 "Termination Certification" attached hereto as Exhibit B.

         7.     Notification of New Employer. ln the event that I leave the employ ofMedidata,
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         8.     Non-Solicitation: Non-Hire. During the term ofmy employment with Medidata,
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consultants, or former employees of the Company or solicit or encourage, or cause others to
solicit or encourage, any employees of the Company to terminate their employment with the
Company, or (b) solicit for or on behalf of any person or divert to any person, any employee,
customer, client or business opportunity of the Company. Without implied limitation, the
foregoing shall include hiring or attempting to hire for or on behalfofany person any officer or
other employee or otherwise encouraging any officer or other employee or consultant to
terminate his or her relationship with the Company.

        9.     Conflict of1nterest Guidelines. l agree to diligently adhere to the Connict of
lnterest Guidelines attached as Exhibit C hereto.

         I 0.   Representations. ] agree to execute any proper oath or verify any proper
document required to carry out the te1111s of this Agreement. J represent that my performance of
all the terms of this Agreement will not breach any agreement to keep in confidence proprietary
information acquired by me in confidence or in trust prior to my employment by Medidata. I
have not entered into, and I agree I will not enter into, any oral or written agreement in conflict
herewith.

        I 1.     Arbitration and Equitable Relief.

           a.    Arbitration. EXCEPT AS PROVJDEIJ JN SECTION l l (b) BELOW, l
AGREE THAT ANY DISPUTE OR CONTROVERSY ARJSfNG OUT OF OR RELAT1NG TO
ANY INTERJ>RETATlON, CONSTRUCTION, PERFORMANCE OR BREACH OF THIS
AGREEMENT, SHALL BE SETTLED BY ARBITRATION TO BE HELD lN NEW YORK,
NEW YORK, IN ACCORDANCE Vv1TH THE RULES THEN IN EFFECT OF THE
AMERJCAN ARBITRATION ASSOCIATION. THE i\RBITRA TOR MAY GRANT
INJUNCTIONS OR OTHER RELIEF IN SUCH DISPUTE OR CONTROVERSY. THE
DECJSION OF THE ARBITRATOR SHALL DE FfNAL, CONCLUSIVE AND BINDING ON


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 THE PARTIES TO THE ARBITRATION. JUDGMENT MAY BE ENTERED ON THE
 ARBITRATOR'S DECISION fN ANY COURT HA VfNG JURISDICTION. THE COMPANY
 AND I SHALL EACH PAY ONE-HALF OF THE COSTS AND EXPENSES OF SUCH
 ARBITRATION, AND EACH OF US SHALL SEPARATELY PAY OUR COLINSEL FEES
 AND EXPENSES.

       THIS ARBITRATION CLAUSE CONSTITUTES A WAIVER OF EMPLOYEE'S
 RIGHT TO A JURY TRJAL AND RELATES TO THE RESOLUTION OF ALL DISPUTES
 RELATING TO ALL ASPECTS OF THE EMPLOYER/EMPLOYEE RELA TJONSHf P
 (EXCEPT AS PROVIDED IN SECTION l l(b) BELOW), INCLUDfNG, BUT NOT UMITED
 TO, THE FOLLOWfNG CLAIMS:

                   i.    ANY AND ALL CLAIMS FOR WRONGFUL DISCHARGE OF
 EMPLOYMENT; BREACH OF CONTRACT, BOTH EXPRESS AND IMPLIED; BREACH
 OF THE COVENANT OF GOOD FAITH AND FAIR DEALING, BOTH EXPRESS AND
 lf\1PLIED; NEGLIGENT OR INTENTfONAL INFLICTION OF EMOTIONAL DISTRESS;
 NEGLIGENT OR fNTENTJONAL MISREPRESENTATfON; NEGLIGENT OR
 fNTENTfONAI INTERFERENCE WITH CONTRACT OR PROSPECTIVE ECONOMIC
 ADVANTAGE; AND DEFAMATION;

                  11.   ANY AND ALL CLAIMS FOR VIOLATION OF ANY
FEDERAL, STATE OR MUNICIPAL STATUTE, INCLUDING, BUT NOT LlMITED TO,
TITLE Vil OF THE CIVIL RIGHTS ACT OF 1964, THE ClV!L RJGHTS ACT OF 1991, THE
AGE DlSCR!MlNATION IN EMPLOYMENT ACT OF 1967, THE AMERICANS WITH
DJSABlUTlES ACT OF 1990, THE FAIR LABOR STANDARDS ACT; AND

                111. ANY AND ALL CLAIMS ARlSING OUT OF ANY OTHER
LAWS AND REGUJ,ATJONS RELATrNG TO El'vlPLOYMENT OR EMPLOYMENT
DTSCRIM1NATION.

           b.    Equitable Remedies. l AGREE THAT IT WOULD BE IMPOSSIBLE
OR INADEQUATE TO MEASURE AND CALCULATE THE COi\1PANY'S DAMAGES
FROM ANY BREACH OF THE COVENANTS SET FORTH IN SECTIONS 2, 3, 4, S, 6 AND
8 HEREJN. ACCORDINGLY, I AGREE THAT IF TBREACH ANY OF SUCH SECTIONS,
THE COMPANY WILL HA VE J\ VAJLABLE, IN ADDITION TO ANY OTHER RIGHT OR
REMEDY AVA!LABLE, THE RJGHT TO OBTAIN AN INJUNCTION FROM A COURT OF
COMPETENT JURJSDJCTJON RESTRAINING SUCH BREACH OR THREATENED
BREACH AND TO SPECffJC PERFORMANCE OF ANY SUCH PROVISION OF THIS
AGREEMENT. I FURTHER AGREE THAT NO BOND OR OTHER SECURITY SHALL BE
REQUIRED IN OBTAJNJNG SUCH EQUITABLE RELIEF AND I HEREBY CONSENT TO
THE ISSUANCE OF SUCH fNJUNCTION AND TO THE ORDERING OF SPECIFIC
PERFORMANCE.

           c.   Consideration I UNDERSTAND THAT EACH PARTY'S PROMJSE
TO RESOLVE CLAIMS BY ARBITRATION IN ACCORDANCE WITH THE PROVISIONS
OF THIS AGREEMENT, RATHER THAN THROUGH THE COURTS, IS CONSIDERATION
FOR OTJlER PARTY'S LIKE PROMISE. J FURTHER UNDERSTAND THAT I AM
OFFERED EMPLOYMENT IN CONSIDERATION OF MY PROMISE TO ARBJTRJ\TE
CLAIMS.



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 General Provisions.

                  d.      Governing Law; Consent to Personal Jurisdiction. This Agreement will be
 governed and construed according to the laws of the State of New York without giving effect to
 its conflict of laws principles. I hereby expressly consent to the personaljurisdiction of the state
 and federal courts located in New York for any lawsuit filed there against me by the Company
 arising from or relating to this Agreement.

                 e.      Entire Agreement. This Agreement sets forth the entire agreement and
 understanding between the Company and me relating to the subject matter herein and supersedes
 all prior discussions or agreements between us. No modification of or amendment to this
 Agreement, nor any waiver of any rights under this agreement, wilt be effective unless in \Vriting
 signed by the party to be charged. Any subsequent change or changes in my duties, salary or
 compensation will not affect the validity or scope of this Agreement.

                  f.     Severabilitv. In the event that any provision or portion of a provision of
 this Agreement shall be determined to be illegal, invalid or unenforceable, the remainder of this
 Agreement shall be enforced to the fullest extent possible and tbe illegal, invalid or
 unenforceable provision or portion of a provision will be amended by a court of competent
jurisdiction, or otherwise thereafter shall be interpreted, to reflect as nearly as possible without
 being illegal, invalid or unenforceable the pa1iies' intent if possible. In the event that any
provision or portion ofa provision of this Agreement is determined by any court of competent
jurisdiction to be unenforceable by reason of excessive scope as to geographic, temporal. or
functional coverage, such provision or portion of a provision shall be deemed to extend only over
the maximum geographic, temporal, and functional scope as to ·which it may be enforceable. l f
such amendment or interpretation is not possible, the illegal, invalid or unenforceable provision
or portion ofa provision will be severed from the remainder of this Agreement and the remainder
of this Agreement shall be enforced to the fullest extent possible as if such illegal, invalid or
unenforceable provision or portion of a provision was not included.

              g.       Successors and Assigns. This Agreement will be binding upon my heirs,
executors, administrators and other legal representatives and will be for the benefit of the
Company, its successors, and its assigns.




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Exhibit C
                                         Confidentiality & Policy Agreement


Employee Number: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                            ,,,,
                                                                                                   Sl.O
                                                    (Middle Initial)                          (Last Name)


1 agree to accept employment with lMS Health Incorporated ("IMS"), subject to the following terms and conditions:

1. Confidentiality and Security
I will not disclose confidential information of IMS, or any company controlling, controlled by or under common control with
IMS, (collectively the "IMS Companies") to anyone outside of the IMS Companies except as specifically described below;
neither will I use such infonnation for my own personal benefit. Confidential information may only be disclosed to someone
outside of the Il\1S Companies ifit is (a) to further a legitimate business purpose of the IMS Companies, and
(b) disclosed after the intended recipient has signed an iMS approved agreement containing the appropriate confidentiality
provisions. In addition, I agree to make every reasonable effort to (a) ensure the confidentiality and integrity of confidential
information of IMS and (b) protect it against reasonably anticipated threats or hazards to its security or integrity.

"Confidential information," as referred to here, means information not generally known outside the IMS Companies.
Examples of confidential information include, but are not Jimjted to, non-public:

   •    technical knowledge of methodologies, computer programs, and work processes of any of the IMS Companies;

   •    business information regarding costs, profits, sales, iicensing arrangements, markets, and customer lists of any of the
        l};!S Companies;

   •    knowledge of future activities within any of Lie IMS Companies, such as products or services in research and
        development or marketing plans;

   •    data obtained from sources outside the IMS Companies or created by any of the IMS Companies; and

   •    information provided to IMS by a third party which IMS has agreed to keep confidential.

2. Ownership of Work
I will promptly disclose in writing to IMS all inventions, discoveries, developments, improvements and innovations
(collectively referred to as "Inventions") that I have conceived or made during my employment with IMS. In this context,
Inventions are limited to those which:

   •    relate in any manner to the existing or contemplated business or research activities of any of the IMS Companies;

   •    are suggested by or result from my work at IMS; or

   •    result from the use ofIMS's time, materials or facilities.

All Inventions will be IMS's property rather than mine. Should IMS request it, I agree to sign any document that IMS may
reasonably require to establish ownership in any Invention.

3. Agreement Not to Compete
During the term of my employment with IMS, I agree I wiH not, without the prior written consent of IMS, manage, operate,
join, control or participate in the ownership, management, operation or control of or engage in any business or perfonn any
service directly or indirectly in competition, anywhere in the United States or Canada, with the products and services of the
IMS Companies, or have any direct or indirect interest, whether as a proprietor, partner, director, officer, employee, creditor,
stockholder, consultant or in any other capacity whatsoever, in any enterprise in competition, anywhere in the United States or

Revised 4/05                                                                                                           Page! of2
                                                                                                                               E
Canada, with the products and services of the IMS Companies. Ownership by me of less than two percent (2%) of the issued
and outstanding shares of capital stock of any company listed on a national securities exchange or quoted by the National
Association of Securities Dealers Automated Quotation System shall not be deemed to be competitive hereunder. The terms
set forth in this paragraph shall remain in effect after termination of this Agreement in accordance with the following: ( l) if
my term of employment with Th1S is less than ninety days, my agreement not to compete shall sun,ive termination for a period
of six months, and (2) if my term of employment with IMS is ninety days or more, my agreement not to compete shall survive
termination for a period of twelve months. 1n the event I enter into an agreement with an IMS Company subsequent to the
date below, which agreement restricts me from competing with one or more of the IMS Companies (the "Subsequent
Agreement"}, the Subsequent Agreement shall control over the terms of this Paragraph to !he extent there is any difference in
the terms of the respective agreements.

4. Agreement Not to Solicit IMS Employees
During the term ofmy employment with IMS and for a period of one year thereafter, I agree I will not (l) solicit, hire or
retain as an employee or independent contractor, or (2) assist any third party in the solicitation, hire, or retention as an
employee or independent contractor, any person who during the previous twelve months was an employee of any of the LMS
Companies.

5. No Breach of Other Agreements
My employment by IMS will not result in a breach of or a default under, any term or provision of any contract or agreement
between me and any other person, company or other entity. For example, I am not subject to any agreement which could
reasonably be interpreted to restrict or prohibit my employment with IMS.

6. Return of Materials
Upon IMS's request and as directed by IMS, I will promptly return to IMS or destroy all company materials that came into
my possession, custody or control in connection with my employment with IMS. The term "materials" includes, but is not
limited to, all notes, correspondence, reports, computer programs, customer lists, data, manuals, presentations, and contracts
which in any way relates to IMS's business, and any confidential information refem:d to in Paragraph l of this agreement.
Upon leaving IMS's employ, I will promptly return or destroy, as directed by IMS, all such materials without retaining any
copies.

7. Employment Status
Nothing in this agreement shall be construed as constituting a contract for employment, or otherwise set forth a length of
employment Both Il\1S and I have the right to terminate the employment relationship at any time with or without cause. No
representative of IMS has authority to enter into an agreement for employment for any specified period of time, or to make an
agreement contrary to this paragraph.

8. Miscellaneous
I acknowledge and agree that a breach by me of the provisions of this Agreement will cause the IMS Companies irreparable
injury and damage which may not be compensable by money damages and, therefore, I acknowledge and agree the affected
Il\iS Companies shall be entitled to injunctive or other relief to prevent a breach of such provisions and to secure its
enforcement in addition to any other remedies which may be available to the Il\1S Companies. Should any of the provisions
of this Agreement be held invalid or unenforceable, such portion shall be severed and the remaining portions of the covenants
shall remain valid and enforceable. In the event that a court of competent jurisdiction determines by final judgment that the
scope, time period, and/or geographical limitations of the covenants set forth in this Agreement are too broad to be capable of
enforcement, said court is authorized to modify said covenants and enforce such provisions as to scope, time and geographical
area as the court deems equitable.


I have read and understand this Confidentiality & Policy Agreement, and in consideration of my employment in any capacity
with Uv1S, and of the salary or wages paid for my services in the course of such employment, I agree to abide by the above
requirements ofil\iS.




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Revised 4/05                                                                                                           Page2 of2
                                                                                                                               E
Exhibit D
         Sparta Systems
                                   SPARTA SYSTEMS, INC.

                         EMPLOYEE COVENANTS AGREEMENT


I am about to become a paid employee of Sparta Systems, Inc. (the "Company"). I am making this
Agreement in consideration of my employment by the Company, and the compensation and
benefits afforded to me in connection with that employment.

         1. Confidentiality. While working for the Company, I may develop or acquire knowledge
in my work or from my colleagues or others of Confidential Information relating to the Company,
its business, potential business or that of its customers or its or their respective affiliates.
"Confidential Information" includes all trade secrets, know-how, show-how, technical, operating,
financial, and other business information and materials, whether or not reduced to writing or other
medium and whether or not marked or labeled confidential, proprietary or the like, specifically
including, but not limited to, information regarding source codes, software programs, computer
systems, logos, designs, graphics, writings or other materials, algorithms, formulae, works of
authorship, techniques, documentation, models and systems, sales and pricing techniques,
procedures, inventions, products, improvements, modifications, methodology, processes,
concepts, records, files, memoranda, reports, plans, proposals, price lists, customer and supplier
lists, and customer and supplier information. Confidential Information does not include general
skills, experience or information that is generally available to the public, other than information
which has become generally available as a result of my direct or indirect act or omission.

           With respect to Confidential Information of the Company, its customers and its or their
respective affiliates, I agree that:

             (a) I will use it only in the performance of my duties for the Company. I will not use
it at any time (during or after my employment) for my personal benefit, for the benefit of any other
person or firm, or in any manner adverse to the interests of the Company or its affiliates;

           (b) I will not disclose it at any time (during or after my employment) except to
authorized Company personnel, unless the Company expressly consents in advance in writing or
unless the information becomes clearly of public knowledge or enters the public domain (other
than through an unauthorized disclosure by me or through a disclosure not by me which I knew or
reasonably should have known was an unauthorized disclosure);

           (c) I will safeguard it by all reasonable steps and abide by all policies and procedures
of the Company and its customers in effect from time to time regarding storage, copying,
destroying, publication or posting, or handling of such Confidential Information, in whatever
medium or format that Confidential Information takes;

           (d) I will execute and abide by all confidentiality agreements which the Company
reasonably requests me to sign or abide by, whether those agreements are for the benefit of the
Company, an affiliate or an actual or a potential customer thereof; and


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       Sparta Systems
            (e) I will return all materials containing or relating to Confidential Information,
together with all other Company or customer property (including, without limitation, laptop
computers, cell phones and other equipment) to the Company, when my employment with the
Company terminates or otherwise on demand and, at that time I will certify to the Company, in
writing, that I have complied with this Agreement. I shall not retain any copies or reproductions
of correspondence, memoranda, reports, notebooks, drawings, photographs, or other documents
relating in any way to the affairs of Company, its customers or its or their respective affiliates.

           2. Contributions and Inventions. While employed by the Company, I may make
Contributions and Inventions of value to it. The terms "Contributions" and "Inventions" are
understood to include all inventions, ideas, formulae, works, modifications, processes, discoveries,
techniques, designs, methods, trade secrets, technical specifications and data, know-how, show-
how, concepts, expressions, creations, improvements, works of authorship, ideas and other
developments, whether or not they are patentable or copyrightable or subject to analogous
protection and regardless of their form or state of development, and whether or not I have made
them alone or with others.

             This Agreement covers Contributions and Inventions of any kind that are conceived or
made by me, during hours that I am working for the Company at my place of work whether located
at the Company, customer facilities, at home or elsewhere, alone or with others, while I am
employed by the Company. This Agreement also covers Contributions and Inventions, regardless
of whether they are conceived or made during regular working hours or at my place of work, (i)
that relate to the Company's business or potential business, or (ii) result from tasks assigned to me
by the Company, or (iii) that are conceived or made with the use of the Company's time, facilities,
materials or resources. With respect to Contributions or Inventions covered by this Agreement, I
agree that:

            (a) I will disclose them promptly to the Company. I will not disclose them to anyone
other than authorized Company personnel;

             (b) They will belong solely to the Company from conception as "works made for hire"
(as that terms is used under U.S. copyright law) or otherwise. To the extent that title to any such
Contributions or Inventions do not, by operation of law, vest in the Company, I hereby irrevocably
assign to the Company all right, title and interest, including, without limitation, tangible and
intangible rights such as patent rights, trademarks and copyrights, that I may have or may acquire
in and to all such Contribution and Inventions, benefits and/or rights resulting therefrom, and agree
to promptly execute any further specific assignments related to such Contributions or Inventions,
benefits and/or rights at the request of the Company.

            (c) I will, at any time, either during the time I am employed or thereafter, assist the
Company in obtaining and maintaining patent, copyright, trademark, mask works and other
appropriate protection for them in all countries, at the Company's expense. In the event that the
Company is unable to secure my signature after reasonable effort in connection with any patent,
trademark, copyright, mask work or other similar protection relating to a Contribution or an
Invention, I hereby irrevocably designate and appoint the Company and its duly authorized officers
and agents as my agent and attorney-in fact, to act for an on my behalf and stead to execute and



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       Sparta Systen1s
file any such application and to do all other lawfully permitted acts to further the prosecution and
issuance of patents, trademarks, copyrights, mask works or other similar protection thereon with
the same legal force and effect as if executed by me.

            (d) Any Contributions or Inventions relating to the business of the Company and
disclosed to the Company within 6 months following the termination of my employment shall be
deemed to fall within the provisions of this Section 2. The "business of the Company" as used in
this Section 2 includes the actual business conducted by the Company at any time during my
employment with the Company, as well as any business in which the Company, at any time during
my employment with the Company, proposed or proposes to engage.

            3. Obligations to Prior Employers or Others. Except for those described below (if
any), I do not have any non-disclosure, non-compete or other obligations to any previous employer
or other person or entity that would conflict with my obligations under this Agreement or the
performance of my duties for the Company. I have previously provided copies of each of the
agreements described below, if any, to the Company. I shall not disclose to the Company or its
customers or induce or cause the Company or its customers to use any secret or confidential
information or material belonging to others, including my former employers, if any.

LIST ANY EXCEPTIONS:- - - - - - - - - - - - - - - - - - - - - - - - -




            4. Excluded Information. A complete list, by non-confidential descriptive title of all
Inventions, ideas, reports and other creative works, if any, made or conceived by me prior to my
employment by the Company, and intended to be excluded from this Agreement, is set forth below.
I will not assert any rights under any Inventions as having been made or acquired by me prior to
my being employed by Company, unless such inventions are identified below.

LIST ANY EXCEPTIONS:- - - - - - - - - - - - - - - - - - - - - - - - -




           5. Covenants Against Solicitation and Competition.

           (a)    I agree that during the course of my employment with the Company and for a
period of nine (9) months following the termination of my employment with the Company (for
any reason or no reason) (the "Restricted Period"), I will not, without the express prior written
consent of the Company, anywhere, either directly or indirectly, whether alone or as an owner,
shareholder, partner, member, joint venturer, officer, director, consultant, independent contractor
agent, employee or otherwise of any company or other business enterprise, assist in, engage in or
otherwise be connected to or benefit from any business competitive with that of the Company. A
"business competitive with that of the Company" is (i) a software company, consultant or



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       Sparta Systems
developer that sells, licenses or otherwise offers a software program or other products or services
related to Quality Management and/or Quality Assurance and/or Quality Control functionality,
particularly and/or the customer's or company's compliance with its regulatory requirements; or
(ii) one that engages in or provides or intends to engage in or provide any products, services or
other business which is of the same nature as a product, service or other business of the Company
or a product, service or other business which the Company was developing during the period of
my employment and of which I have knowledge or reasonably should have had knowledge. A list
of Company's current competitors is attached hereto as Exhibit A. Notwithstanding the foregoing,
nothing herein shall be deemed to prohibit my ownership of less than 2% of the outstanding shares
of any publicly traded corporation that conducts a business competitive with that of the Company.
In addition, I shall not, either directly or indirectly, whether alone or as an owner, shareholder,
partner, member, joint venturer, officer, director, consultant, independent contractor agent,
employee or otherwise of any company or other business enterprise, assist in, engage in or
otherwise be connected to a customer of the Company or any pharmaceutical, biotechnology, food,
medical device or consumer packaged goods company, in any capacity relating to such customer's
or company's Quality Management and/or Quality Assurance and/or Quality Control functions,
and/or the customer's or company's compliance with its regulatory requirements, where such
customer or company is already using Company's products and/or services, or are contemplating
of procuring and using such products and/or services. The above limitation shall apply globally
since the Company's operation are global in nature, and the Confidential Information I may review
may be used to develop business globally.

             (b) I further agree that, during the Restricted Period, I will not, without the express
prior written consent of the Company, directly or indirectly: (i) contact, communicate, solicit,
transact business with or perform services for (or assist any third party in contacting,
communicating, soliciting, transacting business with or performing any services for) any person
or entity that is or was (at any time within 12 months prior to the contact, communication,
solicitation, transaction of business, or performance of services), a customer or prospective
customer (as defined below) of the Company; (ii) solicit, recruit, hire, engage, or refer (or assist
any third party in soliciting, recruiting, hiring, engaging or referring) any person or entity who or
which either is, or during the twelve (12) months immediately preceding the termination of my
employment was, an employee, agent, consultant or independent contractor of the Company; or
(iii) interfere with, disrupt or attempt to interfere with or disrupt the relationship, contractual or
otherwise, between the Company and any of its customers, suppliers, lessors, independent
contractors, agents or employees. A "prospective customer" is any individual or entity with respect
to whom or which the Company was engaged in a solicitation at any during the twelve (12) months
preceding the termination of my employment with the Company and in which solicitation I was in
any way involved or otherwise had knowledge of or reasonably should have had knowledge of.

             6. Non-Disparagement. I will not at any time (during or after my employment with
the Company) disparage the reputation of the Company, its customers and its or their respective
affiliates or any of its or their respective officers, directors, employees or agents.

           7. Interpretation and Scope of this Agreement.




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       Sparta Systems
                         (a)    Each provision of this Agreement will be interpreted on its own. If
any provision is held to be unenforceable by a court of competent jurisdiction as written, then such
provision shall be deemed limited and restricted to the extent that the court shall deem the provision
to be enforceable. The invalidity or unenforceability of any provisions of this Agreement shall not
affect the validity or enforceability of any other provision hereof. Any provision of this Agreement
that is prohibited or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective
to the extent of such prohibition or unenforceability without invalidating the remaining provisions
hereof, and any such prohibition or unenforceability in any jurisdiction shall not invalidate or
render unenforceable such provision in any other jurisdiction. If it is ever held that any restriction
hereunder is too broad to permit enforcement of such restriction to its fullest extent, such restriction
shall be enforced to the maximum extent permitted by applicable law.

            (b) I understand and agree that if I breach or threaten to breach any of the provisions
of this Agreement, including without limitation the provisions of Sections 1, 2, 5 or 6 hereof, the
Company would suffer irreparable harm and damages would be an inadequate remedy.
Accordingly, I acknowledge that Company shall be entitled to temporary, preliminary and
permanent injunctive or other equitable relief in any court of competent jurisdiction (without being
obligated to post a bond or other collateral) and to an equitable accounting of all earning, profits
and other benefits arising, directly or indirectly, from such violation, which rights shall be
cumulative and in addition to (rather than instead of) any other rights or remedies to which the
Company may be entitled at law or in equity. In addition (and not instead of those rights), I further
covenant that I shall be responsible for payment of the fees and expenses of Company's attorneys
and experts, as well as Company's court costs, pertaining to any suit, arbitration, mediation, action
or other proceeding (including the costs of any investigation related thereto) arising directly or
indirectly out of my violation or threatened violation of any of the provisions of this Agreement.

           (c)    The provisions of this Agreement shall constitute the entire agreement of the
Company and I with respect to the matters covered hereby and shall supersede all previous written,
oral or implied understandings with respect to such matters.

            (d) Any and all actions, claims or controversies arising directly or indirectly out of
this Agreement, including, without limitation, tort claims, shall be governed and construed by the
laws of the State of New Jersey, without reference to the choice of laws provisions thereof. Any
and all actions arising directly or indirectly out of this Agreement or my employment by the
Company shall be brought and heard in the state and federal courts of the State of New Jersey and
I hereby irrevocably submit to the exclusive jurisdiction of any such courts. The Company and
I hereby agree to waive our respective rights to a trial by jury.

           (e)    This Agreement shall be binding upon me and my executors, heirs and assigns
and shall inure to the benefit of the Company, its affiliates and their respective successors and
assigns (including, without limitation, a purchaser of all or substantially all of the assets of the
Company or its affiliates).

           (f)    I acknowledge and agree that the restrictions on the activities in which I may
engage that are set forth in Sections 1, 2, 5 and 6 of this Agreement and the location and period of
time for which such restrictions apply are reasonable and necessary to protect the Company's



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       Sparta Systems
legitimate business interests and shall survive the termination of my employment. I understand
that the Company's business is global and, accordingly, the restrictions cannot be limited to any
particular geographic area. I further acknowledge that the restrictions contained in this Agreement
will not prevent me from earning a livelihood.

            (g) Nothing contained in this Agreement shall give me any right to continue to be
employed by the Company. The Company shall have the right to terminate my employment at
any time, with or without cause or notice and no one at the Company has made any other
representations to me with respect thereto.

           I represent and warrant that: (a) I have read this Agreement and understand all
the terms and conditions hereof, (b) I have entered into this Agreement of my own free will
and volition, (c) I have been advised by the Company that this Agreement is a legally binding
contract and that I should seek my own independent attorney to review it, (d) I have been
afforded ample opportunity to consult with my own attorney regarding this Agreement, and
(e) the terms of this Agreement are fair, reasonable and are being agreed to voluntarily in
exchange for my employment or continued employment by the Company.




                                                         [Employee Name]



                                                         Employee Signature

                                                         Date:- - - - - - - - - - - - -
Accepted:
Sparta Systems, Inc.


By: _ _ _ _ _ _ _ _ _ __
    Sharon G. Marnien




                                                -6-
          Sparta Systems

                                        SPARTA SYSTEMS, INC.
                                         COMPETITOR LISTI
                                           (as of April 2013)

1. MasterControl
2. EtQ
3. Pilgrim Software
4. AssurX
s.   MetricStream
6. NextDocs
7. lntelex
8. Xybion
9. CMO Compliance
10. Qumas
11. IBS
12. SAP (those parts that compete)
13. Oracle (those parts that compete)
14. Agile PLM
15. Matrix 1
16. Compliance 360
17. ExtraView
18. IQS
19. Solabs
20. Q-Pulse




1 This listing represents Sparta Systems, Inc. competitors as of the date specified in the document header. Sparta
Systems, in its sole discretion, may edit or add to this list at any time based on changes in the competitive landscape.


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 1                                        PROOF OF SERVICE
 2          I am a resident of the State of California, over the age of eighteen years, and not a party to
 3   the within action. My business address is 44 Montgomery Street, Suite 3520, San Francisco,
 4   California 94104. On January 4, 2018, I served the following document(s):
 5                                 FIRST AMENDED COMPLAINT
 6
          by facsimile transmission on that date. This document was transmitted by using a facsimile
 7        machine that complies with California Rules of Court Rule 2003(3). The transmission was
          reported as complete and without error. The names and facsimile numbers of the person(s)
 8        served are as set forth below.
 9        by placing a true copy of the document(s) listed above for collection and mailing following
10        the firm’s ordinary business practice in a sealed envelope with postage thereon fully
          prepaid for deposit in the United States mail at San Francisco, California addressed as set
11        forth below.

12        by depositing a true copy of the same enclosed in a sealed envelope, with delivery fees
          provided for, in an overnight delivery service pick up box or office designated for
13        overnight delivery, and addressed as set forth below.
14        by personally delivering a copy of the document(s) listed above to the person(s) at the
          address(es) set forth below.
15

16                      Sydney Ward                                       Claudia Ray
                     Marissa M. O'Connor                                  Joseph Loy
17
                       Marcia L. Pope                                    Bonnie Jarrett
18          Pillsbury Winthrop Shaw Pittman LLP                      Kirkland & Ellis LLP
                2600 Capitol Avenue, Suite 300                        601 Lexington Ave.
19               Sacramento, CA 95816-5930                           New York, NY 10022
           Counsel for Quintiles IMS Incorporated             Counsel for Medidata Solutions, Inc.
20            and IMS Software Services, Ltd.
21

22                   James T. Hultquist
                        Jillian Burstein
23                        Reed Smith
                   10 South Wacker Drive
24                Chicago, IL 60606-7507
               Counsel for Sparta Systems, Inc.
25

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27
28


                                             PROOF OF SERVICE
 1     Based on a court order or an agreement of the parties to accept service by e-mail or
 2      electronic transmission, I caused the documents to be sent to the persons at the e-mail
        addresses on the below service list on the following date/time January 4, 2018 at 12:05 pm.
 3      Pacific. I did not receive, within a reasonable time after the transmission, any electronic
        message or other indication that the transmission was unsuccessful. The electronic
 4      notification address of the person making the service is dschwartz@bakerlp.com.
 5
                           Counsel for Quintiles IMS Incorporated and
 6
                                  IMS Software Services, Ltd.
 7                               IQVIA-Veeva@pillsburylaw.com

 8                              Counsel for Medidata Solutions, Inc.
                                  Medidata-Veeva@kirkland.com
 9

10                                  Counsel for Sparta Systems, Inc.
                                      JHultquist@ReedSmith.com
11                                     jburstein@reedsmith.com

12
            I am readily familiar with the firm’s practice of collection and processing correspondence
13
     for mailing and for shipping via overnight delivery service. Under that practice, it would be
14
     deposited with the U.S. Postal Service or if an overnight delivery service shipment, deposited in
15
     an overnight delivery service pick-up box or office on the same day with postage or fees thereon
16
     fully prepaid in the ordinary course of business.
17
            I declare under penalty of perjury under the laws of the State of California that the above
18
     is true and correct. Executed on January 4, 2018, at San Francisco, California.
19
                                                   __________________________________________
20                                                               Deborah Schwartz
21

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                                             PROOF OF SERVICE
